Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5303 Filed 07/16/21 Page 1 of 233




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

       TIMOTHY KING, MARIAN ELLEN SHERIDAN,
       JOHN EARL HAGGARD, CHARLES JAMES RITCHARD,
       JAMES DAVID HOOPER and DAREN WADE RUBINGH,
                           Plaintiffs,


       V.                                      CIVIL ACTION
                                               NO. 20-cv-13134
       GRETCHEN WHITMER, in her official capacity
       As Governor of the State of Michigan
       JOCELYN BENSON, in her official capacity
       As Michigan Secretary of State, the Michigan
       BOARD OF STATE CANVASSERS,
                            Defendants,

       And

       THE DEMOCRATIC NATIONAL COMMITTEE and THE
       MICHIGAN DEMOCRATIC PARTY, and ROBERT DAVIS
       And THE CITY OF DETROIT,
                           Intervenors,

       And

       SCOTT HAGERSTROM, JULIA HALLER,
       ROBERT JOHNSON, L. LIN WOOD, HOWARD
       KLEINHENDER, SIDNEY POWELL, and GREGORY ROHL,
                           Intersted Parties,
       And

       MICHIGAN STATE CONFERENCE NAACP,
                           Amicus.
       ____________________________________________/

                                  MOTION HEARING
                       BEFORE THE HONORABLE LINDA V. PARKER
                           United States District Judge
                                 Detroit, Michigan
                               Monday, July 12, 2021

                  (All parties appearing via videoconference.)
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5304 Filed 07/16/21 Page 2 of 233




       APPEARANCES:

       •GREGORY J. ROHL
       The Law Offices of Gregory J. Rohl, P.C.
       41850 W. 11 Mile Road
       Suite 110
       Novi, MI 48375
       248-380-9404
       Email: greg@rohllaw.com

                 On behalf of Plaintiffs King, Sheridan, Haggard,
       Ritchard, Hooper, and Rubingh.

       •HEATHER MEINGAST
       Michigan Department of Attorney General
       Civil Litigation, Employment & Elections Division
       PO Box 30736
       Lansing, MI 48909
       517-335-7659
       Email: meingasth@michigan.gov

                   On behalf of Defendant, Jocelyn Benson.

       •DAVID H. FINK, NATHAN J. FINK
       Fink Bressack PLLC
       38500 Woodward Ave.
       Suite 350
       Bloomfield Hills, MI 48304
       248-971-2500.
       Email: dfink@finkbressack.com, nfink@finkbressack.com

                   On behalf of Intervenor, City of Detroit.

       •MARY ELLEN GUREWITZ
       Cummings & Cummings Law PLLC
       423 North Main Street
       Suite 200
       Royal Oak, MI 48067
       313-204-6979
       Email: megurewitz@gmail.com.

                 On behalf of the Defendant Intervenors, Democratic
       National Committee and the Michigan Democratic Party.
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5305 Filed 07/16/21 Page 3 of 233




       APPEARANCES, cont'd:

       •SCOTT R. ELDRIDGE
       Miller, Canfield
       One Michigan Avenue
       Suite 900
       Lansing, MI 48933-1609
       517-483-4918
       Email: eldridge@millercanfield.com

                 On behalf of the Defendant Intervenors, Democratic
       National Committee and the Michigan Democratic Party.

       •ANDREW A. PATERSON , JR.
       46350 Grand River Ave.
       Novi, MI 48374
       248 568-9712
       Email: aap43@hotmail.com

                   On behalf of Defendant Intervenor, Robert Davis.

       •DONALD D. CAMPBELL, PATRICK K. McGLINN
       Collins, Einhorn
       4000 Town Center
       Suite 909
       Southfield, MI 48075-1473
       248-355-4141
       Email: donald.campbell@ceflawyers.com,
       patrick.mcglinn@ceflawyers.com

                 On behalf of Interested Parties, Rohl, Hagerstrom,
       Haller, Johnson, Wood, Kleinhendler, Powell.

       •THOMAS M. BUCHANAN
       Winston & Strawn, LLP.
       1901 L. Street NW.
       Washington DC 20036
       (202)282-5787
       Email: Tbuchana@winston.com

                   On behalf of Interested Party, Emily Newman.




                                     - - -
                                Andrea E. Wabeke
          Certified Realtime Reporter•Federal Official Court Reporter
                   Email: federalcourttranscripts@gmail.com
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5306 Filed 07/16/21 Page 4 of 233




                                       I N D E X

       Proceeding                                                 Page

       Discussion of drafting of the Complaint
       & Amended Complaint.............................             20

       Discussion of Court's authority to issue
       The relief sought...............................             22

       Discussion of timing of filing
       Of the Complaint................................             34

       Discussion of Mootness..........................             42

       Discussion of the legal obligation to review
       Facts alleged in the Complaint..................             54

       Discussion of Ramsland Affidavit................             56

       Discussion of Expert Merritt....................             70

       Discussion of Expert Braynard...................             74

       Discussion of Expert Briggs.....................             75

       Discussion of Expert Watkins....................             76

       Discussion of Ramsland Affidavit................             76

       Discussion of Expert Merritt....................             77

       Discussion of whether an attorney should be
       Sanctioned for his or her failure to correct
       Or withdraw allegations that an attorney comes
       To know or came to know are untrue..............             85

       Discussion of Expert Briggs.....................             88

       Discussion of Sitto Affidavit...................            108

       Discussion of Carone Affidavit..................            122

       Discussion of Connarn Affidavit.................            135
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5307 Filed 07/16/21 Page 5 of 233




                                   I N D E X (Cont'd)

       Proceeding                                                 Page.

       Discussion of Jacob Affidvit....................            138

       Discussion of Bomer Affidavit...................            146

       Discussion of Jacob Affidvit....................            150

       Discussion of Helminen, Waskilewski
       Mandelbaum, Rose, Sitek, Posch
       Champagne & Bomer Affidvit.....................             155

       Discussion of Brunell, Spalding
       & Sherer Affidavit.............................             163

       Discussion of Larsen Affidavit..................            171

       Discussion of Gustafson Affidavit...............            176

       Discussion of Meyers Affidavit..................            184.


                               -   -   -   -   -   -   -   -

       Closing Remarks by Mr. Campbell.................            197

       Closing Remarks by Mr. Buchanan.................            203

       Closing Remarks by Mr. Wood.....................            206

       Closing Remarks by Ms. Gurewitz.................            216

       Closing Remarks by Mr. Paterson.................            217

       Closing Remarks by Mr. David Fink...............            217

       Closing Remarks by Ms. Meingast.................            230

       Closing Remarks by Ms. Powell...................            231



                                    E X H I B I T S

       Exhibit No.                         Offered                Received

                                    (None Offered)
                                                                              6
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5308 Filed 07/16/21 Page 6 of 233

       Motion hrg.                                        7/12/2021

   1                     Detroit, Michigan

   2                     July 12, 2021

   3                     8:36 a.m.

   4                                  -   -   -    -

   5               THE CLERK:    The United States District Court for the

   6   Eastern District of Michigan is now in session, the Honorable

   7   Linda V. Parker presiding.

   8               Your Honor, the Court calls civil matter 20-13134,

   9   Timothy King and others versus Governor Whitmer and others.

  10   Today is the date and time set for a motion hearing in this

  11   matter.

  12               THE COURT:    I'd like counsel please to place their

  13   names on the record, and I will start first with counsel for

  14   Plaintiffs' counsel.

  15               MR. ROHL:    Thank you, your Honor.         Good morning.   For

  16   the record, may it please the court, Greg Rohl on behalf of

  17   Plaintiffs.

  18               THE COURT:    All right.       Mr. Rohl, thank you.

  19               MR. CAMPBELL:     Thank you, your Honor.

  20   Donald Campbell here on behalf of the following lawyers:

  21   Sidney Powell, Howard Kleinhendler, Greg Rohl, Scott

  22   Hagerstrom, Julia Haller, Brandon Johnson, and Lin Wood.            All

  23   of them are here pursuant to your order.

  24               THE COURT:    All right.       Thank you.

  25               And what about Mr. McGlinn, is he here with us this

                 King v Whitmer, Case No. 20-cv-13134
                                                                              7
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5309 Filed 07/16/21 Page 7 of 233

       Motion hrg.                                        7/12/2021

   1   morning?

   2               MR. CAMPBELL:     Yes, I'm sorry.    Mr. McGlinn is here.

   3   He's co-counsel with me.       He is in the same room.      He does not

   4   have a separate video feed.       He can hear things off of this

   5   computer.    If necessary, he can even come and take the screen

   6   from me, but he was not going to have his own screen or his own

   7   sound to avoid any interference.

   8               THE COURT:    All right.    Thank you.

   9               And I understand that Mr. Buchanan is also

  10   representing Ms. Newman.       Is he here?

  11               MR. BUCHANAN:     Yes, I am here, and so is Ms. Newman.

  12               THE COURT:    Thank you.

  13               Now, I'm going to, in a sense take -- well, let me

  14   have Plaintiffs' counsel state their names for the record and

  15   let me -- let me start with Mr. Hagerstrom.          Are you here, sir?

  16               MR. HAGERSTROM:     I am.

  17               THE COURT:    State your name.

  18               MR. HAGERSTROM:     Scott Hagerstrom.

  19               THE COURT:    Ms. Haller?

  20               MS. HALLER:    Yes, your Honor.

  21               THE COURT:    State your name, please, after I've

  22   called you.

  23               MS. HALLER:    Julia Haller.

  24               THE COURT:    All right.    Mr. Brandon Johnson?

  25               MR. JOHNSON:    Yes, your Honor, Brandon Johnson.

                 King v Whitmer, Case No. 20-cv-13134
                                                                              8
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5310 Filed 07/16/21 Page 8 of 233

       Motion hrg.                                        7/12/2021

   1               THE COURT:    Thank you.

   2               And Ms. Stefanie Lambert.

   3               MS. LAMBERT:    Good morning, your Honor.

   4   Stefanie Lambert.

   5               THE COURT:    All right.    Your name, please, for the

   6   record.

   7               MS. LAMBERT:    Stefanie Lambert Junttila, P-71303.

   8               THE COURT:    Mr. Kleinhendler.

   9               MR. KLEINHENDLER:     Howard Kleinhendler.

  10               THE COURT:    Thank, you sir.

  11               And Ms. Newman.

  12               MS. NEWMAN:    Good morning.     Emily Newman.

  13               THE COURT:    Thank you, Ms. Newman.

  14               Ms. Powell.

  15               MS. POWELL:    Sidney Powell.

  16               THE COURT:    Thank you.

  17               And, Mr. Rohl, you've already placed your name on the

  18   record.

  19               Mr. Wood?

  20               MR. WOOD:    Yes.   This is Lin Wood, your Honor.       Good

  21   morning.

  22               THE COURT:    Good morning.

  23               All right.    Counsel, thank you very much.        Have I

  24   missed anyone?

  25               Mr. Fink, I don't recall calling your name.

                 King v Whitmer, Case No. 20-cv-13134
                                                                              9
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5311 Filed 07/16/21 Page 9 of 233

       Motion hrg.                                        7/12/2021

   1               MR. DAVID FINK:     No, your Honor.     I am counsel for

   2   the City of Detroit, and also with me is my partner and son.                I

   3   have to mute so I don't get feedback.

   4               THE COURT:    Thank you.    All right.

   5               MR. NATHAN FINK:     Good morning, your Honor, Nathan

   6   Fink on behalf of the Intervenor Defendant, City of Detroit.

   7               THE COURT:    All right.    Thank you.

   8               And do we have counsel on the line for the State

   9   defendants?

  10               MS. MEINGAST:     Yes, your Honor.     Assistant Attorney

  11   General Heather Meingast on behalf of Governor Whitmer and

  12   Secretary Benson.

  13               THE COURT:    Thank you very much.

  14               And I see -- I'm sorry, Ms. Gurewitz.

  15               MS. GUREWITZ:     Yes.   Mary Ellen Gurewitz, on behalf

  16   of the Michigan Democratic Party and the Democratic National

  17   Committee.

  18               MR. ELDRIDGE:     Good morning, your Honor.

  19   Scott Eldridge, also on behalf of the DNC and the MDP.

  20               THE COURT:    And, Mr. Davis, are you here with counsel

  21   today, sir?

  22               MR. DAVIS:    Yes, your Honor.     Mr. Paterson is on the

  23   line, your Honor.

  24               THE COURT:    All right.    Thank you.    You can -- so

  25   Robert Davis is here, and your counsel is Mr. Paterson.            Okay.

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5312 Filed 07/16/21 Page 10 of10
                                                                             233

        Motion hrg.                                      7/12/2021

   1    He is not -- I see that his square appears, but I don't hear

   2    him.    All right.   Let me just make a note of that.

   3               All right.    I think I've covered everyone -- and

   4    Mr. Owen, Jason Owen.

   5               INTERNET TECHNICIAN:      Good morning, Judge.     I'm IT

   6    support.

   7               THE COURT:    Thank you, Mr. Owen.      Thank you very

   8    much.   Probably one the most critical individuals on this call,

   9    would you say, counsel?      All right.   Thank you, Jason.

  10               All right.    Ladies and gentlemen, thank you so much

  11    for your appearance here -- your prompt appearance, and I want

  12    to just make some opening remarks and underscore that the

  13    purpose of today's hearing is to address three pending motions

  14    for sanctions.    Those motions are as follows:       Intervening

  15    Defendant Robert Davis' motion for sanctions against Plaintiffs

  16    and Plaintiffs' counsel in which Mr. Davis seeks sanctions

  17    pursuant to the Court's inherent authority and also under 28

  18    U.S.C. 1927.

  19               The second motion for sanctions has been filed by

  20    intervening Defendant City of Detroit's motion for sanctions,

  21    for disciplinary act, for disbarment referral, and for referral

  22    to state bar disciplinary bodies, and, here, the City seeks

  23    sanctions under Rule 11 of the Federal Rules of Civil

  24    Procedure.

  25               And, finally, the State Defendants, Secretary of

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5313 Filed 07/16/21 Page 11 of11
                                                                             233

        Motion hrg.                                      7/12/2021

   1    State Jocelyn Benson and Governor Gretchen Whitmer, they have

   2    filed motions for sanctions under 28 U.S.C. Section 1927 in

   3    which Defendants alternatively seek sanctions under the Court's

   4    inherent authority.

   5               All right.    Now, the Court finds for this record that

   6    the referenced motions adequately put Plaintiffs and

   7    Plaintiffs' counsel on notice of the conduct alleged to be

   8    sanctionable.    Plaintiffs and their counsel have had the

   9    opportunity to respond to these allegations in their briefs.

  10    However, I've called this hearing to provide them with an

  11    additional opportunity to respond to those claims and to answer

  12    questions that I deem relevant to deciding whether Rule 11 or

  13    Section 1927 have been violated, and/or, counsel, whether the

  14    Court's inherent powers to sanction should be utilized.

  15               It bears mentioning that I recognize that there is

  16    disagreement about whether the City of Detroit followed the

  17    Safe Harbor provisions with exactitude.        Nevertheless, I want

  18    to advise Plaintiffs and Plaintiffs' counsel that Rule 11

  19    allows a court, on its own initiative, to require a party to

  20    show cause why sanctions should not be imposed under the rule

  21    and to impose Rule 11 sanctions if, after notice and a

  22    reasonable opportunity to respond, which I am providing today,

  23    the Court determines that Rule 11(b) has been violated if after

  24    that notice.

  25               I'll tell you, counsel, I do not need today to rehear

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5314 Filed 07/16/21 Page 12 of12
                                                                             233

        Motion hrg.                                      7/12/2021

   1    the arguments that have been advanced in the parties' briefs at

   2    this hearing.    I have thoroughly reviewed every filing.        After

   3    I ask my questions, however, I will give the parties the

   4    opportunity to make a brief statement on their own to the Court

   5    concerning the matter at hand.

   6               Now, I ordered the personal appearance at this

   7    hearing of all attorneys whose names appear on any of the

   8    Plaintiffs' pleadings and briefs because I have questions that

   9    I want to give you the opportunity to answer.         I ask counsel to

  10    provide clear and direct answers to the Court's questions, and

  11    let me be clear, that these questions are not seeking the

  12    mental impressions, conclusions, opinions, or legal theories of

  13    counsel.

  14               Each question that I ask is directed to all of the

  15    attorneys whose names appear on any of the Plaintiffs'

  16    pleadings or briefs.     I will not call out any of your

  17    individual names unless the question is specifically crafted

  18    for a particular attorney, and there are a couple of those.

  19    After I ask a question, the attorney best equipped to answer

  20    the question may respond.      When I've received a complete answer

  21    to a line of questioning, I will give all other attorneys the

  22    opportunity to comment or add to the answers on the record.

  23    Note that if no other attorneys speaks, the Court finds that --

  24    will find that all other attorneys agree with the answer that

  25    has been placed on the record.

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5315 Filed 07/16/21 Page 13 of13
                                                                             233

        Motion hrg.                                      7/12/2021

   1               Now, that brings me, counsel, to a potential issue as

   2    we now have counsel representing counsel for Plaintiffs.           The

   3    Michigan Rules of Professional Responsibility, as I'm certain

   4    everyone on this call should know, prohibit a lawyer from

   5    representing a client if the representation will be directly

   6    adverse to another client unless the lawyer reasonably believes

   7    the representation will not adversely affect the relationship

   8    of the other client, and, secondly, each client consents after

   9    consultation.

  10               Now, at this time I would like to confirm on the

  11    record, through Mr. McGlinn and Mr. Campbell to determine -- I

  12    would like to confirm that they have addressed this potential

  13    conflict issue with their clients.

  14               MR. CAMPBELL:     I have, your Honor, and they have

  15    given me their consent to proceed.       I do also wish to make an

  16    objection, so that you have it for the record, on one of the

  17    statements that you made about proceeding on the possibility of

  18    the Court's own power with regard to Rule 11 and the show

  19    cause.

  20               THE COURT:    Yes.

  21               MR. CAMPBELL:     May I, briefly?

  22               THE COURT:    Briefly, yes.

  23               MR. CAMPBELL:     Your Honor, I believe under Rule 11(c)

  24    that the court can seek a show cause on notice prior to a

  25    dismissal.    I believe after the dismissal that is not part of

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5316 Filed 07/16/21 Page 14 of14
                                                                             233

        Motion hrg.                                      7/12/2021

   1    the power that the Court retains.       So I do object, on those

   2    grounds, for the Court's consideration of its own show cause.

   3                THE COURT:   Okay.   I'll make a note of that, and at

   4    this moment let me ask counsel for the Defendants if they would

   5    like to respond to that, any of counsel?        Let me start with

   6    Mr. Fink.

   7                MR. DAVID FINK:    Your Honor, the rule itself does not

   8    include that requirement.      The rule simply says on its own the

   9    court may order an attorney, law firm, or party to show cause

  10    why conduct specifically described in the order has not

  11    violated Rule 11(b).

  12                Notwithstanding that, I do want to be clear for the

  13    Court that -- and I believe the Court is aware of this -- a

  14    proper Rule 11 notice was sent to all of the parties, all of

  15    the attorneys.    While they make general objections to it, the

  16    notice included a detailed motion, which was, with minor

  17    exceptions, the same motion that was filed, and we can provide

  18    that to the Court.

  19                We have met all the prerequisites for a Rule 11

  20    proceeding, with or without a request on the part or an order

  21    to show cause from the Court.       They have had several months to

  22    respond, and the issue is clearly before the Court properly

  23    today.

  24                THE COURT:   All right.    Thank you, Mr. Fink.

  25                Mr. Campbell, let me go back to you, sir.        What's the

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5317 Filed 07/16/21 Page 15 of15
                                                                             233

        Motion hrg.                                      7/12/2021

   1    authority for your position?

   2               MR. CAMPBELL:     Your Honor, I believe it's Rule 11(c).

   3    If you give me some time, I can probably pull it up, but I

   4    wasn't prepared to address the Court's inherent or, if you

   5    will, the Court's show cause powers because we hadn't gotten

   6    notice of that coming into this proceeding so I apologize for

   7    that so I'm going off memory.

   8               THE COURT:    All right.    I'm going to make a note of

   9    that, and, if needed, we'll come back to that.

  10               MR. CAMPBELL:     Happy to address that for the Court if

  11    need be and in writing.

  12               THE COURT:    We'll see if I need that.      Thank you.

  13               Counsel, if there are not any other comments at this

  14    point, the way I intend to proceed, I'm going to go ahead and

  15    move forward.

  16               Any other housekeeping that we need to take care of

  17    at this point?

  18               MR. BUCHANAN:     Thank you, your Honor.     This is

  19    Mr. Buchanan on behalf of Ms. Newman.

  20               THE COURT:    Yes.

  21               MR. BUCHANAN:     I don't believe my client was ever

  22    served with the papers at the time in question.         Ultimately,

  23    she became aware generally, but my client was a contract lawyer

  24    working from home, who spent maybe five hours on this matter so

  25    she really wasn't involved in, you know, when the motions were

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5318 Filed 07/16/21 Page 16 of16
                                                                             233

        Motion hrg.                                      7/12/2021

   1    filed and lawyers were retained and pleadings were filed.           So I

   2    just want to note that.

   3               We're -- she's aware now.       She just recently hired

   4    me, and I thank the Court for getting my admission process so

   5    quickly.   Her role is de minimus; and so she was never, as I

   6    understand, sent the pleadings at the time in question.          They

   7    were served on local counsel, but she was never part of a law

   8    firm.   She is listed as "of counsel" on two of the pleadings,

   9    the first amended complaint and the complaint, but she was

  10    never an employee of that firm.       That was something that

  11    someone put on the pleadings.       She was a contract lawyer, 1099

  12    employee, who spent five hours on the matter.         I just wanted to

  13    note that for the Court.      Thank you.

  14               MR. CAMPBELL:     If I may, briefly, to add to that.       I

  15    know Mr. Fink will have a response.        It's my belief that he did

  16    serve local counsel if he used the ECF for service.          There are

  17    a number of folks who would not have received it that way.           I

  18    don't know what he says is service.        There is also the factual

  19    issue of what was served under the Safe Harbor provision versus

  20    what was filed.    That is addressed a little bit in the briefs

  21    also, your Honor, but those same circumstances and situations

  22    would apply.

  23               So that when he says this was properly served and

  24    this is a proper Rule 11 motion on behalf of the City, we, of

  25    course, have the initial issue of whether the City, as an

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5319 Filed 07/16/21 Page 17 of17
                                                                             233

        Motion hrg.                                      7/12/2021

   1    intervenor, is a proper party to bring a Rule 11, at least in

   2    this matter at all, and, secondly, I'm not sure what he means

   3    by service.    So I don't want my silence to be a confirmation of

   4    that.   So, with that, I've made my remarks.        Thank you.

   5               THE COURT:    Mr. Fink.

   6               MR. DAVID FINK:     Your Honor, I have and can provide

   7    to the court -- I'm not sure how to do this, but we can -- I've

   8    got it -- I can provide it in a PDF.        I have letter, which was

   9    sent by first class mail, and it identifies, among the

  10    addressees at Sidney Powell's office, Sidney Powell,

  11    Emily Newman, Julia Haller, and Brandon Johnson.         They're all

  12    included on an e-mail that was sent -- and, I'm sorry, a letter

  13    that was sent by first class mail to Sidney Powell, P.C., at

  14    2911 Turtle Creek Boulevard, Suite 300, in Dallas, Texas.

  15               The issue has never been raised before in this case.

  16    We have not heard from anybody claiming that somebody or that

  17    any one of these parties did not receive the Rule 11 notice.

  18    This is hardly the time to suddenly say they didn't receive it.

  19    We did -- and we also sent it by e-mail.

  20               What I can't confirm for the Court right now, because

  21    I'm not set up, but we're trying to find it, is whether the

  22    e-mail was directly sent to Ms. Newman.        It was definitely sent

  23    to the parties who we had e-mail addresses for, but I don't

  24    believe, at the time, we may not have had an e-mail address for

  25    Ms. Newman, but we definitely sent it to her first class mail.

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5320 Filed 07/16/21 Page 18 of18
                                                                             233

        Motion hrg.                                      7/12/2021

   1                THE COURT:   All right.    That sounds like something

   2    we're obviously going to need to sort that out, and I will

   3    determine, before this proceeding is over, to what extent, if

   4    any, I'm going to need any briefs on it, all right, but it's a

   5    flagged issue.

   6                Yes, Mr. Fink.

   7                MR. DAVID FINK:    Would the Court like us to provide a

   8    PDF to the Court right now of the -- and I'm not sure how to

   9    produce things on this record, but we can produce a PDF of the

  10    notice.

  11                THE COURT:   Mr. Flanigan, would that be a

  12    screen-sharing issue?     Is that something -- I don't know if we

  13    can do that through Mr. Fink is my question.

  14                THE CLERK:   He should be able to screen share.

  15                THE COURT:   Okay.   Do you know how to do that,

  16    Mr. Fink?

  17                MR. DAVID FINK:    Fortunately, the younger Mr. Fink

  18    probably does.

  19                THE COURT:   Okay.

  20                MR. DAVID FINK:    I'm going to mute for a second so he

  21    can talk to me about technology.

  22                THE COURT:   Yeah, just a few seconds, because I think

  23    I really want to move forward, and it's something -- but let's

  24    just -- I'll give you a couple minutes -- just 60 seconds.           How

  25    about that?    Yeah.   Honestly, it is something that can be

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5321 Filed 07/16/21 Page 19 of19
                                                                             233

        Motion hrg.                                      7/12/2021

   1    docketed, Mr. Fink -- let me let him -- Mr. Fink.

   2               MR. DAVID FINK:     Yes, your Honor.

   3               THE COURT:    I think the better way to do this is go

   4    ahead and docket what you have, and the Court will take a look

   5    at it, and others can do the same, and I'll advise whether or

   6    not there needs to be any briefing on that issue.          Okay?

   7               MR. DAVID FINK:     Yes, your Honor, I understand.       My

   8    son even knows how to docket.

   9               THE COURT:    Duly noted.    All right.

  10               MR. BUCHANAN:     Your Honor, one quick point.      I'm not

  11    disputing Mr. Fink's representations of, you know, sending it

  12    to Sidney Powell's office.       My client was working from home in

  13    Washington, D.C., a fact Mr. Fink would not have been aware of.

  14    Again, she was a contract lawyer.       She was listed on the

  15    pleading as being at the location or at least "of counsel" at

  16    Ms. Powell's office, but she really was not of counsel.            It was

  17    just, you know, recorded, but so that's my point that she --

  18               THE COURT:    Okay.    Fair enough.

  19               MR. BUCHANAN:     She did not receive it.     Thank you.

  20               MR. DAVID FINK:     Your Honor, may I very briefly speak

  21    to that point, very briefly, because it's a theme that runs

  22    through the entire case for us, and that is counsel knew that

  23    she had been presented as being an attorney representing the

  24    Plaintiffs.    She knew that her address was provided to the

  25    court in the manner it was provided.        It was not our obligation

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5322 Filed 07/16/21 Page 20 of20
                                                                             233

        Motion hrg.                                      7/12/2021

   1    or ability to do any kind of investigation.         It was her

   2    responsibility to no longer use the privilege she had as an

   3    attorney to endorse this case without coming forward.

   4               I know, your Honor, perhaps I'm getting carried away.

   5    I apologize.    I just want to say it's a theme that's going to

   6    come up all through this.

   7               THE COURT:    Okay.   It's -- I have been duly noted,

   8    counsel, and we will address that in due course.         File what

   9    you -- docket what you need to docket and we'll pick it up from

  10    there, all right?

  11               All right.    Anything else before the Court proceeds?

  12    Good.   Thank you.

  13               All right.    My first question to Plaintiffs' counsel

  14    is:   Who wrote the complaint or the amended complaint in this

  15    matter?

  16               MR. CAMPBELL:     Your Honor, this is Don Campbell.

  17    You said "Plaintiffs' counsel."       This is counsel for

  18    Plaintiffs' counsel.     I think I am in the best position to give

  19    the initial answer to the Court on that, if I may?

  20               THE COURT:    You may.

  21               MR. CAMPBELL:     Thank you.   If you're looking for the

  22    principal author, it would be Howard Kleinhendler.          If you're

  23    looking for the lawyer who worked closest with him, it's

  24    Sidney Powell.

  25               THE COURT:    Okay.

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5323 Filed 07/16/21 Page 21 of21
                                                                             233

        Motion hrg.                                      7/12/2021

   1                MR. CAMPBELL:    Between them, it is their work product

   2    primarily, if you will.      There are others who helped, some very

   3    briefly, as Mr. Buchanan mentioned, some only on the amended

   4    complaint.    That's Brandon Johnson, again, only with some

   5    research, but in terms of the folks who helped to draft or,

   6    really, the final product that gets filed in Michigan is

   7    primarily a product of Sidney Powell and of

   8    Howard Kleinhendler.

   9                THE COURT:    All right.   Does anybody else want to add

  10    to that?

  11                All right.    Thank you.   Let's move --

  12                MR. WOOD:    Your Honor, may I?    Your Honor, this is

  13    Lin Wood.

  14                THE COURT:    Yes, sir.

  15                MR. WOOD:    If I might answer.    I played absolutely no

  16    role in the drafting of the complaint.

  17                THE COURT:    Okay.

  18                MR. WOOD:    Just to be clear.

  19                MR. CAMPBELL:    All my clients agree on that, your

  20    Honor.

  21                THE COURT:    Okay.   Is there anybody else that feels

  22    that they played no role in the drafting of the complaint?

  23                MS. NEWMAN:   Your Honor --

  24                MR. BUCHANAN:    Yes, your Honor.    My client,

  25    Emily Newman, as I said, spent a total of five hours.

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5324 Filed 07/16/21 Page 22 of22
                                                                             233

        Motion hrg.                                      7/12/2021

   1               THE COURT:    Okay.   We're fine.    I'm clear on that.

   2    I'm clear on that.     I think -- you know what?      I think I've got

   3    a straight -- a good enough, clear answer from Mr. Campbell.           I

   4    understand that Mr. Wood has not played any role in that, but

   5    under -- the answer that I am taking is, is that

   6    Mr. Howard Kleinhendler, as well as Ms. Sidney Powell, were the

   7    principal drafters of the complaint.        All right.

   8               MS. NEWMAN:    Your Honor, the Court should note -- I'm

   9    sorry, your Honor.     The Court should know that I did not play a

  10    role in drafting the complaint.

  11               THE COURT:    I'm very -- yes, it's clear from the

  12    record.   It's clear from the record that you have not.         So the

  13    complaint or the amended complaint in this matter were drafted

  14    principally by Mr. Howard Kleinhendler and Ms. Sidney Powell.

  15               The Court is moving on.

  16               All right.    Let's talk about -- I'd like to now talk

  17    about the relief that the complaint -- the amended complaint

  18    seeks, and I ask this question to counsel for Plaintiffs'

  19    counsel, or Plaintiffs' counsel, and you all can decide who you

  20    feel is best equipped to answer the question, and the first

  21    question is:

  22               What authority enabled this Court to issue any of the

  23    relief sought in this case, such as decertifying the election

  24    results or declaring an outcome that is different than that

  25    which was declared by the State?

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5325 Filed 07/16/21 Page 23 of23
                                                                             233

        Motion hrg.                                      7/12/2021

   1               MR. CAMPBELL:     Well, your Honor, I guess, first, you

   2    start with the Constitution of the United States; secondly,

   3    Bush v Gore decided 20 years earlier.        That was a case where

   4    the court ordered the State of Florida to stop a count and

   5    decided the 2000 presidential election.

   6               Since that time, there have been other cases that

   7    have been developed under the Bush v Gore doctrine.          This idea

   8    that, again, was not invented in Bush v Gore but has existed

   9    since the founding fathers put it into the Constitution, and

  10    that is that the court has a role to play in challenges and

  11    deciding those challenges on due process grounds, on the

  12    Eleventh Amendment, looking at the electors clause and the

  13    Twelfth Amendment.     So those things which came up, and which

  14    there was another Bush v The Board of Canvassers.          I believe

  15    that it was decided at the same time.        I have that cite from

  16    one of the briefs that we have.       So, again, another example of

  17    where the court did take into consideration.         Of course,

  18    ultimately, Bush v Gore decided the election, and other suits

  19    were no longer necessary to be held.

  20               There's also the Carson case from the Eighth Circuit,

  21    and I understand -- and I, of course, read your opinion, your

  22    Honor, that this Court has adopted the dissent from Carson,

  23    but, as you can rightly imagine, a lawyer bringing the majority

  24    opinion as part of the basis for the bringing of the action is

  25    not unusual, extraordinary, and certainly shouldn't expose

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5326 Filed 07/16/21 Page 24 of24
                                                                             233

        Motion hrg.                                      7/12/2021

   1    anybody to sanctions simply because they were unable to

   2    determine ahead of time that this Court would choose to follow

   3    the dissent.

   4               Judge, I can't, obviously, distill down into a few

   5    moments all of the authorities that were placed in the motion.

   6    I do want to point out to the Court, because the Court

   7    identified in its order, the relief that was requested, and it

   8    identified relief that was in the amended complaint, but in the

   9    request, the motion, actually, for the restraining order, there

  10    were, as I recall -- and I hope I have this accurately -- at

  11    Page 16 of what would have been, I believe, ECF 7, there were

  12    three requests, decertify or stay the delivery of the vote

  13    count and results, conserve the status quo, and, thirdly,

  14    impound the voting machines, and that was the -- those were the

  15    great relief requested within the motion.

  16               I should also point out the names on the motion were

  17    Sidney Powell, Greg Rohl, Scott Hagerstrom, and

  18    Howard Kleinhendler.     The other lawyers do not appear on that

  19    document when it was filed.      So I hope that's a response --

  20    responsive to the Court's question.

  21               THE COURT:    What is the authority, specifically, that

  22    allows a court to decertify an election?        I mean what specific

  23    case are you looking at?

  24               MR. CAMPBELL:     Well, again, if you're looking at

  25    cases, I would say it's Bush v Gore.

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5327 Filed 07/16/21 Page 25 of25
                                                                             233

        Motion hrg.                                      7/12/2021

   1                Now, it is, in some respects, the obverse, right?          In

   2    Bush v Gore, it was a direction to stop an election count.           If

   3    you have the authority to stop an election count, I think it's

   4    a reasonable inference to believe that the Court has the

   5    authority to start a count.      And, again, if that theory is

   6    wrong -- and in this case you ruled the Sixth Circuit didn't

   7    disturb that.    The U.S. Supreme Court didn't disturb that.         My

   8    clients are lawyers.     They understand that, and they respect

   9    that.   That's the ruling in this case, but until you gave that

  10    ruling, Judge, I don't think that result was as obvious as the

  11    Defense has made it out to be.

  12                And I have more arguments about that, but I'll

  13    reserve that.    You haven't asked me that question yet.

  14                THE COURT:   You feel that based upon basically an

  15    extrapolation of a court's ruling you can conclude the direct

  16    opposite?   If it's A, then it could be B.       I don't really

  17    understand that.

  18                Let me get the Defenses' thoughts on that.        Let me

  19    hear -- I'll hear from Mr. Fink, and then I'd like to hear from

  20    Ms. Meingast and Ms. Gurewitz.       Go ahead.

  21                No, I'm sorry.    I'm sorry, Ms. Gurewitz.      I'm just

  22    looking at those -- the State Defendants' counsel and the

  23    Intervening Defendants', including Mr. Fink.

  24                Go ahead, Mr. Fink.

  25                MR. DAVID FINK:    Your Honor, in this case the

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5328 Filed 07/16/21 Page 26 of26
                                                                             233

        Motion hrg.                                      7/12/2021

   1    Plaintiffs chose to ignore centuries of precedent.          They chose

   2    to ignore the procedures that are in place.         They did not

   3    seek -- the Trump campaign did not seek, nor did any of the

   4    Plaintiffs, a recount.     Instead, they tried, somehow, to

   5    collaterally attack everything that had happened.          There was no

   6    basis.

   7               This Court's opinion and order of December 7th, 2020,

   8    extremely well and properly addressed the weakness of all of

   9    the claims.    I'm happy to argue or respond to any specific one,

  10    but there was no basis for what was argued here.         This was,

  11    from the beginning to the end, an attempt to get a message out

  12    that was extrajudicial.      They were trying to use the court to

  13    get a message out.     We could not find a basis in law for what

  14    they were trying to do.

  15               THE COURT:    Ms. Meingast.

  16               MS. MEINGAST:     Thank you, your Honor.

  17               I would agree with Mr. Fink.       You know, I think we've

  18    argued in the numerous briefs that were submitted here really

  19    Bush v Gore was not even applicable to this case on a

  20    substantive theory of dilution.       That wasn't even really what

  21    was pled here, and to the extent Bush v Gore has any meaning

  22    for being able to stop, you know, a vote, stop ballots being

  23    counted, that's not what happened here.        Here we went all the

  24    way through vote counting, all the way through canvassing, and

  25    all the way through certification, and all the way of sending

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5329 Filed 07/16/21 Page 27 of27
                                                                             233

        Motion hrg.                                      7/12/2021

   1    the slate of electors to the U.S. archivist before this case

   2    was even filed.

   3                So I don't believe that Bush v Gore has any support

   4    for disenfranchising millions of Michigan voters after the

   5    election has already been certified through our processes, and,

   6    as Mr. Fink pointed out, the proper recourse here, with respect

   7    to these claims of fraud and misconduct in the election --

   8    which of course we disagree with -- was to seek a recount.

   9    That's the ordinary process.      You go and ask for a recount.

  10    That's the remedy for mistake or fraud in the results of an

  11    election.   That's the process that should have been pursued

  12    here.   It was not.

  13                We even have processes for filing a challenge if you

  14    think that the voting equipment malfunctions, and neither of

  15    those processes occurred.

  16                It's our position that Bush v Gore isn't applicable

  17    and that the relief requested here is essentially undoing an

  18    election and asking this Court to choose a new winner is

  19    unprecedented and unsupported by any case law extant.          Thank

  20    you.

  21                THE COURT:   Thank you -- and hang on, Mr. Campbell.

  22                Mr. Davis, do you want to be heard on this issue or

  23    your counsel, Mr. Paterson?

  24                MR. DAVIS:   I'm not sure if Mr. Paterson's audio is

  25    working properly.     So, your Honor, if you can try and       -- I

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5330 Filed 07/16/21 Page 28 of28
                                                                             233

        Motion hrg.                                      7/12/2021

   1    defer to my counsel.

   2               THE COURT:    Well, I mean I'm here.      Mr. Paterson, can

   3    you hear the Court?     All right.

   4               Mr. Campbell, what -- we don't have to -- I've asked

   5    the question.    You've given me the answer.       I've heard from

   6    defense counsel.

   7               MR. CAMPBELL:     Would the Court allow me to give two

   8    quick cites, one from the Eastern District of Michigan?

   9               THE COURT:    Okay.

  10               MR. CAMPBELL:     -- and one from Colorado.

  11               So the first from the Eastern District of Michigan is

  12    Stein versus Thomas, 222 F.Sup.3d 539.        This was cited in the

  13    briefing as well, and, there this Court said, "The fundamental

  14    right of vote by plaintiffs, the right to vote," and, "To have

  15    that vote conducted and counted accurately."

  16               This Court began its order dismissing the request for

  17    the injunction by saying, "The right to vote is sacred, and

  18    it's uniquely American."      In fact, it's this aspect of having

  19    the count conducted and challenged by petition to the judiciary

  20    that is uniquely American.

  21               Everybody -- a lot of folks vote.        Nazi Germany had

  22    plebiscites.    The Soviets had regular voting.       Even Hugo Chavez

  23    let you vote for him as many as times as you wanted.          That's

  24    not uniquely American.     What's uniquely American is the ability

  25    to challenge it, to address that and petition to this court.

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5331 Filed 07/16/21 Page 29 of29
                                                                             233

        Motion hrg.                                      7/12/2021

   1    That's what Bush v Gore decided.       It decided that the court can

   2    get involved, must get involved under the Constitution.

   3               So the other -- the continuation of that quote is,

   4    "And to have the vote conducted and counted accurately is the

   5    bedrock of our nation.     Without elections that are conducted

   6    fairly and perceived to be fairly conducted, public confidence

   7    in our political institutions will swiftly erode."

   8               It is the executive that did the counting, and that

   9    was the issue here.     They created the issues that disrupted

  10    elements of society that resulted, in this instance, in a case

  11    being brought to the court, as it should be in our democracy

  12    and in our republic.

  13               The other case, by the way, is Common Cause Georgia

  14    versus Kemp.    That's 347 F.Supp.3d 1270, from 2018.        And I

  15    think I called it Georgia.      It's obviously -- I think I called

  16    it Colorado.    It's obviously Georgia.      There, the court looked

  17    at a combination of statistical evidence and witness

  18    declarations enough to demonstrate that there -- it could take

  19    some action.

  20               That's what you had here.      You had the eyewitness

  21    reports, which are dismissed by the Defendants as being

  22    uneducated statements or statements by uneducated --

  23               THE COURT:    Yeah, I'm going to get into those

  24    statements in just a minute.

  25               MR. CAMPBELL:     So those things all combine to show

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5332 Filed 07/16/21 Page 30 of30
                                                                             233

        Motion hrg.                                      7/12/2021

   1    that using what was available to determine a path, and then,

   2    remember, Judge -- this is very important -- three of the

   3    Plaintiffs -- and that would be King, Sheridan, and Haggard --

   4    they are not just voters.      All six of the Plaintiffs are

   5    voters, and every vote is important under the Constitution and

   6    the case law, but these three are electors.         And, in order to

   7    bring their claims, it was the consideration of counsel in this

   8    case that certain acts had to be completed by the State.           The

   9    State finally completed those on November 23rd, and this is

  10    also explained and gone over in the Supreme Court filings.           The

  11    last acts were done by November 23rd, and this case was filed

  12    on November 23rd.

  13               THE COURT:    Mr. Campbell, let me ask you something:

  14    Do you agree that the state law establishes an extensive

  15    procedure for challenging elections?

  16               MR. CAMPBELL:     Yes.

  17               THE COURT:    Did the Plaintiffs avail themselves of

  18    any of these procedures?

  19               MR. CAMPBELL:     No.

  20               THE COURT:    And why is that?

  21               MR. CAMPBELL:     Well, with regard to those procedures,

  22    in part because before the claims on behalf of the electors

  23    could be fully ripe that those processes had taken place.

  24    Again, there are a number of different claims that were

  25    pending.   You know, Judge, because it's bean cited that the

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5333 Filed 07/16/21 Page 31 of31
                                                                             233

        Motion hrg.                                      7/12/2021

   1    U.S. Attorneys, 18 U.S. -- I'm sorry, attorneys generals, 18

   2    attorneys generals had their own claim and their own approach

   3    to this.   There are a number of other suits.        People took

   4    different paths, all seeking to get what they thought the

   5    Constitution permitted these courts to undertake on behalf of a

   6    petition to address a grievance from a citizen.         In this case,

   7    not just citizens, but at least, in the instance, of three

   8    electors and so --

   9               THE COURT:    But the procedures --

  10               MR. CAMPBELL:     (Indiscernible.)

  11               THE COURT:    The procedures --

  12               MR. CAMPBELL:     (Indiscernible.)

  13               THE COURT:    The procedures were there for them to

  14    avail themselves of, you would not -- you disagree with that?

  15               MR. CAMPBELL:     Oh, no --

  16               THE COURT:    They were --

  17               MR. CAMPBELL:     In terms of the procedures under the

  18    statutes were there, and, Judge, if this is a case that my

  19    clients, those are the lawyers, misjudged the timeline and got

  20    it wrong, then that's -- then that's what it is, but that is a

  21    long way from anything that could be sanctionable or has been

  22    argued by the Defendants, and in terms of issues --

  23               THE COURT:    Let me -- all right.      Let me -- Mr. Fink,

  24    I'm going to give everybody -- I have one more question to ask

  25    about the relief that's been sought here and then I'll give you

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5334 Filed 07/16/21 Page 32 of32
                                                                             233

        Motion hrg.                                      7/12/2021

   1    an opportunity to speak.

   2               MR. DAVID FINK:      Your Honor, I didn't want to speak

   3    to substance.    It wasn't substance.     It was a point of concern.

   4    That is, it appears that Sidney Powell has left the proceeding,

   5    and at least we don't see her, and I just -- I know we want all

   6    of the Plaintiffs to be present.

   7               THE CLERK:    It looks here as if she turned the camera

   8    off.

   9               THE COURT:    Okay.   All right.    There we go.    Maintain

  10    the camera, Ms. Powell, please.       I'd like to have everyone

  11    here.

  12               All right.    My question to Plaintiffs' counsel or

  13    counsel for --

  14               MR. KLEINHENDLER:     Your Honor, I apologize.      Before

  15    you move to your next question, I just wanted to add something

  16    to what Mr. Campbell said, if I may.

  17               THE COURT:    Okay.

  18               MR. KLEINHENDLER:     You asked what is the authority

  19    for the relief requested.

  20               THE COURT:    Yes.

  21               MR. KLEINHENDLER:     This Court, in the face of a claim

  22    of fraud, has inherent equitable authority to do as it sees

  23    fit.    Fraud vitiates everything, and that is another basis that

  24    this Court has.

  25                I also want to make another point that I think is

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5335 Filed 07/16/21 Page 33 of33
                                                                             233

        Motion hrg.                                      7/12/2021

   1    escaping, particularly what Ms. Meingast had mentioned.          There

   2    was no way on this planet that the electors could have used the

   3    State of Michigan electoral processes, because that's not what

   4    they were trying to accomplish.       What they were trying to

   5    accomplish was what are their rights under the Twelfth

   6    Amendment and what are their rights heading into the vote of an

   7    electoral college, which had not yet taken place, and that was

   8    the purpose of the TRO, not to have what is typically

   9    considered -- and that's what you're hearing from the Defense.

  10    A candidate who loses an election, what resources does that

  11    specific candidate have in order to unwind or preserve his or

  12    her position?

  13               THE COURT:    Mr. Kleinhendler, do you have any case

  14    authority for the proposition of inherent equitable authority

  15    to address fraud?

  16               MR. KLEINHENDLER:     Your Honor, I haven't.      I don't

  17    have it with me.     I did look it up, your Honor, just briefly

  18    while we were here.     There is a -- there are many cases that --

  19    I would refer you to the United States Supreme Court case,

  20    United States versus Throckmorton.       It's old.    98 U.S. 61 in

  21    1878.   I believe that case states the general equitable

  22    jurisdiction that this Court has, fraud vitiates everything,

  23    and this Court has the equitable power.

  24               And I also just want to point out one other thing

  25    that Mr. Campbell --

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5336 Filed 07/16/21 Page 34 of34
                                                                             233

        Motion hrg.                                       7/12/2021

   1               THE COURT:    I can't imagine it's been over 100 years

   2    since -- that this is --

   3               MR. KLEINHENDLER:     Sorry.   It's just the quickest

   4    case I could pull up.     There are more modern cases, and I'd be

   5    happy to present them to you, your Honor, but that's just one

   6    case that came up quickly while we are here. And --

   7               THE COURT:    That's fine.     Okay.    Let me stop you,

   8    Mr. Kleinhendler.     I'm going to move on.       I need to move on,

   9    and I want to ask, and it's relevant, too.         It's really a segue

  10    to what you're saying.

  11               So let me just ask -- this is a timing issue, and the

  12    question from the Court is, is that why did the Plaintiffs wait

  13    for almost three weeks after the election to assert challenges

  14    regarding voting machines and election procedures, some of

  15    which Plaintiffs themselves claim were well-known far before

  16    the November 3rd election and others which were known by the

  17    close of election day?

  18               So, again, we're talking about State procedures that

  19    are there, that were there when you -- you know, had been in

  20    place for Plaintiffs, Plaintiffs' counsel to for -- counsel to

  21    access.   Why -- what was -- what was the reason for the delay?

  22               Let me direct that to Mr. Campbell, and then I'll

  23    hear from whomever else.

  24               MR. CAMPBELL:     Well, as we've already expressed, my

  25    clients have already expressed, in the written matters both

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5337 Filed 07/16/21 Page 35 of35
                                                                             233

        Motion hrg.                                      7/12/2021

   1    before this Court and also through the United States Supreme

   2    Court filings, the reasons for the delay had to do with, one,

   3    the gathering of that information.       The Court says, "Well, all

   4    this was well-known."     It wasn't known that the election was

   5    going to go as the election did until the election; right?           In

   6    fact, it's the day after the election because --

   7               THE COURT:    Okay.

   8               MR. CAMPBELL:     -- people went to bed.     On election

   9    night there was one result anticipated, and another came out,

  10    at least in Michigan, the next day.       So there is a reaction

  11    time to that.

  12               THE COURT:    Certainly, but three weeks?

  13               MR. CAMPBELL:     Judge, if anything, and it's said

  14    already in the briefing, it was filed too early.         It shows

  15    you -- again, you've seen the number of lawyers who did

  16    contribute.    It's not that there was a lack of effort to get it

  17    done.   It's not that there was a lack of direction to get it

  18    done, although this is a novel proceeding, we candidly admit.

  19               Now, it's not completely novel.       It was pursued in

  20    other states, but this was really the first of those states

  21    that it was pursued in, but it was believed to be done in good

  22    faith by everybody.     And, again, I haven't talked to

  23    Emily Newman, but I talked to her counsel.         It was believed to

  24    be done in good faith by everybody, and they -- they worked

  25    diligently to get it done, and, as Mr. Kleinhendler has said

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5338 Filed 07/16/21 Page 36 of36
                                                                             233

        Motion hrg.                                      7/12/2021

   1    and as I will reiterate, the fact is that part of the theory

   2    rested on certain processes being completed by the State so

   3    that the electors could raise their particular and specialized

   4    causes of action and claims.      So there is a ripeness issue

   5    here, along with the clock that the Court said was running for

   6    three weeks.

   7               THE COURT:    Any response from Defense counsel?

   8               You can start, Mr. Fink.

   9               MR. DAVID FINK:     Absolutely, your Honor.      This is a

  10    case about the election of the President of the United States.

  11    There simply is no case that could be of greater magnitude,

  12    and, in considering the extent of diligence necessary in going

  13    forward, certainly, no case warranted more serious due

  14    diligence and hard work on the part of the attorneys.          The

  15    suggestion that it would take three weeks to file a lawsuit to

  16    raise issues that became -- many of which were stale by the

  17    time they were brought.      The possibility that they say they

  18    were pulling together the facts, when, in fact, all they did

  19    was append affidavits that were filed in other cases and, by

  20    the way, rejected in those other cases.        This is a case in

  21    which the most diligence received the least.

  22               This Court has said in its ruling that the --

  23    correctly, "That this case was stunning in its scope and

  24    breathtaking in its reach," very well-worded of course.          And I

  25    have to -- excuse me, your Honor, but I have to say that the

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5339 Filed 07/16/21 Page 37 of37
                                                                             233

        Motion hrg.                                      7/12/2021

   1    Court summed it up:      It was "breathtaking in its reach."       In a

   2    case like that, you do the hard work.        The suggestion that

   3    people couldn't work long hours and put something out quickly

   4    is absolutely insulting to the Court and to all of the parties.

   5                We all worked on the schedule that was created by

   6    this.    We filed briefs in the Supreme Court on just a couple

   7    days' notice.    We filed briefs in this Court on just a couple

   8    of days' notice, and our briefs were comprehensive.          What they

   9    filed, in the first complaint in this case, was an

  10    embarrassment to the legal profession.        It was sloppy.    It was

  11    unreadable.    It was mocked publicly until they then filed

  12    another version a couple of days later.        The fact is this was a

  13    sloppy, careless effort, and it was long delayed.          They had

  14    plenty of time, and they absolutely should have filed more

  15    quickly.

  16                THE COURT:    Thank you, Mr. Fink.

  17                MR. DAVID FINK:    Obviously, it should never have been

  18    filed.

  19                THE COURT:    Ms. Meingast, would you like to add

  20    anything to that?     You don't have to.

  21                MS. MEINGAST:    I agree with what Mr. Fink just said,

  22    your Honor.

  23                THE COURT:    All right.   Mr. Paterson, counsel for

  24    Mr. Davis, you're on a phone line.       Did you want to add

  25    anything?

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5340 Filed 07/16/21 Page 38 of38
                                                                             233

        Motion hrg.                                      7/12/2021

   1               Can you hear the Court, sir?

   2               All right.    We're going to move on.

   3               MR. KLEINHENDLER:     Your Honor, I'd --

   4               THE COURT:    Mr. Paterson?

   5               MR. PATERSON:     I would agree with Mr. Fink and

   6    Ms. Meingast, Mr. Davis, on behalf of the

   7    five-and-a-half-million voters in the state of Michigan, who

   8    were attempted to be misled by this complaint.         It was an

   9    absolute effort on the part of the Plaintiffs not to challenge

  10    the results of the election but to throw shade on the election.

  11    I think it's entirely appropriate to have this proceeding and

  12    to proceed and make the Court's determination.         So I would

  13    agree with Mr. Fink and Ms. Meingast and urge the Court to

  14    grant the relief that's being sought.

  15               THE COURT:    Thank you, Mr. Paterson.

  16               Let me just say to counsel, at the close of this

  17    hearing I am going to give you -- everyone an opportunity to

  18    make a statement.     Please do not feel that you need to comment

  19    every opportunity given to you.       Please, if you want to add

  20    something that you feel that has not yet been stated, please

  21    feel free to do so.     I'm not trying to chill your right at all.

  22    I want you to be able to make your record.

  23               MR. KLEINHENDLER:     Yes, your Honor.

  24               THE COURT:    All right.    Thank you.    All right.

  25               MR. KLEINHENDLER:     I wanted to say --

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5341 Filed 07/16/21 Page 39 of39
                                                                             233

        Motion hrg.                                      7/12/2021

   1               THE COURT:    Let me move --

   2               MR. KLEINHENDLER:     No, your Honor, I would like to

   3    make a record here, and this is not been said.         Number one,

   4    we've been criticized that the attachments --

   5               THE COURT:    Hang on, Mr. Kleinhendler.      Let me ask

   6    you something, sir.     What -- tell me -- now, you have already

   7    spoken, and I was asking -- that my specific last question was

   8    "Why did Plaintiffs wait three weeks after the election?"           Are

   9    you going to address that?      Without regard to what Mr. Fink or

  10    others have said, did you want to address that to --

  11               MR. KLEINHENDLER:     Yes, your Honor.

  12               THE COURT:    -- the Court?

  13               MR. KLEINHENDLER:     Yes, that's exactly what I wanted

  14    to address.

  15               THE COURT:    All right.    Proceed, sir.

  16               MR. KLEINHENDLER:     Your Honor, yes, there was

  17    suspicion about the voting machines prior to the election.

  18    Yes, there was a court decision in Georgia that had called into

  19    question the security of the Dominion machines, but it wasn't

  20    until the voting was counted, and that took multiple days, even

  21    in Michigan, until the scope of what many people perceived to

  22    be irregularities was understood.       So we didn't even get a -- I

  23    don't even think the networks announced the winner of the

  24    election until November 7th or November 8th.

  25               One second.

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5342 Filed 07/16/21 Page 40 of40
                                                                             233

        Motion hrg.                                      7/12/2021

   1               Okay.   Now, it took us time to put together the

   2    Ramsland affidavit, the affidavit from Spider, the affidavit

   3    from many of the other people, and what Mr. Fink said is simply

   4    not accurate.    To say that every single affidavit, declaration

   5    that was presented to you in this complaint was filed in other

   6    cases is absolutely false.      Okay.   Look at what we filed.      Look

   7    at the record.

   8               Second, it took time to put together those

   9    affidavits.    We did not -- we chose not to simply file a

  10    speaking complaint.     We chose to file the complaint supported

  11    by 960 pages, your Honor, of documents, affidavits, many of

  12    which were original to this proceeding.

  13               Further, your Honor, I want to make the point very

  14    clear to you.    It was not possible to bring this complaint

  15    before the election was certified because we are here on behalf

  16    of electors.    This is a case that is heading towards the

  17    electoral college.     This mantra that you're hearing over and

  18    over again that we're looking to disenfranchise millions of

  19    voters is not what we were trying to do.        What we are trying to

  20    do is, hey, wait a second, let's take a look at these machines.

  21    Let's slow the locomotive train down so a court of law can take

  22    a look at the allegations raised in these 960 pages.          It takes

  23    time to put that together.

  24               Last point.

  25               THE COURT:    Hang on.

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5343 Filed 07/16/21 Page 41 of41
                                                                             233

        Motion hrg.                                      7/12/2021

   1               MR. KLEINHENDLER:     Last point and I'm done.

   2               Mr. Fink criticized our initial complaint, says it

   3    was horrible, it's garbage.      If that's the way he wants to

   4    talk, I'll will leave it to the Court if that's --

   5               THE COURT:    Please make your point.

   6               MR. KLEINHENDLER:     The point is we had an error in

   7    converting the Word document to the PDF document.          I even told

   8    this to Mr. Fink.     We spoke for -- I even sent him --

   9               THE COURT:    And what was the impact of the error as

  10    relates to time?

  11               MR. KLEINHENDLER:     The error was many paragraphs,

  12    many paragraphs, the words were slammed so close together you

  13    couldn't read them.     Okay.

  14               THE COURT:    Okay.   All right.

  15               MR. KLEINHENDLER:     So we -- one more second.      So

  16    we --

  17               THE COURT:    No, Mr. Kleinhendler, that's enough.

  18    I've heard enough, and there's time reserved at the end.           If

  19    you want to use your time in addressing that, you may do so.

  20               The Court is prepared now to move on to the issue --

  21               MR. CAMPBELL:     If I can, your Honor.     Very briefly,

  22    your Honor, only to put dates on this.

  23               I've had a chance to look this up.        The county boards

  24    finished on November 17th, according to my records.          The Board

  25    of Canvassers finished on November 23rd.        So this case was

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5344 Filed 07/16/21 Page 42 of42
                                                                             233

        Motion hrg.                                      7/12/2021

   1    filed on November 25th.      So with respect to the Court, although

   2    that's obviously three weeks from the election --

   3               THE COURT:    Yes.

   4               MR. CAMPBELL:     -- it's not three weeks from when the

   5    case could have been filed.

   6               THE COURT:    Yeah.   Okay.   Thank you.

   7               Let's talk about mootness, counsel, a couple

   8    questions about that.     This is directed, again, to Plaintiffs'

   9    counsel and counsel for Plaintiffs.

  10               As you acknowledged before, the U.S. Supreme Court,

  11    in a filing before it, once electoral votes were cast on

  12    December 14th, subsequent -- these are the words that

  13    Plaintiffs' counsel inserted in a brief to the Supreme Court --

  14    "Subsequent relief would be pointless and the petition would be

  15    moot."

  16               Is that right, Mr. Campbell?       Was that the assertion?

  17               MR. CAMPBELL:     I believe that is accurate.      There

  18    wasn't -- the first assertion, and I think this Court is aware

  19    in the filing before this --

  20               THE COURT:    No, no --

  21               MR. CAMPBELL:     -- your Honor --

  22               THE COURT:    I'm not asking whether that was the first

  23    assertion.    I'm asking if that was the assertion that was made

  24    to the Supreme Court.

  25               MR. CAMPBELL:     At that time, and it was believed to

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5345 Filed 07/16/21 Page 43 of43
                                                                             233

        Motion hrg.                                      7/12/2021

   1    be accurate at that time, as the first assertion was believed

   2    to be accurate when it was made, but things change.          This Court

   3    I think is well aware of what changed actually on the 14th.           If

   4    I'm correct, your Honor, that assertion was made on

   5    December 11th in good faith.

   6               THE COURT:    All right.     Given that statement -- I

   7    don't know about that December 11th date.        I'm talking about

   8    the statement that was made to the Supreme -- and it could have

   9    been made.    I wasn't saying that it was made --

  10               MR. CAMPBELL:     I believe that's right, your Honor.

  11               THE COURT:    Right.   Okay.   I was just referencing the

  12    date.   December 14th is the date upon which the electoral votes

  13    were cast.

  14               MR. CAMPBELL:     Correct.

  15               THE COURT:    My question is, given the statement to

  16    the Supreme Court that subsequent relief would be pointless and

  17    the petition would be moot after votes were cast on the 14th,

  18    why did the Plaintiffs not recognize this lawsuit as moot and

  19    dismiss it voluntarily on that date, on the 14th of December?

  20               Mr. Campbell.

  21               MR. CAMPBELL:     Because my clients are lawyers, and

  22    lawyers have a duty to zealously advocate for their clients.

  23               Your Honor, things change.       This was a fluid

  24    situation, and, if I may, by historical reference, I believe

  25    when this case was filed originally before your Honor we

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5346 Filed 07/16/21 Page 44 of44
                                                                             233

        Motion hrg.                                      7/12/2021

   1    thought -- my clients thought honestly and truly that the

   2    drop-dead date was December 8th, and that's what we've said to

   3    this Court.    Turns out that another judge in Wisconsin did a

   4    different set of calculations and said, "Well, why are you guys

   5    all hurrying for December 8th.       It should be December 14th."

   6               I think Defendants agree that it's December 14th

   7    because that's what they said in their briefing.         Again, we --

   8    my clients thought honestly and truly it was December 8th.

   9    Somebody else came along and said, "Why not December 14th?" and

  10    we didn't argue with that.      That's the date that we gave to the

  11    Court on December 11th because by that time the analysis was

  12    made in Wisconsin, and it was adopted, basically, by all

  13    parties.

  14               On December 14th, your Honor, something happened that

  15    nobody anticipated and nobody on my side instigated or

  16    commanded happen, but three of our Plaintiffs were, in their

  17    opinion, properly elected as electors.        That's not something

  18    that anybody, in terms of the lawyers in this case, had

  19    anticipated, expected, or, necessarily, had even wanted.

  20    However, once they were in their -- you can call it, again, a

  21    Trump election by the Republicans -- once they were elected as

  22    electors in Lansing, they believe, according to the

  23    Constitution, to be the electors.

  24               That changed things, and now the Supreme Court's

  25    determination did have life.      It had life it did not have

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5347 Filed 07/16/21 Page 45 of45
                                                                             233

        Motion hrg.                                      7/12/2021

   1    before, and so, in order to respect the desires, the goals that

   2    are set by the client, it was decided by -- again, not

   3    everybody.    Obviously, Emily Newman didn't have any role.

   4    Brandon Johnson didn't have any.       Lin Wood didn't have any role

   5    in this.   But, Howard Kleinhendler, Sidney Powell, they

   6    decided -- and, again, I believe appropriately so given their

   7    responsibilities as lawyers to their clients -- that this case

   8    was not proper to be dismissed after December 14th because

   9    there were still issues that existed and remain.         When those

  10    were cleared, and they were cleared in early January, shortly

  11    thereafter this case was dismissed.

  12               THE COURT:    All right.    Let me hear from Ms. Meingast

  13    on that issue, please.

  14               MS. MEINGAST:     Thank you, your Honor.     I'm not even

  15    sure I even know what to say.       You know, as we put forth in our

  16    brief, your Honor, as you indicated, in their pleadings to the

  17    U.S. Supreme Court, the highest court in our land, Plaintiffs

  18    indicated this case would be moot by the time the electors

  19    voted.   This whole idea or notion that this was somehow untrue

  20    or their case was revitalized because some of the Plaintiffs,

  21    who were purported Republican Party electors, took a vote

  22    outside the Capitol electing themselves electors is

  23    preposterous.    There is no mechanism for having an alternative

  24    slate of electors sent anywhere, to the archivist or anything.

  25               So I think the suggestion that somehow their case was

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5348 Filed 07/16/21 Page 46 of46
                                                                             233

        Motion hrg.                                      7/12/2021

   1    reinvigorated or that they were wrong, by their own pleadings

   2    that December 14th was the date by which really this would be

   3    moot, as far as any relief this Court could enter, I mean,

   4    really at the point that December 14th, we've sent the

   5    electoral slate, the college votes, our electors vote, and it

   6    goes to the archivist.

   7                At this point, if you want to bring a case, you want

   8    some relief, you're going to have to go sue Congress.          You're

   9    going to have to go to, you know, a different -- a different

  10    playing field and not this Court.       So I'm flabbergasted by this

  11    idea that somehow their case was newly invigorated on the 14th

  12    and that this was not something simply made up here to avoid

  13    the claims that we've put forth in our pleadings.

  14                THE COURT:   To that point -- thank you, Ms. Meingast.

  15                To that point, Mr. Campbell, how -- explain to me how

  16    you think that electing themselves as electorates changed

  17    anything.   I've never heard this as a reason, by the way, as to

  18    why your clients were not willing to dismiss after

  19    December 14th.    In fact, what had been said, as I understand

  20    it, was that it was -- your clients believed that I didn't have

  21    any jurisdiction to consider a motion to dismiss while the

  22    decision on the injunction was still on appeal.         That's what I

  23    heard.   So I've never heard this explanation about there being

  24    some reinvigoration because of the electors having been

  25    elected, air quotes.     I never have heard that.

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5349 Filed 07/16/21 Page 47 of47
                                                                             233

        Motion hrg.                                      7/12/2021

   1               MR. CAMPBELL:     I'm not sure I've heard air quotes --

   2               THE COURT:    I'm sorry, sir?

   3               MR. CAMPBELL:     I'm not sure I've heard air quotes in

   4    a case before, but I appreciate that.

   5               THE COURT:    All right.    Well, you see them.     Okay.

   6               MR. CAMPBELL:     Your Honor, again, my understanding is

   7    that argument is made by Defense from an e-mail exchange with

   8    Stefanie Lambert, who can tell you what she was thinking about.

   9               It seems to me a reasonable consideration, if I'm

  10    appellate attorney, is to decide whether or not this Court has

  11    jurisdiction, but I don't think there was a flat statement

  12    there was no jurisdiction.      I believe it was, if I recall the

  13    e-mail that was addressed in one of the pleadings, that it was

  14    that there was wondering whether or not there was jurisdiction.

  15    I don't think there's been any pleading ever filed in this

  16    court saying that it was without jurisdiction to do something

  17    or to not do something.

  18               Again, the only pleadings that occur after this Court

  19    rules are, basically, the Defendants and the Intervenors who

  20    decided that they needed to go and file things, rather than

  21    asking for an extension of time, for example.         They decided to

  22    file a motion to dismiss.      That's their election.

  23               I hope this Court understands why, in part, they

  24    wanted to do that rather than take the courtesy of an

  25    extension.    They wanted to do something that they could later

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5350 Filed 07/16/21 Page 48 of48
                                                                             233

        Motion hrg.                                      7/12/2021

   1    hang a hat on and say, "Hey, this is stuff we should be able to

   2    collect on either under 1927 or Rule 11," or whatever theory

   3    they were going to come up with.

   4               So in terms of what our clients' clients and what my

   5    clients did in this case, they let a claim pend long enough so

   6    that there was a final resolution of the issues clearly and

   7    absolutely.    And, again, your Honor practiced law long enough

   8    to know.   You make the decision to dismiss that case, and it

   9    turns out that there is some relief for your client, there's no

  10    policy in the world that's going to cover the loss that

  11    occurred because of that.

  12               This is, again, basic lawyering.        It's done every day

  13    in this country --

  14               THE COURT:    Yeah, I haven't -- let me stop you,

  15    Mr. Campbell.    Again, my question:     Are you arguing this for

  16    the first time?

  17               MR. CAMPBELL:     I'm sorry, when you say arguing?

  18               THE COURT:    This issue that you're bringing up about,

  19    you know, the claims have been reinvigorated after

  20    December 14th.    Is that a new argument that you're advancing?

  21               MR. CAMPBELL:     Well, I don't believe the issue of the

  22    date of dismissal in the Supreme Court, the filing that has

  23    come up in these proceedings, as a basis for anything, and,

  24    again, I know you might not love the arguments about

  25    jurisdiction, but I don't believe you have Rule 11

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5351 Filed 07/16/21 Page 49 of49
                                                                             233

        Motion hrg.                                      7/12/2021

   1    jurisdiction.    That's something that's said in the Supreme

   2    Court or the Sixth Circuit.      I don't believe you have Section

   3    1927 jurisdiction over -- it hasn't been a part of any of the

   4    pleadings.    If I'm the first person that happens to argue it,

   5    it's because it's not been raised by anybody until you asked

   6    the question, Judge.

   7               MR. DAVID FINK:     Your Honor --

   8               MR. KLEINHENDLER:     Your Honor, if I might point

   9    out --

  10               THE COURT:    Hang on a moment.     One at a time.

  11               Let me hear from Mr. Fink.

  12               MR. DAVID FINK:     Your Honor --

  13               MR. CAMPBELL:     Your Honor, if can intervene, and I

  14    apologize --

  15               THE COURT:    No, Mr. Campbell.     Mr. Campbell --

  16               MR. CAMPBELL:     Yes, I just want to suggest, it

  17    might --

  18               THE COURT:    No, no --

  19               MR. CAMPBELL:     -- be better to hear from Mister --

  20               THE COURT:    No --

  21               MR. CAMPBELL:     -- Kleinhendler --

  22               THE COURT:    I'm sorry, sir.

  23               MR. CAMPBELL:     -- before Mr. Fink.

  24               THE COURT:    Excuse me.    Excuse me.

  25               MR. CAMPBELL:     Apologize.   I'll mute.    Thank you.

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5352 Filed 07/16/21 Page 50 of50
                                                                             233

        Motion hrg.                                      7/12/2021

   1               THE COURT:    Thank you.

   2               Mr. Fink.

   3               MR. DAVID FINK:     Your Honor, we've now heard for the

   4    very first time the theory from the Plaintiffs that the

   5    subjective belief of three of the Plaintiffs that they had

   6    somehow been elected as electors, because that was their

   7    subjective belief, the attorneys had to pursue that claim.

   8               Now, there's a couple of problems with it.         One, of

   9    course, the attorneys have a duty to only go forward with

  10    something for which there is a valid, legitimate, legal theory

  11    to present to the Court and facts to support it, but, the more

  12    important issue, in terms of the question this Court poses,

  13    which was mootness, was not once, until this hearing today, not

  14    once did that distinction come up in this case, and on

  15    December 14th, the date when they said the case would be moot,

  16    on December 14th, if in fact they decided that due to a change

  17    in circumstances it was not moot, they could have and should

  18    have amended their complaint or otherwise filed something with

  19    this Court to notify us of the new proceeding that they were

  20    taking.

  21               Now, counsel said something that I have to take

  22    personally as outrageous, when he suggests that the reason that

  23    we filed our motion to dismiss in this case at the time that we

  24    did and the reason the State filed the motion at the time that

  25    they did, was because we had some venal interest in collecting

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5353 Filed 07/16/21 Page 51 of51
                                                                             233

        Motion hrg.                                      7/12/2021

   1    funds in a Rule 11 sanction.

   2               The fact is in this case the basis of the election of

   3    the President of the United States was under attack.          These

   4    folks were putting in jeopardy the safety of our republic, and

   5    we chose to step up and to say, "No, this case must be and

   6    should be dismissed," and, ironically, their response at the

   7    time was, "Well, it's pending on appeal so it can't be

   8    dismissed yet."    Of course, that was absurd that the other

   9    sanction was pend -- that the motion -- the temporary relief

  10    motion was pending on appeal didn't interfere with it.

  11               We moved forward with our motion to dismiss.         We're

  12    being asked today why we didn't adjourn it.         We did everything

  13    we could to expedite it, as we should have.

  14               Now, I will say this.      After we filed that motion and

  15    they saw all the grounds, they still didn't dismiss.          They also

  16    still didn't dismiss after January 7th when the United States

  17    Congress accepted the electors.       Certainly, by then, the case

  18    would have been moot, if not on December 14th, and they still

  19    didn't dismiss.    They still didn't dismiss, even though they

  20    had in one of their briefs on sanctions, they've said that the

  21    January 6th certification rendered their claims moot, but they

  22    didn't dismiss that day.

  23               Instead, they kept moving forward, and then they

  24    waited until January 12th, which was the date that the response

  25    to our motion to dismiss was due, and on that date what did

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5354 Filed 07/16/21 Page 52 of52
                                                                             233

        Motion hrg.                                      7/12/2021

   1    they do?   They asked for an extension.       We said, "No, we don't

   2    want an extension."     We opposed it.    The Court, understandably,

   3    under the circumstances granted them two days.         During those

   4    two days we were compelled -- we didn't choose to do this.           We

   5    were compelled to file responses to a writ of cert in the

   6    Supreme Court of the United States, hardly a minor matter,

   7    again, only because they wouldn't dismiss.

   8               And then even when they did choose to so-call

   9    voluntarily dismiss on January 14th, even when they did that,

  10    they didn't dismiss the appeal.       They didn't dismiss their

  11    petition for cert.     We asked them if they would.      On

  12    January 18th, we asked Stefanie Junttila if they were going to

  13    dismiss the appeal.     She asked us if we would consent.       Of

  14    course we said we'd consent to dismissal of the appeals, but,

  15    instead, after we did this, we reached out -- or my late

  16    partner reached out to Ms. Junttila and said, "What's happening

  17    with the dismissal of the appeals?"       And the answer she got --

  18    he got was, "It's my understanding that Sidney Powell's team is

  19    preparing, it and I will submit it as I receive it."

  20               And then, one last point, while the Supreme Court has

  21    the petition for writ pending -- and this case is clearly moot.

  22    Everybody agrees today that it's moot.        They agree it was moot

  23    in the pleadings they're filing now.

  24               On February 4th, Sidney Powell sends out a social

  25    media message on Telegram saying -- this February 4th -- "By

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5355 Filed 07/16/21 Page 53 of53
                                                                             233

        Motion hrg.                                      7/12/2021

   1    the way, assertions that all cases were lost is false.          Our

   2    Michigan case in the Supreme Court is scheduled for conference

   3    soon."    Signed Sid.    They never dismissed this case.      It was

   4    moot from the beginning, as this Court found in its first

   5    ruling.    At every stage they'd say, "It will be moot when this

   6    happens, it will be moot when that happens," but they kept it

   7    going.

   8                THE COURT:    Final response.    Thank you.

   9    Mr. Campbell, I'll give you the last word on that.

  10                MR. KLEINHENDLER:    Ma'am, I just want to point out

  11    something I think is very important.

  12                We've raised this precise argument in ECF 112, pages

  13    27-30.    I'm just going to read you just to where you can start

  14    reading.   "Opposing counsel and Defendants" -- this is page 27

  15    of ECF 112 that was in response to ECF 105.

  16                "Opposing counsel and Defendants also allege the case

  17    was moot and vexatious over the pleadings in the case that this

  18    argument based on the event of the Michigan Republican slate of

  19    electors voting a dual slate of electors."         We raised this

  20    issue square front and center before you.        That's number one.

  21                Number two, your Honor, it's not merely that three

  22    electors believed subjectively that they were still in the

  23    game.    All 16 electors, Michigan electors, which we have

  24    nothing to do with, appeared before the capitol.          They weren't

  25    allowed in, and they decided to hold a vote.         That is based on

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5356 Filed 07/16/21 Page 54 of54
                                                                             233

        Motion hrg.                                      7/12/2021

   1    their rights under the Twelfth Amendment, and it figures into

   2    what happens in Congress on January 6th when, under the Twelfth

   3    Amendment, and even under the ECA, the Electoral Count Act,

   4    objections to electors are permitted.        That's what the

   5    Constitution says.

   6                So, A, it's before you in the briefing; B, it renders

   7    this thing not moot.

   8                To the last point -- and this is also in the brief

   9    before you, your Honor.      Again, this is ECF 112.

  10                THE COURT:   I understand.

  11                MR. KLEINHENDLER:    Okay.   Even after January 6th, I'm

  12    going to push this, and I'm going to read you the last

  13    sentence.    "There is still a nonmootness issue, because the

  14    matters that were raised in this lawsuit are likely to be

  15    repeated and evading review."       And we cited Del Monte Fresh

  16    Produce versus U.S. 570 F.3d 316, D.C. Circuit, 2009.

  17                So, yes, the election was moot.      Mr. Biden was

  18    elected.    However, the issues raised in this lawsuit, because

  19    they were likely to be repeated and evaded review, could have

  20    still been decided by the Supreme Court.

  21                Thank you, your Honor.

  22                THE COURT:   All right.    I'm going to move on.     Thank

  23    you.   I'm going to move on to that section looking at legal

  24    authority.    I'm going to move on now to the actual evidence

  25    that's been submitted in this case.

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5357 Filed 07/16/21 Page 55 of55
                                                                             233

        Motion hrg.                                      7/12/2021

   1               The answers, counsel, to the following questions will

   2    be assessed to determine whether sanctions under Rule 11,

   3    Section 1927 and/or the Court's inherent sanctions authority

   4    should be imposed.     Specifically, the questions are structured

   5    to determine whether Plaintiffs and/or counsel for Plaintiffs

   6    should be sanctioned under Rule 11 for failure to make a

   7    reasonable inquiry into fact or law, knowingly asserting a

   8    groundless position, or asserting a claim for an improper

   9    purpose; secondly, whether counsel for Plaintiffs should be

  10    sanctioned under Section 1927 for unreasonable and vexatious

  11    behavior that prolonged this litigation; and, three, whether

  12    Plaintiffs and/or Plaintiffs' counsel should be sanctioned

  13    under the Court's inherent authority for litigation practices

  14    undertaken in bad faith through the advancement of claims

  15    without merit for an improper purpose.

  16               So that's noticed.     Those are the various sources of

  17    sanctions, and now I will proceed.

  18               And this first question here is for Plaintiffs or

  19    Plaintiffs' counsel -- I'm sorry, Plaintiffs' counsel or

  20    counsel for Plaintiffs' counsel.

  21               Do you believe that a lawyer has a legal obligation

  22    to review the plausibility of the facts alleged in the pleading

  23    before signing and filing it?

  24               Mr. Campbell.

  25               MR. CAMPBELL:     I believe the answer, on behalf of all

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5358 Filed 07/16/21 Page 56 of56
                                                                             233

        Motion hrg.                                      7/12/2021

   1    my clients, would be yes.

   2               THE COURT:    All right.    Let me then ask you as

   3    relates to Mr. Russell Ramsland's affidavit.         Before -- I would

   4    like to know who read Russell Ramsland's declaration before

   5    attaching it to the pleadings in this case and submitting it in

   6    support of the motion for TRO?       Who on the team read it?

   7               MR. CAMPBELL:     I don't have that information, your

   8    Honor.   I --

   9               THE COURT:    Okay.   Does anybody have --

  10               MR. CAMPBELL:     I know who didn't read it.

  11               MR. KLEINHENDLER:     I read it, your Honor.

  12               THE COURT:    Wait a minute.     Hang on one second.

  13               MR. KLEINHENDLER:     Howard Kleinhendler.      I read it.

  14               THE COURT:    Okay.   All right.    So all right.    Are you

  15    the only person, Mr. Kleinhendler, that did?         Anyone else?

  16               MR. KLEINHENDLER:     I don't know if others reviewed it

  17    as well.

  18               THE COURT:    Well, I need to know.      That's what this

  19    hearing is for.    I need to know.     If you read it before it was

  20    attached, raise your hand or speak up.

  21               Okay.   Mr. Johnson read it.      When did you read it,

  22    sir?   You read it?

  23               MR. JOHNSON:    I don't recall when I read it.       I read

  24    it before it was filed.

  25               THE COURT:    Okay.   And, Mr. Kleinhendler, you read

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5359 Filed 07/16/21 Page 57 of57
                                                                             233

        Motion hrg.                                      7/12/2021

   1    it?

   2                MR. KLEINHENDLER:    Yes.

   3                THE COURT:   And, Mr. Rohl, you read it, sir?

   4                MR. ROHL:    I read it prior to the -- the day of

   5    filing I read the entirety of what was sent to me, including

   6    that.

   7                THE COURT:   Okay.

   8                MR. WOOD:    Your Honor, this is Lin Wood.

   9                THE COURT:   So the question here is read before it

  10    was filed in support of -- before it was filed.

  11                MR. ROHL:    That's correct.    That is correct, your

  12    Honor, the day of.

  13                THE COURT:   Okay.   All right.    Thank you.

  14                MR. HAGERSTROM:    Same here.

  15                MR. WOOD:    Your Honor --

  16                THE COURT:   I'm sorry, Mr. Wood?

  17                MR. HAGERSTROM:    Scott Hagerstrom.     I read through --

  18    on the day it was filed, I read through --

  19                THE COURT:   No, no, no.     I'm not asking if you looked

  20    at it after it was filed.      The Court's question is --

  21                MR. HAGERSTROM:    No --

  22                THE COURT:   -- the Court's question is:       Was it read

  23    before --

  24                MR. HAGERSTROM:    Yes, prior to the filing.

  25                THE COURT:   Okay.   Mr. Wood, you had your hand up,

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5360 Filed 07/16/21 Page 58 of58
                                                                             233

        Motion hrg.                                      7/12/2021

   1    sir?

   2               MR. WOOD:    Thank you, your Honor.      I just want to

   3    make a point, which I think I made earlier.         I did not review

   4    any of the documents with respect to the complaint.

   5               THE COURT:    Okay.

   6               MR. WOOD:    My name was placed on there, but I had no

   7    involvement.    So I haven't read -- didn't read the complaint,

   8    wasn't aware of the affidavits.       I just had no involvement

   9    whatsoever in it.

  10               THE COURT:    Did you give your permission to have your

  11    name included on the pleadings or the briefs, sir?          Mr. Wood,

  12    this is directed to you.

  13               MR. WOOD:    Yes, your Honor.     Let me answer that.     I

  14    do not specifically recall being asked about the Michigan

  15    complaint, but I had generally indicated to Sidney Powell that

  16    if she needed a, quote/unquote, trial lawyer that I would

  17    certainly be willing and available to help her.

  18               In this case obviously my name was included.         My

  19    experience or my skills apparently were never needed so I

  20    didn't have any involvement with it.

  21               Would I have objected to being included by name?          I

  22    don't believe so, but I did not apply for pro hoc vice

  23    admission.    I had no intentions.     It's not indicated on the --

  24    if you look on the complaint and the amended complaint --

  25               THE COURT:    All right.    You gave your permission.

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5361 Filed 07/16/21 Page 59 of59
                                                                             233

        Motion hrg.                                      7/12/2021

   1                MR. WOOD:    -- there's no indication.     I'm sorry.

   2                THE COURT:   You didn't --

   3                MR. WOOD:    I didn't object to it, but I did not

   4    know -- I actually did not know at the time that my name was

   5    going to be included, but I certainly told Ms. Powell in

   6    discussions that I would help her if she needed me in any of

   7    these cases, and in this particular matter apparently I was

   8    never needed so I didn't have anything to do with it.

   9                THE COURT:   Did you read it before it was filed,

  10    Mr. Wood, or are you saying you had no knowledge?

  11                MR. WOOD:    I had no notice.

  12                THE COURT:   Right.

  13                MR. WOOD:    I didn't have any involvement in the

  14    filing so I did not read it before it was filed.         It was only

  15    afterwards when I found out my name was even on there.

  16                So I just -- you know, I haven't received a motion

  17    for sanctions.    I didn't get served with anything.        I'm just --

  18    I'm here because your Honor warned me to be here, but I'm here

  19    subject to my defense that I just don't think there's any

  20    personal jurisdiction over me because I didn't do anything in

  21    Michigan.   I didn't do anything with respect to this lawsuit.

  22                THE COURT:   But you did --

  23                MR. WOOD:    I didn't put my name --

  24                THE COURT:   -- but you gave a general --

  25                MR. WOOD:    No, I didn't --

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5362 Filed 07/16/21 Page 60 of60
                                                                             233

        Motion hrg.                                      7/12/2021

   1               THE COURT:    Hold on.    So that I can properly

   2    characterize your testimony.      You gave general permission to

   3    Ms. Powell to use your name on any pleading that -- what?

   4    Finish that sentence or restate it if I'm wrong.

   5               MR. WOOD:    I didn't give permission for my name

   6    specifically to be on any pleading.       I told Sidney, when she

   7    asked, if she needed my help, I would help her from a trial

   8    lawyer standpoint.     That's it.

   9               THE COURT:    Okay.   So you were not -- were you

  10    surprised to see that your name was included?

  11               MR. WOOD:    When I found out it was included, your

  12    Honor --

  13               THE COURT:    That was my next question --

  14               MR. WOOD:    I guess I was --

  15               THE COURT:    Yeah, when did you find out?

  16               MR. WOOD:    I don't -- it would have been sometime

  17    well after the filing.     I didn't follow the litigation.

  18               I think I first became aware that my name -- I know

  19    that I was away when I saw an article in the newspaper about

  20    this motion for sanctions being filed, and I was trying to

  21    figure out why I was named in it and I didn't receive a copy of

  22    the sanctions.    I looked.    I was on the pleadings, but only on

  23    the complaint and the amended complaint.        On the subsequent

  24    filings that were made with respect to the injunction, my name

  25    doesn't even appear.

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5363 Filed 07/16/21 Page 61 of61
                                                                             233

        Motion hrg.                                      7/12/2021

   1               So I'm only saying that I'm assuming that

   2    Sidney Powell knew that I would help her.        For whatever reason,

   3    whoever was drafting the complaint put my name only there, but,

   4    your Honor, I just didn't have anything to do with this so I --

   5    I didn't read anything.

   6               THE COURT:    All right.

   7               MR. WOOD:    I wasn't asked to read anything and so I

   8    didn't specifically say, "Hey, put my name on there.          I want to

   9    endorse this lawsuit."     I just, in general, told Ms. Powell,

  10    and I think she'll affirm this, that I was there to help her

  11    from a trial lawyer standpoint.       On that matter or any other

  12    matter, I don't -- I didn't have any specific involvement in

  13    it.

  14               THE COURT:    All right.    Let me --

  15               MS. HALLER:    Your Honor --

  16               MR. DAVID FINK:     Your Honor --

  17               THE COURT:    Hang on.    One moment.    Hang on for one

  18    moment.   Ms. Haller, can you hang on for one moment, please.

  19               Mr. Fink, you may be heard.

  20               MR. DAVID FINK:     Yes, if I may, your Honor.      Mr. Wood

  21    just indicated that he did not know about the sanctions motion.

  22    Mr. Wood was served with our December 15th notice and

  23    opportunity to withdraw the pleadings and through the Safe

  24    Harbor provision.     He was served by e-mail and he was served by

  25    first class mail using the addresses provided in the pleadings,

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5364 Filed 07/16/21 Page 62 of62
                                                                             233

        Motion hrg.                                      7/12/2021

   1    and the other representation by him is blatantly false.

   2                I also would indicate that Mr. Wood in Delaware

   3    Circuit Court -- in Delaware court trying to defend against a

   4    claim brought there --

   5                MR. CAMPBELL:    Your Honor, I'm going to object --

   6                THE COURT:    Hang on.   No, no, no.    Excuse me.

   7                Excuse me, Mr. Campbell.     Please.    Please.   I will

   8    handle this.    I am going to give everyone who I need to hear

   9    from an opportunity to speak.

  10                You may proceed, Mr. Fink.

  11                MR. DAVID FINK:    Thank you.    In Delaware, Mr. Wood,

  12    attempting to burnish his credentials in some way, explicitly

  13    made the representation to the superior court that he was, in

  14    fact, in the words of that case, "Among those cases in which

  15    Wood became involved were lawsuits in Wisconsin, Michigan, and

  16    Wood's own suit in the state of Georgia."        This is the case in

  17    Michigan.

  18                So he's ready to tell people when it helps him that

  19    he's involved in this case.      He also broadcast on social media

  20    regularly his participation and his advancement and endorsement

  21    of this.    That said, most importantly and most relevantly here,

  22    he could at any time have withdrawn the pleading or withdrawn

  23    his participation.

  24                We didn't want -- we didn't choose to give them a

  25    chance to back out.      We did it because the court rule required

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5365 Filed 07/16/21 Page 63 of63
                                                                             233

        Motion hrg.                                      7/12/2021

   1    it.   The court rule said we couldn't seek Rule 11 sanctions if

   2    we didn't give them notice and an opportunity to withdraw their

   3    allegations.    We did it.    He had the notice, and he didn't

   4    withdraw the allegations.      Thank you.

   5               THE COURT:    All right.    Thank you, Ms. Haller --

   6               MR. WOOD:    Your Honor --

   7               THE COURT:    Hang on, please.

   8               MR. WOOD:    Your Honor, may I be permitted --

   9               MS. HALLER:    (Indiscernible.)

  10               THE COURT:    Mr. Wood, hang on, sir.      I'm going to let

  11    you speak momentarily, and I see that Ms. Wabeke, our court

  12    reporter, and we all know, is legitimately concerned.          So one

  13    at a time, and I will come right back to you, but I want to go

  14    to Ms. Haller because I said that I would.         So please go ahead.

  15               MS. HALLER:    Thank you, your Honor.      I just wanted to

  16    clarify that I was one the reviewers of Russ -- Russ Ramsland's

  17    affidavit in the complaint that we filed.        I couldn't remember

  18    if I had, but I do recall I did.

  19               THE COURT:    Okay.   All right.    And so you -- and you

  20    actually -- you reviewed it before it was filed, counselor?

  21               MS. HALLER:    Yes, your Honor.

  22               THE COURT:    All right.    Very well.    And let me do a

  23    housekeeping piece right here because I want to hear -- but I

  24    need everyone to raise your hand and I can see you, and we'll

  25    take it in that order.

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5366 Filed 07/16/21 Page 64 of64
                                                                             233

        Motion hrg.                                      7/12/2021

   1               Mr. Wood, you may respond to what Mr. Fink has said.

   2               MR. WOOD:    Thank you, your Honor.      I was not afforded

   3    any type of a hearing on the Delaware proceedings.          I didn't

   4    take any position.     I didn't have an opportunity to.       That

   5    matter is on appeal now to the Supreme Court of Delaware based

   6    on the trial court's lack of authority to sua sponte issue a

   7    ruling (indiscernible) with respect to disciplinary matters and

   8    failure to have any type of a hearing.        So I'm not sure what

   9    he's referring to there.

  10               What I have said, I'm involved -- well, I'm involved.

  11    My name showed up so I can't say I'm not involved generally,

  12    but, again, I have to tell you, your Honor, I didn't receive

  13    any notice about this until I saw something in the newspaper

  14    about being sanctioned.      So I disagree with Mr. Fink.

  15               THE COURT:    Okay.   Well, that can be fleshed out.

  16    That can be fleshed out.

  17               MR. WOOD:    Sure.

  18               THE COURT:    I'm going to move on at this point.

  19               MR. WOOD:    Because --

  20               THE COURT:    Yes, sir.

  21               MR. WOOD:    Let me say, because if I had been, I would

  22    have obviously had a duty to consider whether or not to

  23    withdraw, but I can't withdraw from something I've never asked

  24    to be a part of.     I never moved to be admitted to this court,

  25    to in any way be involved as counsel of record.

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5367 Filed 07/16/21 Page 65 of65
                                                                             233

        Motion hrg.                                      7/12/2021

   1               THE COURT:    Did you feel that you had a duty --

   2               MR. WOOD:    So I just don't think that --

   3               THE COURT:    Did you feel you had a duty --

   4               MR. WOOD:    (Indiscernible.)

   5               THE COURT:    Did you feel, Mr. Wood, you needed to

   6    notify this Court of that?

   7               MR. WOOD:    Notify --

   8               THE COURT:    I don't know, I mean, that, you know,

   9    that your name was used and you're not really sure, you know,

  10    you hadn't given full permission for that --

  11               MR. WOOD:    I --

  12               THE COURT:    -- any kind of notification to the Court

  13    and saying this seems to be a --

  14               MR. WOOD:    (Indiscernible.)

  15               THE COURT:    This appears to the Court to be an

  16    after-the-fact assessment.

  17               MR. WOOD:    Well, I just don't understand that at all.

  18    If the Court -- if the Court knew from the Court's record that

  19    I had never moved to be admitted pro hoc vice.         So you knew,

  20    the Court knew that I was not of record in this case so why

  21    would I have a duty to tell the Court what you already knew?

  22               Now --

  23               THE COURT:    We don't even --

  24               MR. WOOD:    Listen, I don't know anything --

  25               THE COURT:    -- have pro hoc vice status.

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5368 Filed 07/16/21 Page 66 of66
                                                                             233

        Motion hrg.                                      7/12/2021

   1               MR. WOOD:    So you have --

   2               THE COURT:    Excuse me.    We do not even have pro hoc

   3    vice status here in Michigan.       So everybody -- you know, I mean

   4    there's an assumption, certainly, that I am able to make, that

   5    when you come into the Eastern District of Michigan, you

   6    familiarize yourself with the local rules.

   7               MR. WOOD:    I didn't (indiscernible) --

   8               THE COURT:    So there's no responsibility --

   9               MR. WOOD:    I didn't --

  10               THE COURT:    -- that the Court has to do that.

  11               MR. WOOD:    I didn't come into the district.       My name

  12    was placed on a pleading.      You seem to assume that I said,

  13    "Hey, I want to be part of the Michigan case."         I've made it

  14    clear that that's not what happened factually.

  15               THE COURT:    Okay.

  16               MR. WOOD:    And that factual presentation is

  17    undisputed.

  18               THE COURT:    Okay.   Well, I don't believe it's

  19    undisputed, and, certainly when you put your name --

  20               MR. WOOD:    Who's disputing it, your Honor?       Who's

  21    disputing it?

  22               THE COURT:    Mr. Fink has --

  23               MR. WOOD:    Who's disputing?

  24               THE COURT:    -- disputed it.     Have you been tracking

  25    with Mr. Fink?

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5369 Filed 07/16/21 Page 67 of67
                                                                             233

        Motion hrg.                                      7/12/2021

   1                MR. WOOD:    He hasn't -- Mr. Fink only knows that my

   2    name appeared on the pleading.       He doesn't know how it got

   3    there.

   4                THE COURT:   Okay.

   5                MR. WOOD:    So he has no basis to dispute what I'm

   6    saying about the conversation --

   7                COURT REPORTER:    Excuse me.

   8                MR. WOOD:    He understands --

   9                COURT REPORTER:    Excuse me.

  10                MR. WOOD:    -- that I have --

  11                COURT REPORTER:    Excuse me.    I'm sorry, Judge, I'm

  12    going to have to say that please stop interrupting.          It's hard

  13    enough on a Zoom hearing, let alone in open court when we are

  14    live, so please stop.

  15                THE COURT:   Thank you, Ms. Wabeke.      Absolutely,

  16    absolutely.    So, counsel, here are the rules again.        One at a

  17    time.    Let the court recognize you to speak after you've raised

  18    your hands.

  19                Mr. Fink, you may speak.

  20                MR. DAVID FINK:    Thank you, your Honor.      To be clear,

  21    Mr. Wood indicates what I do and do not know.         What I do know

  22    and what we put on this record is the following:         One, we

  23    served him with a Rule 11 notice.       Now, he should have known

  24    already before that because it was not only public, but I think

  25    we have social media comments from him, but that's irrelevant.

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5370 Filed 07/16/21 Page 68 of68
                                                                             233

        Motion hrg.                                      7/12/2021

   1    That's not necessary today.

   2               On December 15th we e-mailed him, and it did not come

   3    back to us.    Then we sent first class mail to us [sic.] that

   4    did not come back to us in which we notified him of the

   5    potential Rule 11 filing.      It also ended up in the

   6    Twitter-verse, if you will.      It became public, and,

   7    interestingly, it became public not because of anything we did.

   8    But, rather, because another attorney, Mark Elias, who saw our

   9    notice, which was not filed with the court but only sent to the

  10    parties, Mr. Elias Tweeted that notice out, and, after he did

  11    that, Mr. Wood posted a Tweet saying something about he knew --

  12    "You know you're over the target when you're in the sights of

  13    David Fink," or something like that.

  14               The point is, he knew.      He even commented publicly.

  15    Equally importantly, today he's representing to this Court that

  16    he did not participate in -- I think that's what I heard him

  17    say -- that he had no chance to respond in Delaware.          In fact,

  18    we offered, and, understandably, it wasn't at that point

  19    something the Court felt was pertinent or relevant, but we

  20    offered, as a potential supplemental brief with an attachment,

  21    the opening brief of Ronald Poliquin, an attorney purporting to

  22    represent Lin Wood in the Supreme Court of the State of

  23    Delaware and filed on May 5th, 2021, and that is the document

  24    in which his attorney said, "Among those cases in which Wood

  25    became involved were lawsuits in Wisconsin, Michigan, and

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5371 Filed 07/16/21 Page 69 of69
                                                                             233

        Motion hrg.                                      7/12/2021

   1    Wood's own suit."     I didn't make this stuff up.

   2                THE COURT:    Thank you, Mr. Fink, and I would -- I'm

   3    going to ask a question to Ms. Powell, and my question,

   4    Ms. Powell, to you is:      Did you -- did you have an opportunity

   5    to speak to Mr. Wood?     Let me -- let me restate this.

   6                Did you ever at any point tell Mr. Wood you were

   7    going to place his name on the pleading?

   8                MS. POWELL:   My view, your Honor, is that I did

   9    specifically ask Mr. Wood for his permission.         I can't imagine

  10    that I would have put his name on any pleading without

  11    understanding that he had given me permission to do that.

  12    Might there have been a misunderstanding?        That's certainly

  13    possible.

  14                THE COURT:    All right.   And, Mr. Kleinhendler, sir,

  15    one specific question to you, yes or no:        Did you have an

  16    opportunity to speak to Mr. Wood before you placed his name on

  17    the pleading?

  18                MR. KLEINHENDLER:     Honestly, your Honor, I don't

  19    recall.

  20                THE COURT:    Okay.

  21                MR. KLEINHENDLER:     I don't recall.    Sorry.

  22                THE COURT:    All right.

  23                MR. BUCHANAN:    Your Honor?

  24                THE COURT:    Yes, Mr. Buchanan.

  25                MR. BUCHANAN:    Thank you, your Honor.     I just wanted

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5372 Filed 07/16/21 Page 70 of70
                                                                             233

        Motion hrg.                                      7/12/2021

   1    to respond to your question about who had a role in the

   2    affidavit of a witness in question that you mentioned, and my

   3    client doesn't recall specifically when she looked at this

   4    affidavit.    She said she saw it at some point, but, again, she

   5    was working at home doing basic editing, research, and so, you

   6    know, she didn't have any role in terms of investigating or

   7    doing due diligence on these particular affidavits.          She's not

   8    saying they're accurate or inaccurate, but her role was more

   9    limited.

  10               THE COURT:    All right.    Let me move on in terms of

  11    experts, those affidavits that have been submitted, and my

  12    questions are going to pertain to who spoke with these

  13    individuals for purposes of understanding the source of their

  14    facts that they were referenced in the affidavit and basis for

  15    their conclusions.     Who spoke to these experts before

  16    submitting their reports as evidence?        Dealing with expert

  17    reports.

  18               So let me start with Joshua Merritt.        Who spoke with

  19    him for purposes of determining the source of his facts and the

  20    basis for his conclusions before submitting?

  21               And if there is counsel here who doesn't know the

  22    answer to that question because they had no involvement in it,

  23    because they didn't speak, please raise your hand.          If you are

  24    not -- if you were not an individual who spoke in advance to

  25    Joshua Merritt about the source of his facts and the basis for

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5373 Filed 07/16/21 Page 71 of71
                                                                             233

        Motion hrg.                                      7/12/2021

   1    his conclusion in the report that he provided, raise your hand

   2    if you weren't involved with it.

   3               Okay.   So I'm going -- okay.      Let me name the

   4    individuals because I want to -- please keep your hand up.

   5               MR. WOOD:    Your Honor, could you restate the

   6    question, please?

   7               THE COURT:    The question -- yes, I will.       The

   8    question -- as relates to the affidavit that was submitted by

   9    Joshua Merritt, my question is:       Who spoke to him in advance

  10    before including his affidavit to the complaint?         You know, did

  11    you speak to him for purposes of determining the source of his

  12    facts around the basis of his conclusions?         Who on this call

  13    had that type of conversation with Mr. Merritt?

  14               MR. JOHNSON:    Your Honor, perhaps --

  15               THE COURT:    No, no.    Go ahead, Mr. Johnson.     Let me

  16    just do this:    Raise your hand if you had the conversation with

  17    him, if anybody spoke with Joshua Merritt in advance of the

  18    submission of his affidavit.

  19               So right now we have Mr. Kleinhendler.

  20               Mr. Johnson, did you have your hand up for that?

  21               MR. JOHNSON:    I had my hand up that I did not speak

  22    with him or, for that matter, with any of the experts.

  23               THE COURT:    Okay.   Okay.   We'll make a note of that.

  24               But, Mr. Kleinhendler, you spoke with him before the

  25    affidavit was submitted, Joshua Merritt; is that true?

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5374 Filed 07/16/21 Page 72 of72
                                                                             233

        Motion hrg.                                      7/12/2021

   1                MR. KLEINHENDLER:    Yes.

   2                THE COURT:   All right.     And did you have an

   3    opportunity to speak to him about the source of his facts?

   4                MR. KLEINHENDLER:    Your Honor, he was recommended to

   5    us.   As there are certain things I cannot disclose,

   6    unfortunately, in public about his sources, about his

   7    qualifications, and the reason for that is he has worked as an

   8    undercover confidential informant for multiple federal law

   9    enforcement and intelligence services.        It's beyond merely what

  10    is stated briefly in his declaration.

  11                He did -- he did tell me what those -- you know, what

  12    the basis is, what type of experience he had, and, based on

  13    that, looking at what he had presented, with the detail, with

  14    the URLs that he had cited, with the vulnerability to the

  15    Dominion pass codes that were available to be hacked on what

  16    they call the dark web, it was my honest belief that what he

  17    was saying was correct.

  18                I will take the opportunity, your Honor, to point out

  19    that the one area in his affidavit that has come into dispute

  20    was his role in the 305th military intelligence.         At the time

  21    it was my understanding that he had spent a reasonable amount

  22    of time with that unit.      Subsequently -- subsequently I did

  23    learn that he did train with them, your Honor.         He trained with

  24    the unit.   I think it's called Fort Huachuca.        I can't remember

  25    the exact one.    However, he subsequently was transferred out of

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5375 Filed 07/16/21 Page 73 of73
                                                                             233

        Motion hrg.                                      7/12/2021

   1    there.

   2               However, I point out to you that that -- that one

   3    point is minor and practically irrelevant because the basis of

   4    his expert opinion and his factual opinion are based on, and

   5    I'm happy to talk to you in camera and give you more detail of

   6    his years and years of experience in cyber security as a

   7    confidential informant working for the United States

   8    Government.

   9               THE COURT:    Did you feel that it was -- did you make

  10    that correction to the Court at any time?        I'm not aware of it.

  11               MR. KLEINHENDLER:     I didn't have the time because

  12    when I first learned of it, your Honor, when I first learned of

  13    it, it was after all the cases had been decided and dismissed

  14    and then we withdraw.     We never made a further representation

  15    to this Court, an argument to this Court about his

  16    qualification in that regard, and, technically, your Honor --

  17    technically, your Honor, the statement is not false.          He

  18    trained with the 305th.      Okay.   It's not technically false.

  19    However, had I known in advance that he had transferred out, I

  20    would have made that clear, but I didn't.        I had no reason to

  21    doubt.

  22               THE COURT:    Thank you, Mr. Kleinhendler.

  23               Hang on a second.

  24               Mr. Campbell, why do you have your hand up, sir?

  25               MR. CAMPBELL:     Because I wanted to let you know,

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5376 Filed 07/16/21 Page 74 of74
                                                                             233

        Motion hrg.                                      7/12/2021

   1    Judge, if your questions tread into the area that you have

   2    acknowledged you're going to avoid, which is the area of work

   3    product or privilege, I will -- I'm asking the Court permission

   4    to be able to interrupt then with objections that are direct

   5    and express on that.     Hopefully your questions don't get there,

   6    but I wanted to make sure that I was within your protocol to do

   7    so.

   8               THE COURT:    All right.    You may raise your hand.

   9    Anyone who wants to address the Court, please raise your hand.

  10               Mr. Fink.

  11               MR. DAVID FINK:     Yes.   I just want to speak to the

  12    comments regarding Mr. Merritt, and as most people know --

  13               THE COURT:    Okay.   Mr. Fink, let me do this, sir.

  14    I'm going to give you and Defense counsel an opportunity to --

  15    after I have asked a couple of more questions about a couple of

  16    additional purported experts, I'm going to give you a chance to

  17    follow up on that.     If I could just understand -- get the lay

  18    of the land in terms of these experts.

  19               So let me proceed.

  20               And I'd like to ask about Mr. Matthew Braynard, and

  21    I'd like to know who reviewed his affidavit and who spoke to

  22    him in relation to what was attached, in relation to the

  23    statements in his affidavit.

  24               Ms. Julia Haller, you have your hand up?

  25               MS. HALLER:    Yes.   May I clarify, your Honor?

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5377 Filed 07/16/21 Page 75 of75
                                                                             233

        Motion hrg.                                      7/12/2021

   1               THE COURT:    Yes.

   2               MS. HALLER:    Matt Braynard had data that we cited to

   3    through our expert, William Briggs, who is also known as Matt.

   4    So William "Matt" Briggs cited to Matt Braynard.         Matt Braynard

   5    had information, and we did communicate with Matt Braynard to

   6    the extent that we could.       He had an agreement with a different

   7    attorney so our communications were more limited, and I do not

   8    feel comfortable discussing all the attorney work product

   9    that's involved in my communications, but I will say there were

  10    communications.

  11               THE COURT:    Okay.    Anyone else speak to Mr. Braynard?

  12               All right.    How about Mr. Briggs, William Briggs?

  13    Who, as has been said, he did seem to be one who interpreted or

  14    provided analysis about the materials that Mr. Braynard

  15    submitted.

  16               Yes, Ms. Haller.

  17               MS. HALLER:    Yes, your Honor.

  18               THE COURT:    Did you speak with Mr. Briggs?

  19               MS. HALLER:    Yes, your Honor.     I communicated with

  20    William Briggs -- Dr. Briggs.       Yes, I communicated with

  21    Dr. Briggs.

  22               THE COURT:    All right.    And you were able to speak to

  23    him about the source of his facts?

  24               MS. HALLER:    Your Honor, everything's documented in

  25    his report, including his source and information, and we

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5378 Filed 07/16/21 Page 76 of76
                                                                             233

        Motion hrg.                                      7/12/2021

   1    addressed this in 112, as well as in our other oppositions,

   2    that we thoroughly had vetted and gone over with the

   3    information that's cited in Dr. Briggs' report, yes.

   4               THE COURT:    All right.    I don't know that that's

   5    clearly stated, but we'll revisit that.

   6               MS. HALLER:    Thank you, your Honor.

   7               THE COURT:    How about Mr. Watkins?      Who reviewed the

   8    affidavit of Ronald Watkins and did anyone speak to him?

   9    Please raise your hand.

  10               MS. HALLER:    Your Honor, I can qualify that I have

  11    spoken to Mr. Watkins.     I do not know at what point in time

  12    exactly, but I have communicated with Mr. Watkins about his

  13    reports.

  14               THE COURT:    All right.    And you've spoken to him

  15    about his sources as well?

  16               MS. HALLER:    Yes, your Honor.

  17               THE COURT:    And the basis for his conclusions?

  18               MS. HALLER:    Yes, your Honor.

  19               THE COURT:    All right.    And how about -- all right.

  20    So we did -- we talked about Mr. James Ramsland already, and,

  21    Ms. Haller, you said that you did in fact -- what did you say?

  22    You said that you reviewed it, his affidavit?

  23               MS. HALLER:    Yes, your Honor.

  24               THE COURT:    And you spoke with him?

  25               MS. HALLER:    No, your Honor, I did not.

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5379 Filed 07/16/21 Page 77 of77
                                                                             233

        Motion hrg.                                      7/12/2021

   1               THE COURT:    You did not speak with him?

   2               MS. HALLER:    I did review the filing -- I mean the

   3    report, but I have not communicated with him, no.

   4               THE COURT:    All right.    Did anybody on the -- speak

   5    with Mr. Ramsland?

   6               Mr. Kleinhendler, go ahead, sir.

   7               MR. KLEINHENDLER:     Yes, your Honor.     Not only did I

   8    speak with him, about ten days or so before the complaint, I

   9    met with him.

  10               THE COURT:    Okay.

  11               MR. KLEINHENDLER:     I spoke with him often I reviewed

  12    drafts of his report.     I asked him clearly, "Are you

  13    comfortable making these allegations?        Are you comfortable with

  14    the language in the affidavit?       What are your sources?     Who

  15    else has assisted you?"

  16               Because he writes an affidavit that he lists ASOG

  17    (ph.)   He spoke -- he briefly described some of the folks that

  18    were working with him, and he submitted, your Honor, two

  19    reports, an initial report and then a rebuttal -- the initial

  20    was an affidavit sworn, his sworn testimony, and the rebuttal

  21    was more of a 26(b) rebuttal report.

  22               I worked with him on a rebuttal report after

  23    analyzing and reviewing what the Defendants and the Intervenor

  24    Defendants had placed before the Court, and I was involved with

  25    that.   And, yes, I spoke with him, and I was comfortable, your

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5380 Filed 07/16/21 Page 78 of78
                                                                             233

        Motion hrg.                                      7/12/2021

   1    Honor, that what we were putting before the Court was true and

   2    correct.

   3               THE COURT:    All right.    Thank you.

   4               MR. BUCHANAN:     Your Honor, this is Mr. Buchanan.         I

   5    just wanted to clarify something.       My client, Ms. Newman, did

   6    communicate with Mr. Ramsland on a limited basis.

   7               THE COURT:    For what purpose?

   8               MR. BUCHANAN:     I think, you know, she was talking to

   9    him about his affidavit in general, but, again, she was more of

  10    a -- someone that was doing editing and, you know, trying to

  11    gather the affidavits, including this particular one, but it

  12    wasn't a substantive conversation where she was doing due

  13    diligence on all the background.       She asked some questions, but

  14    it was limited conversation.

  15               THE COURT:    All right.    Thank you.    All right.    I

  16    have concluded --

  17               MR. CAMPBELL:     Your Honor, Ms. Powell has her hand

  18    raised.

  19               THE COURT:    Oh, thank you.     Ms. Powell.

  20               MS. POWELL:    Yes, I just wanted to make clear that I

  21    have spoken with Mr. Ramsland a number of times.

  22               THE COURT:    Okay.

  23               MS. POWELL:    I cannot say whether it was before the

  24    filing or after, and I can't remember when I reviewed his

  25    affidavit, whether it was before or after.

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5381 Filed 07/16/21 Page 79 of79
                                                                             233

        Motion hrg.                                      7/12/2021

   1               THE COURT:    Okay.   All right.    Let me -- as relates

   2    to this section of presuit investigation and these particular

   3    experts, does counsel for the Defendants or the Defendant

   4    Intervenors or Plaintiffs' counsel wish to say anything related

   5    to the questions or the answers that I've received with that

   6    section?

   7               MR. DAVID FINK:     I would.

   8               THE COURT:    All right.    Raise your hand if you'd like

   9    to be heard.

  10               Okay.   We're going to only hear from Mr. Fink.

  11               Go ahead.

  12               MR. DAVID FINK:     Thank you, your Honor.      I will not

  13    go into the detail, nor do I think I need to, of what our

  14    concerns were with all of these affidavits.         That's laid out

  15    pretty clearly in our briefing.       What I do want to first do is

  16    respond to something quite disturbing that Mr. Kleinhendler

  17    said.

  18               He said that he couldn't have known while the case

  19    was pending, didn't learn until later, during the sanctions

  20    process, about the issues related to the Merritt affidavit.

  21               And, by the way, we're calling it the Merritt

  22    affidavit, but of course this is the one that's identified as

  23    Spider, in what was attempted to be an anonymous presentation

  24    in redacted documents, which were so poorly redacted that we

  25    found out the name.

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5382 Filed 07/16/21 Page 80 of80
                                                                             233

        Motion hrg.                                      7/12/2021

   1                But here's what's important for the Court to know.

   2    We attach as Exhibit 17 to our brief in support of sanctions a

   3    Washington Post article that details all of the issues

   4    regarding Mr. Merritt.     Now, the reason that's so important is

   5    not the accuracy of that article, but, rather, that article put

   6    the world on notice on December 11th of 2020 -- Washington Post

   7    let the world know that this man was not a military

   8    intelligence expert.     He washed out of training.      That he,

   9    himself, disavowed participation in the case.

  10                All of that was in that article, and if that did not

  11    put counsel on some kind of inquiry notice so they should have

  12    exercised some due diligence at that point and advised the

  13    Court that they had, apparently unintentionally they're saying,

  14    made a major misrepresentation to the Court, I don't know what

  15    could have put them on notice.       They were on notice.

  16                Now, the experts that we're talking about now, the

  17    Court correctly asks the question, "Did you talk to those

  18    experts?"   I would simply add one more thing, which is very

  19    relevant, which is talking to those experts or not, just

  20    reading those reports, if they were properly vetted, would have

  21    immediately told any diligent attorney that the reports were

  22    desperately flawed, and I'll be very specific.         For example, we

  23    heard about the concerns about -- that Mr. Ramsland raised

  24    about Antrim County and the Dominion machines.         What's

  25    important --

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5383 Filed 07/16/21 Page 81 of81
                                                                             233

        Motion hrg.                                      7/12/2021

   1               THE COURT:    Okay.    Mr. Fink, wait a minute.     Hang on.

   2    I want to stop you because I am going to cover some of that,

   3    and we can -- and, you know, why don't we stop there because I

   4    have some additional questions.       Of course, I'm going to let

   5    everyone be heard, okay?

   6               MR. KLEINHENDLER:      Your Honor, can I respond to

   7    Mr. Fink just on Mr. Merritt?

   8               THE COURT:    Yes.

   9               MR. KLEINHENDLER:      Okay.   Your Honor, I learned of

  10    the issues when I saw the Washington Post article.

  11               THE COURT:    Okay.

  12               MR. KLEINHENDLER:      I can tell you that many of the

  13    allegations in the Washington Post article are false, and I

  14    want to make this very clear to the Court and all counsel.           I

  15    spoke with Mr. Merritt Sunday.       He is prepared to appear before

  16    your Honor and discuss his qualifications and discuss, in

  17    detail, his findings.     That may require a closed session for

  18    part of it.    We'll let you decide.      But I want to make it clear

  19    to everyone that he is prepared to come here and testify and

  20    put his qualifications and his opinions to the test.          We have

  21    asked in our pleadings for an evidentiary hearing.

  22               Mr. Fink wants to wave around a Washington Post

  23    article.   He can do that.      Mr. Merritt is ready to come to

  24    court and put to bed any issues regarding his qualifications

  25    and regarding his testimony.

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5384 Filed 07/16/21 Page 82 of82
                                                                             233

        Motion hrg.                                      7/12/2021

   1               MR. DAVID FINK:     Your Honor, the only point I'm

   2    making is, not whether this man is or isn't qualified, that

   3    Mr. Kleinhendler has told us he learned that they made a

   4    misrepresentation, whether intentional or otherwise, regarding

   5    his qualifications, and he never advised the Court.          Yes, there

   6    might be things in that article that aren't true.          I don't

   7    know, but I know he was put on inquiry notice.         He apparently

   8    did some investigation and did not notify the parties or the

   9    Court.   That's --

  10               THE COURT:    Your response to that, Mr. Kleinhendler?

  11               MR. KLEINHENDLER:     My response to that, your Honor,

  12    is when I learned of it, number one, it took awhile to contact

  13    Mr. Merritt; number two, there was no further proceedings

  14    before the Court.     Your Honor had already ruled on December 8th

  15    that it had no subject matter jurisdiction, no standing, a

  16    whole laundry list.     There was never -- there was never a

  17    further opportunity, or, in my view, a reason to make a

  18    correction in a case that had already been decided, and,

  19    again --

  20               THE COURT:    And it was on appeal?

  21               MR. KLEINHENDLER:     Your Honor?

  22               THE COURT:    And that was on appeal?

  23               MR. KLEINHENDLER:     It was on appeal, but I want to

  24    make the point.    What he said is technically not wrong.        He did

  25    spend, from my understanding, seven months training with the

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5385 Filed 07/16/21 Page 83 of83
                                                                             233

        Motion hrg.                                      7/12/2021

   1    305th.   Now, it may not be the full story, but I disagree with

   2    the characterization that it's inaccurate, it's not true.

   3               THE COURT:    All right.     Okay.   All right.   Thank you.

   4               I have some follow-up questions about the affidavit

   5    of Mr. Merritt, and the first one is:        Why was his affidavit

   6    filed using a pseudonym?

   7               Are you the person that can answer that question,

   8    Mr. Kleinhendler?

   9               MR. KLEINHENDLER:     Yes.    Your Honor, as we pointed

  10    out -- okay, your Honor, as we pointed out, and I have it

  11    here -- hold on.

  12               This motion is a motion to seal.        This is ECF 50 --

  13    okay, your Honor -- and this is his affidavit that he gave us

  14    explaining it.    "He had worked in the areas that have made him

  15    a known target, has had death threats and a price put on his

  16    head by terrorist organizations.        For the safety of myself and

  17    my family, I've requested to remain redacted.         I found

  18    listening devices in my home and have had attempts on myself,"

  19    meaning he had been tried to be killed.

  20               Next paragraph, "Because of work I have done as a

  21    confidential human source, confidential informant, as well as

  22    work investigating spies across the globe, my identity is

  23    redacted, not work which I have just done here in America, but

  24    work with foreign nations."

  25               Final paragraph, "I request that these extreme cases

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5386 Filed 07/16/21 Page 84 of84
                                                                             233

        Motion hrg.                                      7/12/2021

   1    be taken into consideration for my personal safety, my family's

   2    safety, the safety of sources I have worked with.          I

   3    respectfully request my persona remain redacted."

   4                Those are the reasons I submitted the redaction.

   5                THE COURT:    Thank you.   Next question:    Whose

   6    decision was it to identify this individual as a former U.S.

   7    military intelligence expert?

   8                MR. KLEINHENDLER:     Your Honor, he drafted his

   9    affidavit.    No one corrected that sentence.       That came directly

  10    from him.

  11                THE COURT:    Okay.   All right.   Anyone else have an

  12    answer to that?

  13                All right.    Let the record reflect that no one has

  14    said that they do.

  15                At any point, next question, during the course of

  16    this litigation did anyone ask any of the attorneys or suggest

  17    that Merritt was not a military intelligence expert?

  18                MS. HALLER:    No.

  19                THE COURT:    And that's Ms. Powell is saying no?       I'm

  20    sorry who said, "No"?

  21                MS. HALLER:    Excuse me, your Honor.     Julia Haller,

  22    no.

  23                THE COURT:    All right.   Mr. Kleinhendler, did anyone

  24    ask you?

  25                MR. KLEINHENDLER:     No, your Honor.

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5387 Filed 07/16/21 Page 85 of85
                                                                             233

        Motion hrg.                                      7/12/2021

   1               THE COURT:    Okay.   Ms. Powell, I wanted to direct my

   2    next question to you, and did anyone ask you if, or suggest to

   3    you that, he was not a military intelligence expert?

   4               MS. POWELL:    No, your Honor.

   5               THE COURT:    Thank you.    And my next question for

   6    Plaintiffs' counsel or counsel for Plaintiffs' counsel:          Should

   7    an attorney be sanctioned for his or her failure to correct or

   8    withdraw allegations that the attorney comes to know or came to

   9    know are untrue?     Is this sanctionable behavior?

  10               Mr. Campbell, I'll hear from you.

  11               MR. CAMPBELL:     Again, it's going to depend on the

  12    circumstances.    As the circumstances exist here, the answer

  13    would be no.    One, because of the statements that you've just

  14    heard.   There's an issue as to whether or not he correctly

  15    identified himself.     Nobody knew that to be wrong.

  16               Secondly, with the information, you've heard the

  17    explanation.    It's not an inaccurate statement, although, as

  18    Mr. Kleinhendler had said, he would have expanded upon that.

  19    That's not the difference between being false, as Mr. Fink

  20    accuses, and not.

  21               So on this circumstance, with an affidavit that this

  22    Court, again, did not reach the merits of, there was no Daubert

  23    motion, there was no consideration of any of his information,

  24    because this Court found that it was moot, found that there was

  25    lack of standing and all these other issues, never reached the

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5388 Filed 07/16/21 Page 86 of86
                                                                             233

        Motion hrg.                                      7/12/2021

   1    affidavits.

   2               Certainly, these lawyers, who, within I think it's

   3    four days of this Court's order in ECF number 7, I think, are

   4    in the United States Supreme Court, not just on this case but

   5    on three others, that somehow, some way this clarification or

   6    further explanation that Mr. Kleinhendler clearly says he would

   7    have provided if there was a means and a basis to do so or if

   8    he had noted originally, is that what would qualify for what

   9    the Court's asked?     The answer I think is, resoundingly, no.

  10               THE COURT:    Did Mr. Merritt draft the affidavit on

  11    his own with no assistance from counsel?

  12               MR. KLEINHENDLER:     Yes, your Honor.     I got the

  13    affidavit fully drafted.

  14               MS. HALLER:    Your Honor, we can bring him forward to

  15    testify.   We know that this is a qualification question, which

  16    is appropriate on a Daubert motion.       We do not believe it is

  17    grounds related to a sanctions motion when we have not had an

  18    evidentiary hearing.     We've not had discovery.      We've not had

  19    an opportunity to make this witness available.

  20               So, again, as Mr. Kleinhendler pointed out, we would

  21    like an evidentiary hearing.      We will bring forward our

  22    witnesses.    We will have Daubert motions addressed because

  23    Plaintiffs are capable of making them.        The same attorney made

  24    motions in other courts with Daubert motions.         So we can

  25    address the questions of qualification at that time as your

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5389 Filed 07/16/21 Page 87 of87
                                                                             233

        Motion hrg.                                      7/12/2021

   1    Honor would like.

   2               THE COURT:    Yeah.   All right.    We'll --

   3               MR. CAMPBELL:     So the court is aware the record is

   4    clear.

   5               THE COURT:    I will make those --

   6               MR. CAMPBELL:     If I may, briefly.

   7               The request for an evidentiary hearing is not new,

   8    your Honor.    It's been in the pleadings as well.        I know it's

   9    in ECF 112, and it's in other places.        We have offered that to

  10    the Court, my clients have, repeatedly.        There's been no

  11    acceptance by the Defendants' at all.

  12               THE COURT:    All right.    Let me ask what steps were

  13    taken to investigate the expertise of Matthew Braynard, and I

  14    specifically just need to know: Who reviewed his affidavit

  15    prior to submission and who spoke with him?

  16               MS. HALLER:    Your Honor, I have represented to this

  17    Court, and I repeat what I stated earlier --

  18               THE COURT:    Okay.   You did speak to Braynard.

  19               MS. HALLER:    Indicated we communicated, including me,

  20    personally communicated with Mr. Braynard.         I cannot give you

  21    the times and the dates specifically at this moment, but I can

  22    tell you that there were communications, more than one, with

  23    Mr. Braynard.

  24               THE COURT:    Okay.   Anyone else?    All right.

  25               Now, let me move on.      I want to talk of more about

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5390 Filed 07/16/21 Page 88 of88
                                                                             233

        Motion hrg.                                      7/12/2021

   1    some of the -- the content, more about the content of the

   2    reports that have been submitted.       I want to talk about,

   3    specifically, about the Briggs -- Mr. Briggs' survey, which was

   4    based on -- I'm sorry, looking at his analysis, which was based

   5    on data provided by Matthew Braynard.

   6               My question is:     What kind of survey did Mr. Braynard

   7    conduct?   Who can answer that question?

   8               MS. HALLER:    Dr. Briggs, your Honor, his name is

   9    Dr. William Briggs, Ph.D., Cornell professor, made his report

  10    and all the work underlying it, available to this Court for

  11    free.   He was not charging for what he provided, and he can

  12    also testify.    He will also make --

  13               THE COURT:    I'm just asking.     Hang on.   Hang on.

  14               I just want to know, after having reviewed the

  15    various documents related to Matthew Braynard's

  16    interpretation -- no, I'm sorry it's Dr. Briggs'

  17    interpretation.

  18               MS. HALLER:    Yes, your Honor.

  19               THE COURT:    Sorry.   Of Matthew Braynard's survey.       My

  20    question is -- it's not clear to me what type of survey

  21    Mr. Braynard conducted.      What is it?

  22               MS. HALLER:    Dr. Briggs is a statistician who, to a

  23    reasonable degree of professional certainty, would be

  24    anticipated to testify in accordance with the survey provided

  25    as an exhibit to the complaint.       As this case has not yet

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5391 Filed 07/16/21 Page 89 of89
                                                                             233

        Motion hrg.                                      7/12/2021

   1    gotten to evidentiary proceedings or Daubert motions, we can

   2    address this and make him available.        Dr. William M. Briggs,

   3    Ph.D., can be available --

   4               THE COURT:    I understand what his credentials are.

   5               MS. HALLER:    Well, your Honor, I'm just trying to

   6    make it clear that he would be anticipated to testify in

   7    accordance with the report that was attached to the complaint.

   8               THE COURT:    Okay.   Counsel for the City, question for

   9    you, Mr. Fink:    What would be the basis, in your view, of

  10    sanctioning counsel for the submission of this report?          And

  11    this report I'm referring to would be the report that was

  12    provided by Dr. Briggs.

  13               MR. DAVID FINK:     The basis would be that the

  14    slightest bit of due diligence, by any attorney knowledgeable

  15    in the way the election proceeded, would have revealed that the

  16    report was founded on -- based on, not just bad statistical

  17    analysis, but bad legal analysis.       For example, in the record

  18    there is a reference to the number of voters with indefinitely

  19    confined status.     That's a status that doesn't exist in the

  20    state of Michigan.     That's from another state.

  21               There's a reference to the individuals who apply for

  22    an absentee ballot and the State mails it out to them.          State

  23    of Michigan has never mailed out absentee ballots and didn't

  24    mail out absentee ballots in this case.

  25               There's reference to early voters.        We've never had

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5392 Filed 07/16/21 Page 90 of90
                                                                             233

        Motion hrg.                                      7/12/2021

   1    what's called early voting in Michigan.

   2               Apparently, apparently he believed that every time a

   3    voter's residence changed that automatically that voter is

   4    disenfranchised.     So people who happen to travel to Florida for

   5    the winter but continue to vote absentee, he deemed them to be

   6    fraudulent voters.

   7               Furthermore, the actual analysis really just took the

   8    simplest review to see that the numbers just didn't line up,

   9    and this -- I'm not a statistician, but I play one in Court,

  10    and -- but, seriously, I'm not a statistician, but I do know

  11    how to look at two numbers and see if they match, and, in this

  12    report, there are statistics that are just directly

  13    inconsistent and stated over and over in the same report.

  14               So now they also claim, for example, that -- and this

  15    is fascinating because this comes up in multiple cases because

  16    people rely on others.     A ballot is applied for -- an

  17    application is applied for and on the same day a ballot is

  18    cast, and they use that as evidence of fraud because they say

  19    that's impossible because you couldn't mail it and get it back

  20    that soon.    Well, the fact is that's exactly how I vote and a

  21    lot of other people do.      You go into the clerk's office.       You

  22    fill out the application.      The clerk gives you the ballot.       You

  23    fill out your ballot.     You hand it in.     It all happens in one

  24    day.   This is part of the fraud they claim.        They claim --

  25               MS. HALLER:    Your Honor, may I respond?

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5393 Filed 07/16/21 Page 91 of91
                                                                             233

        Motion hrg.                                      7/12/2021

   1               THE COURT:    No, no, not yet, Ms. Haller.

   2               Go ahead, Mr. Fink.

   3               MR. DAVID FINK:     There's also a discussion about

   4    ballots based on a survey.      They did a survey, an unscien -- I

   5    think it's an unscientific survey.       Maybe it was scientific,

   6    but there's no law that says you can do a survey and find out

   7    the percentage of people who don't remember that they applied

   8    for an absentee ballot or who applied for an absentee ballot

   9    and don't remember if they received it.        Based on silly things

  10    like that, they came to their conclusions.

  11               THE COURT:    I understand, yes.

  12               MR. DAVID FINK:     So the short answer to your

  13    question -- I'm sorry.

  14               THE COURT:    No problem.

  15               MR. DAVID FINK:     The short answer -- I'm sorry, the

  16    shorter answer to the Court's question -- I guess there's no

  17    short answer.    I apologize.

  18               The shorter answer to the Court's question is we

  19    believe anybody who closely reviewed this study and looked at

  20    the way it was prepared, and I don't mean going behind what was

  21    written, the document as submitted to the Court itself on its

  22    face is a clearly and desperately flawed document, and they

  23    should have known that.      They had that duty.     Lawyers don't get

  24    to just throw things out and see what the Court will do with

  25    them.   We have a duty.

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5394 Filed 07/16/21 Page 92 of92
                                                                             233

        Motion hrg.                                      7/12/2021

   1                THE COURT:    All right.    Let me --

   2                MS. HALLER:    Your Honor, may I respond?

   3                THE COURT:    Ms. Haller, briefly.

   4                MS. HALLER:    Yes, your Honor.    We can make Dr. Briggs

   5    available and to testify, and Mr. Fink can then cross-examine

   6    him as in accordance with the Rules of Evidence and Rules of

   7    Civil Procedure.     At this time, there is no Daubert motion

   8    pending.

   9                Mr. Fink is arguing as if he is both expert and

  10    attorney.   He is not a statistician, but he is opining on the

  11    lack of statisticianal basis for a report where he's never

  12    questioned the witness.      Is that admissible in this court, in

  13    this federal court?      Are we no longer applying the Rules of

  14    Civil Procedure?

  15                We have witnesses, and we have them examined, and

  16    whether or not their testimony stands up under a motion is a

  17    question that has yet to be addressed by this Court, and to

  18    have it now as a basis -- suggested as a basis for sanctions,

  19    when we have not had the opportunity to bring Dr. Briggs to

  20    this court, when we have not had the opportunity to have an

  21    expert opine or the question of whether he's an expert to be

  22    qualified --

  23                THE COURT:    Ms. Haller.

  24                MS. HALLER:    Yes.

  25                THE COURT:    Ms. Haller, let me point out to you that

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5395 Filed 07/16/21 Page 93 of93
                                                                             233

        Motion hrg.                                      7/12/2021

   1    I see a distinction between what you're saying and what

   2    Mr. Fink is saying, and the distinction is, is that Mr. Fink is

   3    pointing out areas which he thinks would have been obvious to

   4    Plaintiffs' counsel before the material by Dr. Briggs was

   5    submitted, and I have a series of questions that follow that

   6    along those same lines.      I am not -- no one is, at this point,

   7    purporting to be an expert who can understand the underlying

   8    statistical analysis.     That's not being questioned.

   9               The question is, is that on the face of these

  10    submissions is there anything there that would give counsel

  11    pause to say, hold on, need to know a little bit more?          I see

  12    that as being a distinction, and that is the Court's response.

  13               I want to move on, and you'll see from my next line

  14    of questioning how that's borne out.

  15               So I want to talk about Mr. Ramsland's affidavit, and

  16    I want to ask specifically can anyone question the improbable

  17    turnout numbers as shown in his declaration, which was attached

  18    to the original compliant, numbers such as 781 percent of the

  19    voting population in North Muskegon casted votes, 460 percent

  20    of individuals in Zeeland Charter Township showed up.          Did

  21    anyone feel that that type of a representation should be

  22    questioned?

  23               MR. KLEINHENDLER:     Your Honor.

  24               THE COURT:    More importantly, did anybody question

  25    it?

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5396 Filed 07/16/21 Page 94 of94
                                                                             233

        Motion hrg.                                      7/12/2021

   1               MR. KLEINHENDLER:     I did.

   2               THE COURT:    Okay.   Mr. Kleinhendler.

   3               MR. KLEINHENDLER:     And "Russ, Russ, are you sure

   4    about these numbers?"     And he said, "Yes, yes, I did question

   5    them.   Yes, I did review, and yes, it was an error" that he

   6    corrected on his reply affidavit.

   7               MR. CAMPBELL:     ECF 49, I believe.

   8               THE COURT:    He also goes on to talk about vote

   9    switching discovered through hand counts when there have been

  10    no hand recounts in Michigan as of the date that he made the

  11    statement, something of which Plaintiffs, who include

  12    Republican Party chairs, would have known.         What about that

  13    kind of a statement, talking about the vote switching

  14    discovered through hand counts when there have been no hand

  15    recounts at that point?      Was that also corrected,

  16    Mr. Kleinhendler?

  17               MR. KLEINHENDLER:     I'm trying to find where you're

  18    referring to.

  19               MR. CAMPBELL:     Which paragraph, your Honor?

  20               MR. KLEINHENDLER:     Do you have a -- because, offhand,

  21    I don't --

  22               THE COURT:    We might be able to pull that.

  23               MR. KLEINHENDLER:     I don't -- I don't know what hand

  24    counting looks like.     What paragraph?

  25               MR. DAVID FINK:     Your Honor, that would be -- that

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5397 Filed 07/16/21 Page 95 of95
                                                                             233

        Motion hrg.                                      7/12/2021

   1    would be Paragraph 10 of his affidavit when he claims that the

   2    Antrim County error, which was actually reported by the clerk

   3    the night of the election, that the Antrim County error was

   4    only discoverable through a hand counted manual recount.

   5               THE COURT:    That is the paragraph.

   6               MR. KLEINHENDLER:     I'm looking, your Honor.      I'm

   7    getting into Paragraph 10.

   8               MR. DAVID FINK:     Your Honor, if I may, what's

   9    astounding to me is, after we have briefed this issue at least

  10    twice, probably more than twice but twice to these lawyers,

  11    explicitly addressing the fact that there were no hand recounts

  12    in the state of Michigan at that point, that everybody should

  13    have known, and that one of the Plaintiffs was the chair of the

  14    Republican Party of Antrim County, of all things, who clearly

  15    would have known there wouldn't have been a hand recount as of

  16    November 29th, despite that, Mr. Kleinhendler, even as of

  17    today, isn't even aware of where the claim is being made.

  18               MR. KLEINHENDLER:     I don't see it in Paragraph 10.

  19    Please read me the language --

  20               MR. CAMPBELL:     I'll read that --

  21               THE COURT:    Hang on.

  22               MR. CAMPBELL:     (Indiscernible.)

  23               THE COURT:    Hang on.    Stop, please.    Please stop.

  24               Mr. Campbell, do you have the language in front of

  25    you?

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5398 Filed 07/16/21 Page 96 of96
                                                                             233

        Motion hrg.                                      7/12/2021

   1                MR. CAMPBELL:    I believe I do, your Honor.

   2                THE COURT:    Read it, please.

   3                MR. CAMPBELL:    "One red flag has been seen in Antrim

   4    County, Michigan.     In Michigan, we have seen reports, 6 of

   5    6,000 votes in Antrim County that were switched from Donald

   6    Trump to Joe Biden.      They were only discoverable through a hand

   7    counted manual recount.      While the first reports have suggested

   8    that it was due to a, quote/unquote, glitch -- my air quotes.

   9    After an update, it was recanted and later attributed to a,

  10    quote, clerical error, unquote.        This change is important

  11    because if it were not due to clerical error but due to a,

  12    quote, glitch, end quote, emanating from an update, the system

  13    would be required to be recertified, according to Dominion

  14    officials."

  15                THE COURT:    All right.    Mr. Campbell, my question

  16    goes specifically to the reference of there having been -- this

  17    information having been discovered through a hand recount,

  18    where we know now that the statement was made, there was no

  19    such hand recount.     That is my question.

  20                MS. HALLER:    Your Honor, if I may correct the record

  21    for that.    It was the Michigan Secretary -- the county

  22    secretary who did that hand recount, and that's reported on at

  23    that time.    So there was what they called a hand recount.

  24    Maybe it's not under the law that defines the definition, but

  25    that is heavily reported at that time.

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5399 Filed 07/16/21 Page 97 of97
                                                                             233

        Motion hrg.                                      7/12/2021

   1               MR. DAVID FINK:     No, your Honor.     It was not.   I'm

   2    sorry.

   3               MR. CAMPBELL:     It wasn't.

   4               THE COURT:    Hang on.

   5               MR. DAVID FINK:     I'm sorry.    I'm sorry.

   6               MR. CAMPBELL:     The Court is acting as if you've seen

   7    proof that the statement made by that -- no statement was made

   8    by the county person.     That hasn't been attached to the

   9    pleadings here.

  10               THE COURT:    Well, I mean all right.

  11               MR. KLEINHENDLER:     Your Honor, you asked for my

  12    understanding.    My understanding when I read this was that,

  13    specifically with regard to these 6,000 votes in that specific

  14    county, somebody did a hand recount.        It wasn't a

  15    State-sanctioned full Board of Election recount.          My

  16    understanding was that somebody recounted it by hand.

  17               THE COURT:    All right.

  18               MR. KLEINHENDLER:     And that's how they discovered.

  19               THE COURT:    All right.

  20               MR. KLEINHENDLER:     Again, what you're hearing -- I

  21    want to make this clear here.       You're hearing a lot of factual

  22    representations by Mr. Fink, and I would please ask you to

  23    double check the record before you just take it because --

  24               THE COURT:    I don't -- I don't need to be -- I don't

  25    need that cautionary instruction from you.         Thank you.

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5400 Filed 07/16/21 Page 98 of98
                                                                             233

        Motion hrg.                                      7/12/2021

   1                Mr. Fink, your response, please.

   2                MR. DAVID FINK:    Only to the specific statement by

   3    Ms. Haller and, apparently, Mr. Kleinhendler.

   4                Nobody, nobody said there was a hand recount.        A

   5    clerk said that there had been an error on the publicly

   6    reported but not official results the night of the election.

   7    Within a day it was clarified that there had been a

   8    transposition of numbers, not a recount of any kind.          A hand

   9    recount is a term of art.      It is possible to obtain a hand

  10    recount in this state.

  11                It turns out that the Trump campaign never requested

  12    such a hand recount, but, eventually, there were audits.           As of

  13    this November date, it is absolutely uncontroverted and

  14    uncontrovertible that no hand recount had occurred, and anyone

  15    knowing the facts in this case, anyone understanding how

  16    Michigan elections work, which could have been local counsel,

  17    should have flagged that and seen it in Ramsland's report.

  18                MS. HALLER:   Ramsland's report -- excuse me, your

  19    Honor -- actually said "hand counting."        He does not say "hand

  20    count," which is the legal term.

  21                MR. DAVID FINK:    It says "hand counted manual

  22    recount."

  23                "Hand counted manual recount" is the exact --

  24                MS. HALLER:   Hand counted --

  25                MR. DAVID FINK:    -- what it states --

                 King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5401 Filed 07/16/21 Page 99 of99
                                                                             233

        Motion hrg.                                      7/12/2021

   1               MS. HALLER:    -- is a different term --

   2               THE COURT:    Hang on.

   3               MS. HALLER:    -- from hand count.

   4               MR. DAVID FINK:     And there was no hand counting.

   5               THE COURT:    All right.    Mr. Campbell --

   6               MR. CAMPBELL:     But there's the lead, your Honor.

   7    There was a report about it.      He doesn't say that it happened.

   8    He doesn't swear that he was there to see it.         He says he got

   9    that report, and, again, it's the point to say then they said

  10    there was a glitch.     Well, if there's a glitch, this has to

  11    happen.

  12               So, again, as lawyers, we all know there are

  13    conditions precedent and conditions subsequent.         This is not a

  14    material statement, and if he happens --        if the report happens

  15    to be inaccurate, then Mr. Ramsdale [sic.] can tell you whether

  16    that impacts his opinion if he were here to testify at the

  17    evidentiary hearing that my clients have been asking for, but,

  18    otherwise, again, you are letting Mr. Fink act like he's the

  19    expert to tell us what hand recount means.

  20               MR. KLEINHENDLER:     Your Honor --

  21               THE COURT:    Excuse me.

  22               MR. KLEINHENDLER:     This is very important.

  23               THE COURT:    Excuse me.    I have already asked that if

  24    anyone would like to speak that you raise your hand.          Please

  25    honor that.    Not right now, Mr. Kleinhendler.       Just hold on a

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5402 Filed 07/16/21 Page 100 100
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   minute.

    2               I just want to note for the record that Mr. Ramsland

    3   did in fact submit a subsequent filing on December 3rd, and he

    4   indicated that the original data that he provided, in terms of

    5   turnout, voter turnout, was based on unidentified state-level

    6   data that no longer exists.       However, as indicated above, these

    7   results that I have shared with you, the results in the city of

    8   Detroit deemed to have been 139.29 percent.          I said Zeeland was

    9   an astronomical number.       I believe North Muskegon, 790 percent.

   10   He indicated that that information was obtained from the State

   11   and that it no longer exists.

   12               However, he indicated -- however, this Court will

   13   take note of the fact that there were official results that

   14   were available to him even before his original claims were

   15   filed, and I understand that there could be some, you know,

   16   parsing of words here, but that is the point that I am getting

   17   at, and Mr. Ramsland did submit what one could argue was his

   18   effort and attempt to correct, but he really did not go far

   19   enough because he's simply saying that the data that he relied

   20   upon seems to be saying that it was inaccurate, but it's no

   21   longer available.

   22               All right.    So my question becomes:      Should an

   23   attorney be sanctioned for his failure to correct or withdraw

   24   allegations that he comes to know were not true?

   25               Let me hear from Mr. Campbell.

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5403 Filed 07/16/21 Page 101 101
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1               MR. CAMPBELL:     Well, if you're asking me is that what

    2   the rule says?     Yeah, the rule says if you have knowledge.

    3   Now, knowledge is also defined, Judge.         It's defined as actual

    4   knowledge of the fact in question.        Under the MRPC, the

    5   Michigan Rules of Professional Conduct, that rule is defined.

    6   So whether there's actual knowledge, your question is really

    7   not a question; it's an answer.

    8               Here, there is no evidence that any of the lawyers

    9   had the statistical background or understanding.           I mean this

   10   is why they have reports.       Nobody was confronted with proof,

   11   knowledge that information was in error, inaccurate, or untrue,

   12   for sure.    So -- and, again, it would have to be knowledge that

   13   it was presented falsely and you don't have that here.

   14               THE COURT:    All right.

   15               MR. CAMPBELL:     And, again, I join the chorus.       Let's

   16   have the evidentiary hearing if you have a question as to

   17   whether the people who made the reports did so in good faith or

   18   not.

   19               THE COURT:    And, again, as I've already indicated, I

   20   am simply inquiring as to counsel's review of affidavits that,

   21   on its face, raise questions.        That is what my questioning is

   22   about.

   23               Mr. Fink.

   24               MR. DAVID FINK:     If I may.    I want to speak simply to

   25   the Detroit issue.      Certainly, when we saw the Ramsland report,

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5404 Filed 07/16/21 Page 102 102
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   the very first time we saw it, we had the reaction that all

    2   counsel should have had, which was that it was astounding that

    3   139 percent could have voted in the city of Detroit.           We

    4   immediately checked the records, and the record was clear that

    5   something like 50.88 percent had actually voted in the city of

    6   Detroit.    It was easy to find, it was publicly available, and

    7   they had to be on notice that when they are making such an

    8   extremely powerful, potent, and dangerous allegation they have

    9   a duty of inquiry to at least look into it, and all it took was

   10   30 seconds on the Internet for me to find out the correct

   11   answer.

   12               I also want to point out the danger that came from

   13   this because --

   14               THE COURT:    Mr. Fink, no.

   15               MS. HALLER:    (Indiscernible.)

   16               THE COURT:    Excuse me.

   17               MS. HALLER:    -- as to this Court --

   18               THE COURT:    Excuse me.

   19               MS. HALLER:    -- we have to object.

   20               THE COURT:    Ms. Haller, I will recognize you when you

   21   have raised your hand.      Mr. Fink is allowed to finish, and I

   22   will give you an opportunity to speak thereafter.

   23               Go ahead, Mr. Fink.

   24               MR. DAVID FINK:     Okay.   The suggestion that this was

   25   some kind of harmless error because it was ultimately corrected

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5405 Filed 07/16/21 Page 103 103
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   flies in the face of the reality of what actually happened.

    2   These lies were put out into the world, and when they were put

    3   out in the world, they were adopted and believed by some of the

    4   most potent recipients of this information.

    5               So that, in the infamous January 2nd, 2021 phone

    6   conversation when then President Trump attempted to extort

    7   Secretary of State Brad Raffensperger to try to help him win

    8   his election which he'd already lost, President Trump

    9   explicitly referenced the 139 percent voting statistic in

   10   Detroit as though it were fact.        These are the consequences.

   11   It's the consequence of what they did and how they abused this

   12   system by not having made that correction, and they should

   13   have.    They never should have filed this.

   14               And, no, we don't want -- we're not looking for any

   15   kind of Daubert hearings on any of these so-called experts.

   16   No, we don't think they're experts.         Our issue is the slightest

   17   bit of due diligence would have alerted the lawyers that they

   18   were in the position of making misrepresentations to the Court

   19   and to the world.

   20               THE COURT:    All right.    Ms. Haller.

   21               MS. HALLER:    Yes.   Thank you, your Honor.       Mr. Fink

   22   just cited to an Internet source unnamed as the source to say

   23   that one of our experts, designated or anticipated to be an

   24   expert, in the time that discovery would allow or an

   25   evidentiary hearing would allow as a basis for a lie.            Mr. Fink

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5406 Filed 07/16/21 Page 104 104
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   is citing to unnamed Internet sources, and I submit he is

    2   opining as an expert as well as arguing as an attorney without

    3   foundation.     So he lacks foundation.      He's citing to hearsay,

    4   and all his submissions are to claim that there are lies here.

    5   We submit that that is done without legal foundation and basis.

    6   Hearsay is not a basis.       Thank you, your Honor.

    7               MR. DAVID FINK:     Your Honor, one second.

    8               THE COURT:    Mr. Fink.

    9               MR. DAVID FINK:     Just to be clear, I was not citing

   10   an Internet source.      What I said was 30 seconds on the Internet

   11   got you to the public record, which is not hearsay.            The public

   12   record of the number of voters, the percentage of the

   13   registered voters who voted, the public record is all I'm

   14   referring to.     It was always available.      It was available to

   15   all of these attorneys.

   16               THE COURT:    And I wanted to just point out, it was

   17   available on November 19th of 2020.

   18               Let me go to Mr. Campbell, and then I'm going to move

   19   on.

   20               MR. CAMPBELL:     You know what, Judge, I think the

   21   points have now been made relative to this, but, again, as to

   22   what these numbers mean within the report and how they're to be

   23   interpreted, Mr. Fink can't be the source for that.

   24               THE COURT:    Yes, and that's -- I don't believe that's

   25   his point.    It is just the matter of what an attorney, who had

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5407 Filed 07/16/21 Page 105 105
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   reviewed the information, what they would make of that data.

    2               Go ahead.

    3               MR. CAMPBELL:     But, Judge, you just asked me can a

    4   lawyer say something that's false.        So just because it's not

    5   his point, he shouldn't be able to spread the falsehoods.

    6               THE COURT:    All right.    I'm going to move on.

    7               MR. KLEINHENDLER:     Your Honor, I have a very

    8   important point that I think would help you, your Honor, and

    9   that is Mr. Fink talked about the recount in Antrim County.             I

   10   just want to refer you to Mr. Ramsland's rebuttal.           It's ECF

   11   49, and at pages 8-9 he has a photograph, a photograph of the

   12   hand recount that was done in Antrim County and to which he

   13   referred to in the moving affidavit.         That's my point, your

   14   Honor.

   15               THE COURT:    I'm going to move on to some specific --

   16               MR. CAMPBELL:     Your Honor, if I can, can we have

   17   Mr. Fink explain why there's a photograph of something that

   18   shows a hand recount when he's telling everybody there's been

   19   no hand recount?

   20               MR. DAVID FINK:     Absolutely, but, I'm sorry,

   21   Ms. Meingast is --

   22               THE COURT:    Go ahead, Mr. Fink, did you want to

   23   respond to that?

   24               MR. DAVID FINK:     I've got to pull up the document.        I

   25   don't have it in front of me.

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5408 Filed 07/16/21 Page 106 106
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1               THE COURT:    Okay.

    2               MR. DAVID FINK:      Because there was no hand recount,

    3   as stated, but I think Attorney General Meingast has the

    4   answer.

    5               THE COURT:    Ms. Meingast, please.

    6               MS. MEINGAST:     Just briefly, your Honor.      I'm the

    7   attorney in the Antrim County Bailey case.

    8               THE COURT:    Yes.

    9               MS. MEINGAST:     The questions about this case, I'm

   10   happy to shed some light.        There was certainly not any kind of

   11   hand count recount that occurred before the Secretary of State

   12   and the County actually did one later in December.           So what

   13   the, you know, the clerks -- the county clerk and the local

   14   clerks did during the canvass or during, you know, the election

   15   night and the days that followed was simply look at tabulary

   16   tapes and comparisons and look at those things.           There wasn't a

   17   hand count of ballots or anything like that nature.            You

   18   can't -- it's not even appropriate or allowed under election

   19   law to do something like that at that time.

   20               THE COURT:    All right.

   21               MR. CAMPBELL:     Again, your Honor, the story isn't

   22   what Mr. Fink said, that there's absolutely no hand recount.

   23   There is something going on there, and nobody is -- neither of

   24   the two counsel have said, "Hey, that's a false document."

   25               So it turns out that they were aware of it, having

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5409 Filed 07/16/21 Page 107 107
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   seen ECF 49.     It turns out they have no rebuttal to that

    2   document.    It turns out that the expert, the person who made

    3   the report, had a basis for making the statement, and we have

    4   spent I don't know how long talking about a line from --

    5               THE COURT:    And that may well be the case, that may

    6   well be the case, but it is -- if that's how I choose to

    7   proceed, that's how I will proceed.

    8               Mr. Fink, last word on this, and I'm moving on.

    9               MR. DAVID FINK:     I apologize, your Honor.       I know I

   10   had my hand up.     I'm with somebody who is going to bring me the

   11   document so I can look at it, and I can tell you and I can tell

   12   Mr. Campbell unequivocally there was no hand recount as of the

   13   date of this report.      I'm guessing whatever the photo is is of

   14   something that was done later than that.

   15               THE COURT:    All right.    I would like to move on now,

   16   and I'm going to give you all -- you can make a note, and I

   17   really don't even -- I don't know what the picture is that

   18   you're referring to, but when you can pull that together, and I

   19   will revisit that during the course of this hearing.           We're

   20   going to move on right now.

   21               All right.    Now, the amended complaint states that

   22   Defendants violated the Equal Protection Clause by taking

   23   several specific actions.       To be very clear, Plaintiffs' Equal

   24   Protection claim was based on the notion that the votes of

   25   those who voted for former President Trump were diluted.

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5410 Filed 07/16/21 Page 108 108
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   Plaintiff submitted many affidavits as evidence that specific

    2   things happened, thereby causing vote dilution.

    3               Considering this, and the fact that counsel knows it

    4   could not submit affidavits to the Court with impunity, despite

    5   the fact that the affidavits are executed by others, the Court

    6   is concerned that these affidavits were submitted in bad faith.

    7   For this reason, I have questions about specific affidavits and

    8   the factual allegations they were alleged to support.

    9               I would like to first look at -- Plaintiffs assert,

   10   first of all, that Defendants, "Fraudulently added tens of

   11   thousands of new ballots and/or new voters to the qualified

   12   voter file in two separate batches on November 4th, all or

   13   nearly all of which were votes for Joe Biden."

   14               Now, the amended complaint cites three pieces of

   15   evidentiary support for that conclusion.         One is the affidavit

   16   that's been submitted by Mr. Sitto.         That's ECF number 6-4, PDF

   17   40-42 -- Pages 40-42.      The amended complaint states, "Sitto

   18   observed tens of thousands of new ballots being brought into

   19   the counting room."

   20               Did I understand that correctly, per the affidavit,

   21   that is what the affidavit states?

   22               Here's my question for counsel.        First of all -- and

   23   this is referenced in the amended complaint.          As I read

   24   Mr. Sitto's affidavit, the affidavit does not state that he

   25   actually saw these ballots brought in.         Counsel seems to be

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5411 Filed 07/16/21 Page 109 109
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   making an assumption that he had them brought in.

    2               Who had anything to do with this affidavit?          Let's

    3   start there.     Who prepared that affidavit at ECF number 6-4,

    4   PDF?   Anybody?

    5               No one knows about that, huh?

    6               MS. HALLER:    Your Honor, can we have a moment to find

    7   the document?     Because it's kind of hard to do when you have

    8   this on the computer, as I do.

    9               THE COURT:    Yes.   He said he observed tens of

   10   thousands -- this is what the compliant says.          "He observed

   11   tens of thousands of new ballots" -- here it is here on the

   12   screen, the shared screen, and this is actually -- let's see.

   13               So the question becomes -- that is a statement that's

   14   made in the complaint, that Sitto observed tens of thousands of

   15   new ballots being brought into the counting room, but, in fact,

   16   the affidavit does not state that he actually saw it.            All

   17   right.

   18               All right.    He says he "heard other challengers say

   19   that vehicles with out-of-state plates pulled up and unloaded

   20   boxes of ballots, and, approximately 4:30, tens of thousands of

   21   ballots were brought in and placed on eight long tables.

   22   Unlike the other ballots, these boxes were brought in from the

   23   rear of the room."

   24               MS. HALLER:    Your Honor, what ECF document is this?

   25   Because it doesn't show at the top of the screen showing.

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5412 Filed 07/16/21 Page 110 110
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1               THE COURT:    104.

    2               MR. CAMPBELL:     If I may, your Honor, up above --

    3   you've highlighted Paragraph 10.        Paragraph 5 describes a time

    4   frame in which he is standing in the room that he's describing

    5   the conduct in Paragraph 10.       I think that puts him personally.

    6               THE COURT:    Okay.    So let me -- let me move on then,

    7   and that was Mr. Campbell.        Please say your name before you

    8   speak.    I think it will be helpful.

    9               All right.    So even if the Court assumes -- even

   10   assuming Mr. Sitto saw the ballots brought in, what is the

   11   basis for concluding that there were tens of thousands, and

   12   what steps, if any, did counsel take to investigate his basis?

   13   And again --

   14               MR. CAMPBELL:     This is Don Campbell.

   15               THE COURT:    I'm not --

   16               MR. CAMPBELL:     This is Don Campbell.

   17               THE COURT:    Yes.

   18               MR. CAMPBELL:     The basis for the tens of thousands is

   19   I think that's what he says in the affidavit there.            I will

   20   note this, that the only contrary statement that was provided

   21   by the Defendants in any of its briefing up to this hearing was

   22   to say that it might look like to uneducated, untrained folks.

   23               THE COURT:    Sorry.    Hold on just one moment, please.

   24   I'm sorry, hang on one moment, please.

   25               Apologies, go ahead.

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5413 Filed 07/16/21 Page 111 111
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1               MR. CAMPBELL:     Thank you.    I haven't read all of

    2   Mr. Sitto's affidavit here obviously at this moment, but I

    3   can't recall whether he had training or not, and I don't know

    4   whether he expressed his level of education, but, you know, the

    5   City seems to concede that, yeah, it could look like this

    6   stuff, it's just you don't know what's really going on.

    7               Now, of course the Court has not had the opportunity

    8   to hear what these people actually saw or to put those people

    9   under examination in an evidentiary hearing, if that's what it

   10   required, and nor has it had an opportunity to really test the

   11   City's position, even though it looks like that, it didn't

   12   actually happen --

   13               THE COURT:    Mr. Campbell, let me be clear, that

   14   this -- I said at the outset of these particular affidavits

   15   that I'm going to be questioning counsel about is that I wanted

   16   to determine whether or not -- whether counsel had done its

   17   proper level of investigation before submitting an affidavit.

   18   It's quite similar to what the other areas that we discussed

   19   previously, in terms of was there anything in the content that

   20   would trigger your duty as counsel to determine whether or not

   21   these statements were based in facts.

   22               And for someone to say tens of thousands, and if

   23   you're telling me that it is just an eyeball view of it and

   24   they pulled that out, I ask you:        Is it acceptable to place

   25   into an affidavit?      Do you think it is, Mr. Campbell?

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5414 Filed 07/16/21 Page 112 112
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1               MR. CAMPBELL:     I've got to tell you, Judge, if a jury

    2   believed it, it would be enough to convict somebody of a crime

    3   of election fraud in a moment, yes, absolutely.

    4               THE COURT:    Okay.

    5               MR. CAMPBELL:     If you saw that.     I mean what other

    6   proof would you have, Judge, other than your own eyes?            It's

    7   outrageous --

    8               THE COURT:    And --

    9               MR. CAMPBELL:     I've got to get three witnesses --

   10               THE COURT:    Excuse me.    Excuse me.    I'm asking you --

   11   my question really is:       How would anyone know that that's tens

   12   of thousands?

   13               MR. CAMPBELL:     We can ask Mr. Sitto under

   14   examination, but I don't think that's something he needs to put

   15   into an affidavit.

   16               THE COURT:    Question:    Did you -- that is really my

   17   question.    Was that question asked?       And I don't think I got an

   18   answer from any of the attorneys on this here today at the

   19   hearing as to whether or not -- you know, who, who actually put

   20   together this affidavit?       Did anyone on the call have anything

   21   to do with it?     Anyone?

   22               MR. KLEINHENDLER:      Your Honor, this is

   23   Howard Kleinhendler.      I believe this affidavit and others were

   24   filed in a companion case.        The companion case had nothing to

   25   do with us, and on behalf of -- I believe it might have been

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5415 Filed 07/16/21 Page 113 113
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   the Trump campaign in connection with a challenge, a different

    2   challenge that was made.       These were affidavits that were

    3   submitted by counsel in that case.

    4               THE COURT:    So there was no effort on -- even though

    5   these affidavits -- this particular affidavit was submitted,

    6   and if I'm not mistaken, attached to the complaint, you didn't

    7   feel that you needed to review it before it was filed?

    8               MR. KLEINHENDLER:     We reviewed it.     Of course we

    9   reviewed it, and, frankly, it was not that inconsistent with

   10   what our experts were saying.        If you look at our expert

   11   reports, and -- your Honor, I don't know -- forgive me -- what

   12   standard are you using here for filing a complaint?            We had a

   13   good faith basis, no reason not to believe --

   14               THE COURT:    I'm looking at the standards that are set

   15   forth in the variety of options I have to impose sanctions.

   16   That's what I'm looking at and --

   17               MR. KLEINHENDLER:     Well, I'm looking at the

   18   standard --

   19               THE COURT:    Okay.   Thank you.

   20               Mr. Fink, what is it you would like to say?

   21               MR. DAVID FINK:     First, to be clear, it's astounding

   22   that even today Mr. Kleinhendler isn't able to tell us what the

   23   source of this is, just saying he thought it was a Trump

   24   lawsuit.    This is from the Constantino and McCall case that was

   25   filed in the Wayne County Circuit Court.         The case was heard by

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5416 Filed 07/16/21 Page 114 114
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   Judge Kenney, and at the time that it was before Judge Kenney,

    2   Chris Thomas, the former elections director, the elections

    3   director of the State of Michigan for something like 38 years,

    4   under Democratic and Republican administrations, and was

    5   involved in this litigation, Chris Thomas filed a detailed

    6   affidavit addressing these very issues, explaining why

    7   Mr. Sitto misunderstood what he may have observed, very

    8   clearly.

    9               Judge Kenney reviewed that and made conclusions, none

   10   of which are ever referred to by the Plaintiffs, but,

   11   certainly, again, I'm not saying this Court needs to or should

   12   make a finding of truth or falsity of these affidavits, but the

   13   Court is appropriately asking about the duty of inquiry during

   14   this three-week period.       This was filed first in Wayne County

   15   the week of the election.       That's when these affidavits were

   16   available to them.      There clearly was an issue of fact as to

   17   whether this was true, as it was responded to so clearly by

   18   Chris Thomas and by Judge Kenney.

   19               They had a duty at that point to investigate.

   20   Lawyers -- unfortunately this kind of case is going to make

   21   people around the world believe that lawyers can say or do

   22   whatever they want and it doesn't have to be true; they don't

   23   have to inquire.     It isn't that way.      You can't put something

   24   in a pleading that you know to be false, and I do want to say

   25   one thing.

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5417 Filed 07/16/21 Page 115 115
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1               Earlier today the question came up about pro hoc

    2   vice, and I just want to say every lawyer in Detroit, including

    3   the three local counsel who signed on here, should know that in

    4   the Eastern District of Michigan it's been 40 years since we

    5   had pro hoc vice admission, but what we do have, what we do

    6   have is an admission process in which everybody who gets

    7   admitted fills out a form or takes an oath that they must swear

    8   or affirm that they will honor the civility principles of this

    9   court, and as Mr. Campbell well knows, one of those civility

   10   principles is we are not to make factual misrepresentations to

   11   the Court.    We are not to misrepresent the law or the facts to

   12   the Court, and they seem to have chosen not to be sworn into

   13   our district.

   14               So they didn't know -- and, by the way, if somebody

   15   on this call, if one of these lawyers says they didn't know

   16   because they're going -- everybody blames everybody else here,

   17   apparently.     They're going to say, "Local counsel didn't tell

   18   us."   Again, Google it.      Google "admission to Eastern District

   19   of Michigan," and it pops up right away.         There is no pro hoc

   20   vice, and there hasn't been since 1981.

   21               They should tell the truth.       They have a duty to tell

   22   the truth, and they have a duty to not submit an affidavit to

   23   this Court, whether it's attached to a complaint or not, not to

   24   submit an affidavit to this Court that they have reasonable

   25   cause to believe has false statements in it and to rely on it

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5418 Filed 07/16/21 Page 116 116
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   in the allegations they then make in the complaint.

    2               Thank you.    I'm sorry if I went too long.

    3               THE COURT:    All right.    Let me stop --

    4               MS. HALLER:    Your Honor --

    5               THE COURT:    Hang on.    I'm going to -- let me tell you

    6   what my plan is.     I will hear from counsel, from Ms. Haller,

    7   from Mr. Campbell, and Mr. Davis appears he wants to say

    8   something.    After I have done that, we're going to take a

    9   ten-minute break.      All right.    It is now 11:00.     We've been on

   10   for the last two-and-a-half hours.        I have more areas of

   11   questioning.

   12               Ms. Haller, I'll hear from you.

   13               MS. HALLER:    Thank you, your Honor.

   14               I would just briefly say that this was the complaint

   15   and we had good faith to attach exhibits, and we spoke to our

   16   anticipated experts and we reviewed the materials, and I simply

   17   am confused as to the standard that's being applied when it

   18   comes to filing a complaint because this was not a verified

   19   complaint so I'm a little confused at the standard.

   20               We did not submit falsehoods, and we have not had an

   21   opportunity to have our witnesses examined, which I'm sure your

   22   Honor understands that we will make the witnesses available.

   23   They can be cross-examined by Mr. Fink, who doesn't need to

   24   opine on what constitutes the public record without citations.

   25               THE COURT:    All right.

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5419 Filed 07/16/21 Page 117 117
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1               MS. HALLER:    So citations are helpful, the standard

    2   would be helpful, and thank you for your time, your Honor.

    3               THE COURT:    All right.    Mr. Campbell.

    4               MR. CAMPBELL:     Yeah, I just want to make sure the

    5   record Mr. Fink has highlighted is understood and appreciated

    6   by this Court.     Other members of the State Bar of Michigan,

    7   other lawyers saw this and admitted it in a different

    8   proceeding, and I've got to tell you, Judge, you've got to be

    9   able to trust when something has been submitted by counsel

   10   because of the oath that we take, because of the reliability on

   11   everybody else within this profession that, yes, that should

   12   have tremendous value.      In fact, I would say it's -- it ends

   13   the discussion on whether there's good faith to submit it.

   14               The counter-argument, which they want to promote,

   15   they can do so at their time.        Judge Kenney did not rule that

   16   that affidavit was in error.       He did not rule to any of the

   17   merits in the Constantino case.

   18               THE COURT:    All right.    Thank you.

   19               MR. CAMPBELL:     So with regard to that, that is

   20   further basis for the good faith to apply.

   21               THE COURT:    Let me answer Ms. Merritt -- thank you

   22   Mr. Campbell -- Ms. Merritt -- Ms. Haller's question as to

   23   determining what the standard is that I'm applying here, and

   24   I've said it before, but the standard is that Plaintiffs'

   25   counsel submitted affidavits that the Court may believe should

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5420 Filed 07/16/21 Page 118 118
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   have been obviously questionable, if not false, on their face.

    2   That is what I am getting to.        There is a responsibility.

    3   There's a duty that counsel has to ensure that when you're

    4   submitting a sworn statement in support of your case, actually

    5   as -- presenting it as evidentiary support of your claims, that

    6   you have reviewed it, that you have done some minimal due

    7   diligence and that is what I am getting at.          All right.    All

    8   right.

    9               MS. HALLER:    Thank you, your Honor.

   10               THE COURT:    We're going to take a ten-minute break.

   11               MR. CAMPBELL:     May I ask for a slightly longer break?

   12               MR. WOOD:    Your Honor --

   13               THE COURT:    Hang on a second, Mr. Wood.

   14               MR. WOOD:    I just wanted to ask when we come back

   15   from the break if I could have a couple of minutes to respond

   16   to something that Mr. Fink had earlier said?

   17               THE COURT:    Yes, you can do that briefly -- all

   18   right -- when we come back from the break.

   19               Mr. Campbell.

   20               MR. CAMPBELL:     Your Honor, I would ask for a

   21   20-minute break and we reconvene at 11:30, if that's not a

   22   problem.

   23               THE COURT:    That's fine.

   24               MR. CAMPBELL:     Thank you.

   25               THE COURT:    All right.    So hang on.

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5421 Filed 07/16/21 Page 119 119
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1               Mr. Flanigan, are we -- just how are we handling this

    2   from a technology standpoint, and Mr. Owen, does everyone sign

    3   off?

    4               THE CLERK:    I think Mr. Owen can stop the stream and

    5   everybody can stay signed into the room, and they can simply

    6   mute and turn their camera off.

    7               THE COURT:    All right.    So those who are on this

    8   screen need to mute your mics and turn the camera off.

    9               THE CLERK:    Court is in recess until 11:30.

   10                     (Recess taken 11:14 a.m.)

   11                     (Back on the record at 11:45 a.m.)

   12               THE COURT:    All right.    Thank you everyone.      As

   13   promised, we will begin with Mr. Wood.         What would you like to

   14   say on this record, sir?

   15               MR. WOOD:    Thank you, Judge.     If you just give me

   16   just a short few minutes, I think I will be listening for the

   17   rest of the day because I don't have anything to really add to

   18   the questions your Honor is asking.

   19               What I wanted to make it clear is, as I said at the

   20   beginning, that I'm appearing subject to my Defense that I'm

   21   not subject to the jurisdiction of the Court personally or by

   22   having appeared in the case.       My name appears on the complaint

   23   and the amended complaint.       It does not contain my e-mail

   24   address, does not contain any reference to me filing for any

   25   type of admission, including under Local Rule 83.20.           I did not

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5422 Filed 07/16/21 Page 120 120
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   sign this pleading.      You'll see I do not have a slash-S

    2   signature line.     I did not have anything to do with submitting

    3   the pleading.     I haven't advocated for the pleadings.

    4               So when you talk about, well, the content of the

    5   complaints or the content of these affidavits, I had nothing to

    6   do with it, and I feel like before I am in any way subject to

    7   sanctions that I ought to have the benefit of an evidentiary

    8   hearing that will establish, and we could probably do it today,

    9   any lawyer whose name appears on the pleadings for the

   10   Plaintiffs I believe will affirm to you that, regardless of

   11   whether there was some misunderstanding about why my name got

   12   put on there, each lawyer will affirm to you that I did not

   13   have any input into any one of these pleadings or affidavits

   14   and I was not asked to have any input into them.

   15               So I feel like I've been kind of lumped as counsel

   16   for the Plaintiffs when I did not ever agree to appear,

   17   particularly as it would apply to Rule 11.          I've practiced law

   18   for 44 years, and I think I've covered 27 different states

   19   outside of Georgia.      I have never appeared in a case without

   20   having sought the local rules permission to do so, knowing that

   21   I might, in federal court, be subjected to Rule 11.

   22               So I did not subject myself to Rule 11 sanctions.

   23   Section 1927 certainly does not apply to me in terms of

   24   multiplying any type of proceedings, and I feel like I'm

   25   entitled to due process or an evidentiary hearing that would

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5423 Filed 07/16/21 Page 121 121
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   show that I was not asked, nor was it ever intended, that I be

    2   represented as a signer or as a counsel of record to be held to

    3   the standards of Rule 11.       I did not receive any e-mail notice

    4   from counsel about the Safe Harbor.         I've had my office check,

    5   and we've received nothing by mail.

    6               So I wanted to make that position clear so that the

    7   record is protected in terms of my request for the evidentiary

    8   hearing, and perfected as to the record where I am taking the

    9   position my appearance today is subject to my defense of lack

   10   of jurisdiction either under Rule 11 or Section 1927.

   11               THE COURT:    All right.

   12               MR. WOOD:    So, going forward, if your Honor has

   13   questions about who had involvement, I just want to go ahead

   14   and in one lump sum let you know I had no involvement in any of

   15   this in terms of the substantive input or with you.

   16               Thank you very much, Judge.

   17               THE COURT:    Okay, right, and let me just say -- and,

   18   Mr. Fink, I'm not going to allow to you respond to that simply

   19   because I am going to table that issue until the end of this

   20   hearing where that is going to be the time in which I address

   21   the issue of supplemental briefing, and I'm going to tell you,

   22   Mr. Wood, right now, I'm going to allow you to submit a brief

   23   on this issue and then allow Mr. Fink, or whomever else would

   24   like to respond because I know that this issue factually is in

   25   dispute.

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5424 Filed 07/16/21 Page 122 122
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1               All right.    Now, having said that --

    2               MR. WOOD:    Thank you, your Honor.

    3               THE COURT:    You're welcome, sir.

    4               All right.    Let's move on now, counsel, to the issue

    5   of the Carone affidavit, which is ECF number 6-5.           Ms. Carone

    6   indicates that there were -- just a moment, please, and --

    7   uh-oh.    We have a little technical glitch on our end, and we

    8   will get that fixed.

    9               Mr. Flanigan, are you aware of it?        Okay.    He may

   10   have gotten kicked off --

   11               THE CLERK:    Your Honor, I am having trouble with my

   12   audio that I'm trying to work out with Jason currently.            I can

   13   hear, but it's very faint.

   14               THE COURT:    Okay.   I think that we have -- Ellen has

   15   been kicked off as well.       So we need to figure it out.

   16               THE CLERK:    Yes, she has.

   17               THE COURT:    See if you can bring her back in.        All

   18   right.

   19               So, counsel, I'm going to proceed, and we're, again,

   20   focusing on the Carone affidavit, wherein it stated, "There

   21   were two -- "there was two vans that pulled into the garage of

   22   the counting room, one on day shift and one on night shift.

   23   These vans were apparently bringing food into the building.              I

   24   never saw any food coming out of these vans.          Coincidentally,

   25   it was announced on the news that Michigan had discovered over

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5425 Filed 07/16/21 Page 123 123
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   100,000 more ballots not even two hours after the last van

    2   left."    The amended complaint calls this an illegal dump.

    3               Let me ask:    Who -- did anyone have an opportunity --

    4   who had the opportunity to speak with Ms. Carone?           Raise your

    5   hands if you did.

    6               MS. HALLER:    Your Honor, may I?

    7               MR. CAMPBELL:     Is there --

    8               THE COURT:    Hang on, Ms. Haller.

    9               MR. CAMPBELL:     Is there a particular paragraph you're

   10   referring to?

   11               THE COURT:    I just read it.

   12               MR. CAMPBELL:     I didn't get the number, your Honor.

   13   I apologize.

   14               THE COURT:    Okay.   So this is going to be a bit of a

   15   challenge.    I think I can pull it up.

   16               MR. CAMPBELL:     If you have the number, I have it in

   17   front of me.

   18               THE COURT:    It's 6-5.

   19               MR. CAMPBELL:     Thank you.    That's the Carone

   20   affidavit.    You said there's an allegation in the complaint.

   21               THE COURT:    I'm sorry?

   22               MR. CAMPBELL:     As to an illegal dump.

   23               THE COURT:    Okay.   I don't know what paragraph that

   24   is in.

   25               MR. CAMPBELL:     Thank you.    I don't mean to burden you

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5426 Filed 07/16/21 Page 124 124
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   with that, but I was going to look at it and understand the

    2   context.    Thank you.

    3               THE COURT:    Okay.    Now, let me just say that the

    4   questions that the Court has on this -- and I thought I saw

    5   another hand, but I'll just give you a moment.          Oh, I asked the

    6   question as to who spoke with Ms. Carone, if anyone.

    7               All right.    Ms. Lambert.    Thank you.    Please unmute.

    8               MS. LAMBERT:    Thank you, your Honor.      I have spoken

    9   with Ms. Carone but not regarding the complaint.           As the Court

   10   knows, I filed the notice of appeal before this Court.

   11               THE COURT:    Right.

   12               MS. LAMBERT:    I have spoken with her regarding her

   13   information regarding election vendors and the role that she

   14   participated with an election vendor.

   15               THE COURT:    Okay.    So you did not speak to her

   16   regarding her observations that she set forth in the affidavit;

   17   is that true?

   18               MS. LAMBERT:    That's true, your Honor.       I just wanted

   19   to be accurate and let the Court know that I have spoken with

   20   her.

   21               THE COURT:    I appreciate that.

   22               So, yes, Mr. Kleinhendler, sir.

   23               MR. KLEINHENDLER:      Thank you, ma'am.    I refer you to

   24   the Ramsland moving affidavit, yes, which is ECF 6, Exhibit 24,

   25   page 4 of 8, and the bottom of paragraph 13.          He refers to the

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5427 Filed 07/16/21 Page 125 125
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   Melissa Carone affidavit.       It was my understanding that our

    2   expert had in fact spoken with her.         I can't state the truth

    3   because my memory is a little foggy, but I believe I had a

    4   conversation with Mr. Ramsland about this Carone affidavit.

    5   He, in turn, told me -- and, again, this is my belief, it's

    6   awhile back -- that he in fact had spoken with her.

    7               I do know, your Honor, that she had publicly

    8   testified, I believe, in Michigan about her findings, okay, and

    9   so while I don't have any recollection of directly speaking

   10   with her, I am referring you to my expert, who refers to her

   11   affidavit, vouches for her, and it should have been attached,

   12   your Honor.     For some reason, I don't know, I guess when we

   13   filed it, it wasn't attached.

   14               THE COURT:    What wasn't attached, her vouching --

   15   your expert --

   16               MR. KLEINHENDLER:     No, no, the affidavit says, "See

   17   Melissa Carone affidavit."

   18               THE COURT:    Oh, okay.

   19               MR. KLEINHENDLER:     And I think we had it.       I know we

   20   had it, but for some reason I don't -- I don't know if it was

   21   included.

   22               MS. HALLER:    It was included.

   23               THE COURT:    It was included.     I know that there was a

   24   statement saying that it was not in one of the briefs, but it

   25   has in fact been included.

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5428 Filed 07/16/21 Page 126 126
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1               All right.    Anybody else have any contact with her?

    2   All right.    Thank you.

    3               So my question then -- Mr. Fink, I'm sorry, sir.          I

    4   didn't acknowledge you.

    5               MR. DAVID FINK:     Of course I'm not suggesting I had

    6   contact with her, but, rather, I wanted to respond briefly to

    7   that and also to something that I did not respond to yet

    8   from -- regarding Mr. Sitto because we took the break.

    9               THE COURT:    Okay.   Let me -- before you do that,

   10   Mr. Fink, let me ask the question that I wanted to ask other

   11   than who had spoken with Ms. Carone.

   12               I wanted to ask the question:       She, again, she talks

   13   about her observations seeing vans pull up and then she

   14   connects what she considers to be the coincidental announcement

   15   from local media having stated that -- and no reference to

   16   which local media to which she's referring but stating that

   17   there had been a statement made that Michigan had discovered

   18   over 100,000 more ballots.

   19               My question is:     Is it counsel's position that

   20   coincidence -- that a coincidence can serve as an

   21   evidentiary -- as the basis for evidentiary support for an

   22   allegation?     Because that's what this sentence is saying.

   23               Mr. Campbell, you look like you want to respond.

   24               MR. CAMPBELL:     Yes, I -- here's what I think we can

   25   safely say, and maybe this is responsive.          We have an expert

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5429 Filed 07/16/21 Page 127 127
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   who has relied on that affidavit for purposes related to his

    2   statistical analysis, and, again, going back to the Georgia

    3   case that says if you have affidavits of witnesses and you have

    4   statistical data, that's enough to, in that case it was, to

    5   have the court act.

    6               Here we have attached the actual affidavit, but, as

    7   you know, your Honor, an expert can rely on hearsay.           So in

    8   terms of, you know, the information that's there, I think it's

    9   properly presented, and I have to say, if a witness says things

   10   that don't turn out to be entirely accurate, that can be

   11   discovered through the processes that this Court is very

   12   familiar with, and that happens all the time.

   13               But, you know, including what they have to say

   14   because they say it is not inappropriate in any way.           In fact,

   15   it may turn out that we don't believe some things that they

   16   said, but to give only half the story isn't how we want to

   17   plead the case.

   18               So, again, I'm not sure about the context in which

   19   the Court is asking this.       This is a claim by the Plaintiffs

   20   drafted by the lawyers to bring their claim under the various

   21   federal laws that they believe apply, and we thought we were

   22   timely when we did it.

   23               THE COURT:    All right.    Mr. Fink, this is your time

   24   to respond, sir.

   25               Thank you, Mr. Campbell.

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5430 Filed 07/16/21 Page 128 128
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1               MR. DAVID FINK:     First, with respect to Ms. Carone,

    2   we have another classic situation where if in fact -- and, by

    3   the way, it's not just the expert.        The complaint explicitly

    4   references, in Paragraph 94, explicitly references the Carone

    5   affidavit.

    6               Now, Carone makes the allegation -- and, to be clear,

    7   she's not a trained election worker.         She was -- and there's no

    8   dispute about this.      She was a subcontractor doing some work on

    9   maintaining machines on the day of the election -- or the day

   10   of the count.     She claimed that she witnessed batches of

   11   ballots being run through the scanner multiple times, 50 at a

   12   time, 8 or 10 times in a precinct.

   13               Now, if any expert reviewing it -- and the expert

   14   relied on that.     Any expert reviewing that affidavit with the

   15   slightest knowledge of election procedures would know that it

   16   was patently absurd because, if you ran 50 ballots through 8

   17   times, you would have 350 more votes in that precinct than

   18   there were voters, and there isn't a single precinct in the TCF

   19   Center that had more than an 11-vote disparity.

   20               Nonetheless, because they did no due diligence, they

   21   didn't look at this.      They didn't check it.      They continue to

   22   rely upon these findings, which are just blatantly factually

   23   false.

   24               Now, I want to briefly, if I may, say this.          This was

   25   addressed and looked at very closely, as well as the other

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5431 Filed 07/16/21 Page 129 129
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   allegations that she made, by Judge Kenney.          Earlier today,

    2   just before the break, Mr. Campbell made a representation to

    3   this Court that I assume comes, not out of intentional intent

    4   to misrepresent the facts, but out of ignorance that comes from

    5   his recent involvement in this case.

    6               He said that Judge Kenney did not make findings.

    7   That could not be further from the truth.          Judge Kenney made

    8   extensive findings in his Opinion and Order dated November 13th

    9   and very widely published and available at the time.           Certainly

   10   counsel knew about this.       November 13th in his Opinion and

   11   Order he explicitly discussed why it was that Ms. Carone was

   12   mistaken in the representations in what she saw.

   13               Importantly, in response to something this Court

   14   raised earlier, he also very explicitly, directly contrary to

   15   what Mr. Campbell told us before the break, Judge Kenney very

   16   explicitly addressed Andrew Sitto's allegations.           He had three

   17   paragraphs.     He pointed out that Andrew Sitto was a Republican

   18   challenger who did not attend the walk-through meeting that

   19   trained the challengers.

   20               He explained, and I'll quote from him, "Mr. Sitto's

   21   affidavit, while stating a few general facts, is rife with

   22   speculation and guesswork about sinister motives.           Mr. Sitto

   23   knew little about the process of the absentee vote counting" --

   24   "voter county board activity.        His sinister motives attributed

   25   to the city of Detroit were negated by Christopher Thomas'

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5432 Filed 07/16/21 Page 130 130
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   explanation that all ballots were delivered to the back of Hall

    2   E at TCF Center.     Thomas," he goes on to say, "also indicated

    3   the City utilized a rental truck to deliver ballots.           There's

    4   no evidentiary basis to attribute any evil activity by virtue

    5   of the City using a rental truck with out-of-state licenses

    6   plates."

    7               He also directly addressed the tens of thousands

    8   ballots allegation, explaining that "That number was

    9   speculation on the part of Mr. Sitto," and, he said, "It's not

   10   surprising that many of the votes being observed by Sitto were

   11   cast for Mr. Biden."

   12               Now, my main point here is not the facts.          My

   13   point --

   14               MS. HALLER:    Your Honor.

   15               MR. DAVID FINK:     -- is a lack of due diligence, and

   16   Mr. Campbell tells us, in representing seven of these nine

   17   Plaintiffs' attorneys, including, incidentally, both Mr. Wood

   18   and Mr. Rohl, who seem to have diametrically opposed views of

   19   what happened, but Mr. Campbell told us that Judge Kenney had

   20   not ruled.    Judge Kenney had ruled.       These folks were on

   21   notice, and this was important.        This was the election of the

   22   President of the United States.        They should have been extra

   23   careful, not just diligent, but extra careful.

   24               And I have to say, the statement by Mr. Campbell, as

   25   though it's a precept of law that we should all except as black

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5433 Filed 07/16/21 Page 131 131
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   letter law, that if something is in a pleading that someone

    2   else has filed then it's fair game for me to repeat it and say

    3   it's true with no due diligence on my part, I've never seen a

    4   case like that.

    5               MS. HALLER:    May I respond?

    6               THE COURT:    Yes, you may.     You have your hand up.

    7               MS. HALLER:    Thank you, your Honor.

    8               I would just point out that the affidavit that's

    9   attached as an exhibit, which is an exhibit to the complaint,

   10   which is what you're referencing as the Carone affidavit, 6-5,

   11   that's documented as a document from the court, in your state

   12   of Michigan circuit court.       It is not represented to be a

   13   document that was created by us.        It is not represented to be

   14   anything other than what it was, which is a document from a

   15   different court.

   16               That court had its proceedings, as we all know, that

   17   later, you know, in rulings in Constantino and that line of

   18   cases, and we know that Justice Zahra spoke out about the

   19   meaningful assessment of allegations by an evidentiary hearing

   20   and that -- Plaintiffs' right to an evidentiary hearing as a

   21   general matter.

   22               THE COURT:    What was the purpose for which you

   23   attached it?

   24               MS. HALLER:    Because Russ Ramsland cited to it and

   25   it's a source for his exhibit, as well as an identification of

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5434 Filed 07/16/21 Page 132 132
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   a potential witness who may be anticipated to testify in

    2   accordance with the exhibit at the time of a trial or an

    3   evidentiary hearing or in a court process.          We had the ability

    4   to cite to information making as much information as possibly

    5   available to identify anticipated witnesses who would testify

    6   in accordance with the statements or affidavits that were

    7   included, but this particular affidavit was cited to by

    8   Russ Ramsland.

    9               MR. CAMPBELL:     If I may, your Honor?

   10               THE COURT:    Go ahead, Mr. Fink.

   11               MR. DAVID FINK:     I just want to say Ms. Haller is

   12   simply wrong.     The affidavit is connected to the previous

   13   lawsuit, but it is directly cited in their complaint, in their

   14   complaint in Paragraph 94.       They directly quote from that --

   15               MS. HALLER:    (Indiscernible.)

   16               MR. DAVID FINK:     -- as though it is true, not just

   17   the expert.

   18               MS. HALLER:    That's right, Mr. Fink.      As you well

   19   know, it's not hearsay.       It's a sworn statement in a court of

   20   law, and, yet, we have citations to hearsay in other documents

   21   that are similarly attached, but we are not in a Daubert

   22   motion.    We are not on a motion for discovery as being in

   23   contention.

   24               The bottom line is it's a complaint where we attached

   25   information to include a witness from another court, and we

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5435 Filed 07/16/21 Page 133 133
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   cited to that in a complaint as sworn testimony, and, as such,

    2   it's available and relied upon by our expert.

    3               THE COURT:    Question for you, Counselor.       So then

    4   you're saying that you did not attach the Carone affidavit in

    5   support of your factual assertions; is that what you're saying?

    6               MS. HALLER:    No, your Honor.     Thank you.    I am simply

    7   saying that it's information in support of the complaint.            It's

    8   cited to in the complaint.       It is a document that is not

    9   hearsay.    It is a simple document that is a sworn statement

   10   from another court that is cited to by our expert, and we rely

   11   upon it to the extent that it's cited in the complaint.

   12               THE COURT:    Well, you cited it.      You referenced it.

   13   You all are the ones that placed it in the complaint, and you

   14   didn't place it in there in support of your allegation?

   15               MR. CAMPBELL:     Judge, it's there because --

   16               MS. HALLER:    No, it is in support --

   17               THE COURT:    Excuse me, Mr. Campbell.

   18               MR. CAMPBELL:     -- it's believed --

   19               THE COURT:    Mr. Campbell, excuse me.

   20               MR. CAMPBELL:     Yes.

   21               THE COURT:    I'm directing my question to Ms. Haller.

   22               MS. HALLER:    It's there as it is cited.       We stand by

   23   the citation, the citation Mr. Fink is referencing.            I'm not

   24   sure I understand.

   25               THE COURT:    All right.    What -- Mr. Kleinhendler,

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5436 Filed 07/16/21 Page 134 134
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   what do you have to say?

    2               MR. KLEINHENDLER:     I'd like to say something --

    3               THE COURT:    Briefly.

    4               MR. KLEINHENDLER:     -- that would help us here.

    5               THE COURT:    Okay.

    6               MR. KLEINHENDLER:     You're looking at a specific

    7   document at an isolated paragraph, but I think it's pretty

    8   clear you have to read a complaint through its four corners.

    9   We are writing a complaint with multiple inputs from various

   10   areas, experts, fact witnesses, other statisticians, and when

   11   we see that Carone affidavit, what we're seeing is this is

   12   consistent with what our experts -- with what we're hearing

   13   happened in Detroit.      And, your Honor, to try to take one

   14   document in isolation and use that document to infer what the

   15   intent was or what the due diligence of the attorneys should be

   16   without looking at the entire complaint and the entire

   17   submission as to what we're getting, I believe is not correct.

   18   I think --

   19               THE COURT:    I reject your premise, that that's what

   20   I'm doing.

   21               MR. KLEINHENDLER:     No, no, sorry.     Sorry.    Your

   22   Honor, I apologize.      That's what Mr. Fink --

   23               THE COURT:    All right.

   24               MR. KLEINHENDLER:     I apologize.     Sorry.   That is what

   25   Mr. Fink is asking of the Court, and that's the point I want to

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5437 Filed 07/16/21 Page 135 135
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   make.

    2               The second point I want to make, your Honor, is just

    3   because in a preliminary election hearing a court found that

    4   one affidavit trumped another affidavit, your Honor, that does

    5   not render the allegations of Ms. Carone to be false.            Okay.

    6               Until she appears before you or before a jury, a fact

    7   finder, and you make a decision what she's saying is false, all

    8   you have is argument, and that's the point.          Mr. Fink is

    9   arguing in the form of stating facts, and I have a problem with

   10   that.    I'd like to make that clear for the record.

   11               THE COURT:    All right.    Thank you.    We're going to

   12   move on.

   13               Mr. Campbell, what --

   14               MR. CAMPBELL:     Again, my name was raised earlier by

   15   Mr. Fink, if I may respond?

   16               THE COURT:    Briefly.

   17               MR. CAMPBELL:     Thank you.    You can check the record.

   18   I'll tell you what I intended to say and what I thought I said,

   19   that Judge Kenney did not hold a hearing and did not make any

   20   determinations of credibility with regard to the weight of the

   21   affidavits based on having heard from affiants themselves.            I

   22   didn't say anything as effusive as that, but that's what I

   23   thought I said, and that is -- I don't think he would contest

   24   that point.

   25               THE COURT:    All right.    Okay.   Moving on.

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5438 Filed 07/16/21 Page 136 136
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1               I'd like to look on the Connarn affidavit set forth

    2   in ECF number 6-6, and I want to quote specifically from it.

    3   Let's see, we may need to do some screen sharing, but I will

    4   quote from it.

    5               "I was working as the attorney acting as poll

    6   challenger with the Michigan Republican Party.          When I was

    7   approached by -- where I was approached by a Republican Party

    8   poll challenger, who stated that a hired poll worker of the TCF

    9   Center in Wayne County was nearly in tears because she was

   10   being told by other hired poll workers" -- with an S -- "at her

   11   table to change the date the ballot was received when entering

   12   ballots into the computer."

   13               Again, I want to emphasize the sequencing here.          "The

   14   affiant is stating he was working as an attorney acting as a

   15   poll challenger with the Republican Party in Michigan.            He was

   16   therefore -- or there he was approached by a Republican Party

   17   poll challenger, who stated that a hired poll worker at the TCF

   18   Center was nearly in tears because she was being told by other

   19   poll workers at her table to change the data" -- I'm sorry, "to

   20   change the date that the ballot was received when entering

   21   ballots into the computer."

   22               So here it appears to the Court that Connarn is

   23   saying that she was told by an initial person that a second

   24   person, who was told by a third person and other additional

   25   persons, that the second person should back date ballots.

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5439 Filed 07/16/21 Page 137 137
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1               Question for counsel:      Does counsel believe it is

    2   appropriate to support allegations on such third-hand

    3   knowledge, triple hearsay testimony that counsel has no hope of

    4   ever introducing into evidence?

    5               Who would like to answer that question for the

    6   Plaintiffs or counsel for the Plaintiffs' counsel?

    7               Okay.    Mr. Campbell, go ahead.

    8               MR. CAMPBELL:     Thank you.    Judge, that's Paragraph 1,

    9   and then in Paragraph 2 there is evidence of an actual note

   10   being slipped.      It gives context.    It's not even hearsay.

   11               THE COURT:    Who is JJ?    Are you talking about that

   12   note JJ?

   13               MR. CAMPBELL:     Yeah, I'm talking about -- again,

   14   that's the portion of the affidavit you put on the screen, but

   15   I've got to tell you, I have no encyclopedic knowledge of that

   16   particular affidavit, and I'm the latest person, other than

   17   maybe Mr. Buchanan, to this case, but I mean that seems pretty

   18   obvious.    It's -- you're establishing a circumstance that

   19   explains the rest of the information relative to the -- what's

   20   going to follow.     Again, I'm -- I'm -- I'm surprised, and a

   21   little troubled, that the Court would even have a problem with

   22   that.

   23               THE COURT:    Oh, really?    Okay.   Because that's just

   24   layers of hearsay.      I don't know why that would be surprising

   25   to you.    I'll give --

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5440 Filed 07/16/21 Page 138 138
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1               MR. CAMPBELL:     But it's not hearsay --

    2               THE COURT:    -- counsel an opportunity to --

    3               MR. CAMPBELL:     -- it's not offered for the truth of

    4   the matter asserted.

    5               THE COURT:    Excuse me.

    6               MR. CAMPBELL:     It's not offered for the truth of the

    7   matter asserted.     Again, I've got to tell you, Judge, that...

    8               THE COURT:    Did anyone here take any steps to

    9   identify the Republican Party poll challenger, the hired poll

   10   worker, the other hired poll workers?         Any inquiry made into

   11   that?

   12               I will move on.

   13               Let's go to Ms. Jessy Jacob's affidavit set forth at

   14   ECF number 6-4 at PDF pages 36-38 and the amended complaint

   15   states that "On November 4th, 2020, Jacob was instructed to

   16   predate the absentee ballots received" -- I'm sorry, "Jacob was

   17   instructed to predate the absentee ballots received date that

   18   were not in -- that were not in the qualified voter's file, as

   19   if they had been received on or before November 3rd."

   20               So this is the predating of absentee ballots, and Ms.

   21   Jacob estimates that this was done to "thousands of ballots."

   22               Question to counsel:      Did anyone engage in any

   23   inquiry to determine if there was an explanation for why such

   24   predating would have taken place?

   25               MS. HALLER:    Your Honor, I'm sorry, which exhibit are

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5441 Filed 07/16/21 Page 139 139
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   we talking about?

    2               THE COURT:    We're looking at -- certainly.       We're

    3   looking at ECF number 6-4, the Jessy Jacob's affidavit, and

    4   it's in PDF format pages 36 through 38.         So the allegation here

    5   is that she was instructed to predate absentee ballots to the

    6   date of -- to before November 3rd.

    7               And the Court's question is simply:        Did counsel

    8   engage in any inquiry to determine if there was an explanation

    9   for why such predating may have occurred or would be happening?

   10               MS. HALLER:    I don't remember, your Honor.       I just

   11   don't remember.     I know that I may have, but I can't say.

   12               THE COURT:    All right.    Was anyone, Ms. Haller,

   13   working on the Jacob affidavit with you?         You were --

   14   correct -- working on it?

   15               MS. HALLER:    I mean I have a recollection of

   16   reviewing, but I don't have a specific recollection as to -- I

   17   need to refresh my recollection, to be honest.

   18               THE COURT:    All right.    Mr. Fink.

   19               MR. DAVID FINK:     The Jacob affidavit was filed in the

   20   Constantino case.      Importantly, Miss Jacob was a City employee

   21   who did not do work for the city clerk's office.           She was on

   22   furlough from another department, and she was called in when

   23   they needed additional people to assist on the election and on

   24   the counting.

   25               Chris Thomas provided an affidavit, which provided

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5442 Filed 07/16/21 Page 140 140
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   some detail and explanation of Ms. -- of Jessy -- Ms. Jacob's

    2   misunderstanding.      Most notably, she did not understand that

    3   the ballots had already been checked and verified before they

    4   arrived at the TCF Center, and she did not understand that

    5   nobody was predating anything.        They were, on occasion, told to

    6   put dates into the computer which had not yet gone into the

    7   computer, but the important issue here isn't the facts.

    8               What's important is Mr. Thomas had a conflicting

    9   affidavit, and Judge Kenney ruled -- I won't read it.            I won't

   10   bore the parties with the reading of it.         I guess it's not

   11   boring, but I won't take the extra time.

   12               On Page 4 of his opinion judge Kenney, in extreme

   13   detail, explained why Ms. Jacob was wrong, and, nonetheless,

   14   this complaint repeats what was said by Ms. Jacob as though it

   15   is the gospel.

   16               MS. HALLER:    Your Honor, what it does is not speak to

   17   the gospel, but what it does is -- we briefed in 112 -- ECF 112

   18   the holding of the Constantino court's ruling, and the three

   19   dissents by the Supreme Court judges -- the justices in

   20   Michigan, and how they made clear that there was in fact no

   21   evidentiary hearing in that case and that they said there that

   22   should be a need.

   23               It was Justice Zahra who urged the circuit court to

   24   meaningfully address Plaintiff's allegations by an evidentiary

   25   hearing, particularly with respect to the credibility of the

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5443 Filed 07/16/21 Page 141 141
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   competing affidavits, and Justice Viviano says, "A court may,

    2   and given the exigencies of time, sometimes must act on a

    3   motion for preliminary injunctive relief based on the parties'

    4   bare affidavits."

    5               So the courts may rely on, in Michigan, on bare

    6   affidavits, and, in doing so, that they point out the fact that

    7   there needed to be an evidentiary hearing, which did not

    8   actually occur, and so what happened when -- this hasn't

    9   actually been heard, and so if we do have the opportunity for

   10   an evidentiary hearing, we will seek to have this witness

   11   brought forward.

   12               THE COURT:    And so, again -- Mr. Fink, hold on -- the

   13   issue, again, that I have here is, is that we've got a few

   14   affidavits that were filed in the Constantino case, and the

   15   question, again, that I have for counsel on the King versus

   16   Whitmer matter is:      To what extent did you review the contents

   17   of those affidavits before including them?          I understand that

   18   they came from another -- I understand what the Supreme Court

   19   rulings were, but my question is so much more simpler in that

   20   I'm asking what did counsel do?        Did you do anything for

   21   purposes of reviewing the content, and did you see anything

   22   that will make you say, "Wait a minute, let me understand what

   23   this is."    That's my question.

   24               Ms. Haller can you answer that for the Court?

   25               MS. HALLER:    Sorry, your Honor, I'm trying to unmute.

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5444 Filed 07/16/21 Page 142 142
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1               I guess I'm confused by the standard.         We submitted

    2   the information to the Court on a good-faith basis that this is

    3   a signed and sworn statement in another court of law so I'm a

    4   little confused by the questions because we didn't put forth

    5   false documents.     We didn't act in bad faith, and that -- and

    6   my understanding is for sanctions, which is what I believe

    7   we're here -- we're supposed to be talking about bad faith, and

    8   I simply am at a loss because, yes, this information was

    9   included in our complaint as a source, which is what typically

   10   defendants want.     They want your sources, and they want an

   11   opportunity to investigate those sources.          That's why we have

   12   this process called discovery.        So I am confused as to what

   13   we're actually talking about.

   14               THE COURT:    Oh, okay.    Let me ask Mr. Campbell what

   15   he thinks about that because I just -- I don't understand --

   16   you don't think that there's -- it seems to me you're

   17   concluding that you don't have any obligation, as long as you

   18   have an affidavit that's been, you know, that's been sworn, a

   19   sworn affidavit, that relieves counsel of any obligation to go

   20   further?    Is that how you feel about that Mr. Campbell?          What

   21   is your --

   22               MR. CAMPBELL:     On the bare bones of your scenario,

   23   anything that is sworn, no.       But this isn't anything that was

   24   sworn.    This is somebody who was there.       That's not in dispute,

   25   and now it's a question of what they saw.          But, yeah, if

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5445 Filed 07/16/21 Page 143 143
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   they're willing to swear under oath as to what they saw, that

    2   makes them at least a res gestae witness --

    3               THE COURT:    But this is not even an issue.

    4               MR. CAMPBELL:     I'm sorry, Judge, can I finish,

    5   please?

    6               So what we have here, and this is not just a

    7   statement from somebody who was there.         This is somebody whose

    8   statement was, as noted, submitted in a different case, which

    9   means other lawyers saw it.       They believed it to be appropriate

   10   for submission to the Court in that circumstance.

   11               THE COURT:    So that's enough?

   12               MR. CAMPBELL:     If I may?

   13               On top of that, you have an expert with a report who

   14   expressly says he's relying in part on some of the information,

   15   and, oh, by the way, it supports the statistical analysis.            So

   16   this is not just a statement that somebody happened to say

   17   under oath, and the Court is wrong to frame it in that manner.

   18               THE COURT:    All right.    Mr. Fink.

   19               MR. CAMPBELL:     That question is not really indicative

   20   of anything in this case, with due respect.

   21               THE COURT:    Mr. Fink.

   22               MR. DAVID FINK:     Ms. Haller said it exactly right

   23   when she said she doesn't understand what the question is.            I

   24   think that's true.      The question is what responsibility did

   25   they have to vet the facts they were presenting to the Court?

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5446 Filed 07/16/21 Page 144 144
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1               They keep saying "it's an affidavit" and, therefore,

    2   they can put it into evidence, but this is not an unquestioned

    3   affidavit.    This is an affidavit that was already questioned in

    4   another proceeding, and in that proceeding, not only did the

    5   judge make a determination that the affidavit was not -- was

    6   based on ignorance and a misunderstanding of the facts, but

    7   also there were competing affidavits.         In fact, the judge said

    8   that there were multiple affidavits that disagreed, but the

    9   point -- with what she said, but here's what matters.            What

   10   matters is they didn't talk to her and create a new affidavit.

   11   They didn't --

   12               MS. HALLER:    Has Mr. Fink --

   13               MR. DAVID FINK:     -- work with her.

   14               THE COURT:    Hang on, Ms. Haller.

   15               MS. HALLER:    But Mr. Fink --

   16               THE COURT:    Ms. Haller.

   17               MS. HALLER:    -- is accusing us of --

   18               THE COURT:    Ms. Haller.

   19               MS. HALLER:    Yes, your Honor.

   20               THE COURT:    Let him finish.

   21               Go ahead, Mr. Fink.

   22               MR. DAVID FINK:     I'm simply going to guess that

   23   Ms. Haller is going to say that they did talk to her, and

   24   perhaps they did.      The point is that the allegations she made

   25   were very effectively refuted and then repeated here in the

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5447 Filed 07/16/21 Page 145 145
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   complaint, repeated in the compliant as though there was

    2   nothing, no issue, no issue of concern.         I'm sorry.

    3               THE COURT:    Thank you.    I understand.     All right.

    4               Ms. Haller, you want anything else to add?

    5               MS. HALLER:    Thank you, your Honor.      I would just ask

    6   Mr. Fink if he has spoken to this witness because he is making

    7   allegations related to her testimony or anticipated testimony,

    8   but I'm not clear if Mr. Fink has spoken to the witness about

    9   his conclusions.

   10               THE COURT:    Okay.   I don't even know that that is a

   11   relevant question.

   12               MS. HALLER:    Because --

   13               THE COURT:    What do you have to respond to that,

   14   Mr. Fink?

   15               MR. DAVID FINK:     I will respond, I guess.

   16               MS. HALLER:    May I respond?

   17               MR. DAVID FINK:     Because I don't think my due

   18   diligence is before the Court.

   19               MS. HALLER:    Well, in an evidentiary hearing you

   20   would have an opportunity to examine any of the witnesses that

   21   we would bring forward.       So I -- I -- I simply do not

   22   understand how you can impugn the credibility of a witness who

   23   is not before this Court and go as far as to say that we've

   24   provided falsehoods or acted in bad faith in some manner, and

   25   that is simply all I'm saying.

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5448 Filed 07/16/21 Page 146 146
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1               THE COURT:    All right.    Thank you.

    2               Mr. Fink, you don't need to respond to that.

    3               Mr. Kleinhendler, you don't need to respond to it.

    4               The Court's moving on to the Bomer affidavit, and

    5   that's set forth at 6-3, ECF 6-3, page ID 1008-10.

    6               Now, the Plaintiffs' pleadings allege that Defendants

    7   changed votes for Trump and other Republican candidates.             The

    8   Bomer affidavit is provided in support of that claim, and,

    9   specifically, the affidavit states in part, "I observed a

   10   station where election workers were working on scanned ballots

   11   that had issues that needed to be manually corrected.            I

   12   believe some of these workers had been changing votes that had

   13   been cast for Donald Trump and other Republican candidates."

   14               There we go.

   15               The amended complaint calls this eyewitness testimony

   16   of election workers manually changing votes for Trump to votes

   17   for the Biden, and, again, the amended complaint calls this,

   18   "eyewitness testimony of election workers merely changing votes

   19   for Trump for votes to Biden."

   20               Question from this Court:       Does an affiant belief

   21   that something occurred constitute evidence that the thing

   22   actually occurred?

   23               Who would like to take that question on from counsel

   24   for -- Plaintiffs' counsel or Plaintiffs' counsel.

   25               MR. CAMPBELL:     Again, if that belief is based on

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5449 Filed 07/16/21 Page 147 147
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   circumstantial or actual physical viewing of that evidence,

    2   yes.

    3               THE COURT:    And it doesn't appear to be because there

    4   isn't any -- this affiant, Miss Bomer, does not say -- he says,

    5   it's stated "I believe some of these workers," and I think the

    6   question becomes also does counsel know what formed the basis

    7   for the belief because it certainly is not apparent to this

    8   court.    What's the basis of Mr. Bomer's belief that there was

    9   something as significant as votes being changed from one

   10   candidate to another?      What's the basis of that belief?        He

   11   didn't say that he saw it.

   12               MR. CAMPBELL:     I have to draw the line there, Judge.

   13   I'm not so sure that you can say in the world of language that

   14   that statement excludes seeing it.        In other words, one can

   15   believe it because they saw it but not write it that way, and

   16   so I think you have to allow for where language might play a

   17   role here in how the thought is expressed.          Now, I'm not saying

   18   that it says -- it says that she saw it, but I think this Court

   19   is wrong to conclude that it means she didn't see it because,

   20   if you see it, that would certainly help you to form a belief.

   21               THE COURT:    Well, I think it's wrong for an affidavit

   22   to be submitted in support -- as evidentiary support if there's

   23   been no kind of minimal vetting.        I mean if you -- if you can't

   24   determine from the plain language of the affidavit, what am

   25   I -- how am I supposed to draw any kind of inference from it?

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5450 Filed 07/16/21 Page 148 148
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1               MR. CAMPBELL:     It's called an evidentiary hearing.

    2               THE COURT:    And it's also called -- it's also called

    3   you need to preliminarily -- every lawyer has that duty to do a

    4   minimal amount of investigation before filing evidence or

    5   what's purported to be evidence to this Court.

    6               Mr. Kleinhendler, yes.

    7               MR. KLEINHENDLER:     Thank you, your Honor.

    8               We reviewed each one of these affidavits.          We read

    9   them.    We realized they were filed in other proceedings, and,

   10   as I said earlier, they purported and were consistent with the

   11   findings of our experts and the other information placed before

   12   you, and that's -- you cannot -- I propose to you, your Honor,

   13   you cannot look at -- you can't nitpick one and one and one and

   14   say this, standing alone, has no evidentiary basis.

   15               We have an affidavit from Russ Ramsland, in detail,

   16   saying that the machines themselves flipped votes, detailed

   17   analysis from an expert sworn before this court.           It's,

   18   therefore, unremarkable and, frankly, consistent, and now we

   19   have an eyewitness who saw it or believes she saw it.

   20               So the notion that we did no due diligence is

   21   incorrect.    We did a ton of due diligence, and also keep in

   22   mind that we are -- we are -- we are proffering this to the

   23   Court, and the Court can give little or no weight to this

   24   evidence.

   25               This is not the whole case, and if we came in with a

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5451 Filed 07/16/21 Page 149 149
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   complaint and we had one exhibit, this affidavit, I get it,

    2   okay, what are you doing, but we come into court with 960 pages

    3   basically the same theme of what we're doing, okay, and this,

    4   to us, appears consistent with the narrative, with the

    5   evidence, with the expert testimony that we're getting, and

    6   that's my response to your specific question on paragraph

    7   whatever it was of this affidavit.

    8               THE COURT:    Thank you.    I'm moving on to another --

    9   Mr. Fink, quickly.

   10               MR. DAVID FINK:     Just very quickly.     This support for

   11   no matter what they say goes back to, well, it's consistent

   12   with what the experts said, and now they say Mr. Ramsland said

   13   that there was evidence that these machines flipped votes.            We

   14   haven't talked about that.       I think it's worth talking about it

   15   for a moment.

   16               Machines cannot possibly flip votes in the state of

   17   Michigan.    It is legally impossible.       Machines tabulate votes

   18   in Michigan.     They don't have votes in them.       Votes in Michigan

   19   are on paper ballots.      They're scanned by machines, they're

   20   counted by machines, but the machines can't flip them, and the

   21   recount process is the way that you address it.

   22               They can't just keep saying they didn't need to do

   23   due diligence on any of these affidavits just because they have

   24   some subjective belief that some of the tabulating machines

   25   could have made mistakes.       If they made mistakes, they'd be

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5452 Filed 07/16/21 Page 150 150
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   rejected.

    2               At a later time, at an appropriate time, I'll respond

    3   to the issue in Antrim County and why that wasn't a hand

    4   recount.

    5               MR. KLEINHENDLER:     Your Honor, if I may add --

    6               THE COURT:    No, no, no.    Let me -- I am going to ask

    7   a follow-up question, sir.

    8               Does anyone -- did anybody -- and, again, which has

    9   been my focus, did anyone inquire as to whether or not

   10   Mr. Bomer actually saw someone change a vote?          Anyone?

   11               Okay.   Let the record reflect that nobody made that

   12   inquiry, which was central to his affidavit.

   13               All right.    I'd like to move on to -- this is going

   14   back to Ms. Jacob, the affidavit wherein she -- where

   15   Plaintiffs allege that Defendants permitted double voting by

   16   persons that had voted by absentee ballot and in person, and

   17   one piece of evidentiary support that is provided is the

   18   affidavit from Ms. Jessy Jacob, and she, in that, it's stated,

   19   "I observed a large number of people who came to the satellite

   20   location to vote in person, but they had already applied for an

   21   absentee ballot."

   22               And the question that I'm asking was:         Jacob, from my

   23   view of this affidavit, does not state that these people voted

   24   in person and through absentee ballot, correct, because I mean

   25   that -- there's a conclusion here that there was double voting?

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5453 Filed 07/16/21 Page 151 151
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1               The Court is asking where in this affidavit does

    2   Ms. Jacob state that persons that she saw vote in person as

    3   well as through absentee ballots?

    4               Can anyone answer that question?

    5               MS. HALLER:    Your Honor, I would respectfully submit

    6   that we can make these witnesses available for an evidentiary

    7   hearing.

    8               THE COURT:    No, no.

    9               MS. HALLER:    And the Court at that time can evaluate

   10   the witness' testimony.

   11               THE COURT:    Okay.   Yeah.   You know what, I understand

   12   that and I appreciate that, and, again, I will state that my

   13   question is going to the minimal duty that any attorney has in

   14   presenting a sworn affidavit to the Court for consideration in

   15   terms of anything.

   16               What is the inquiry that was made in this scenario?

   17               And I'm not hearing that -- I've heard nothing.

   18               MR. CAMPBELL:     Well, Judge, your question there is

   19   about the affidavit?      Because the affidavit is as you've read

   20   it.   I thought your inquiry was as to the paragraph that was

   21   written and not the affidavit so I don't understand how the

   22   inquiry about the affidavit would have anything to do with it.

   23               THE COURT:    Well, you understand, sir, that I am

   24   referencing a quote from the affidavit?

   25               MR. CAMPBELL:     I understand you're referencing her

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5454 Filed 07/16/21 Page 152 152
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   quote.    Now, I don't hear you to take issue with the fact -- I

    2   mean that's certainly not an astounding moment, right, that

    3   some people would show up and ask to vote on the same day even

    4   though they had previously asked for absentee?

    5               THE COURT:    No, it isn't.     It is not an astounding

    6   moment, but the astounding moment here is, is that the affiant

    7   appears to conclude that this is double voting taking place.

    8               MR. CAMPBELL:     I didn't read that part of the -- I

    9   didn't hear you say that part of the affidavit.

   10               THE COURT:    Oh, I'm sorry.     I did.   Well, I stated

   11   that the Plaintiffs allege that --

   12               MR. CAMPBELL:     Right.

   13               THE COURT:    -- the Defendants permitted double voting

   14   by persons that had voted by absentee ballot and in person and

   15   cites, in evidentiary support of that claim, Ms. Jacob's

   16   affidavit, the Jacob affidavit.

   17               MR. CAMPBELL:     I get that, but, again, so -- but it's

   18   in a complaint that makes that allegation that, again, if it's

   19   not -- if that affidavit doesn't have to support that claim,

   20   that claim may not be good.       There are other bases that is, as

   21   you've indicated, the one that they pick for the footnote, if

   22   you will, for where it's something to be done, and I think

   23   there's inferences that can be drawn, and it should not shock

   24   this Court that somebody could show up, after having asked for

   25   an absentee ballot, and then decided to show up on game day --

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5455 Filed 07/16/21 Page 153 153
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   election day and make the vote, but it shouldn't shock this

    2   Court to learn that there are some people who get an absentee

    3   ballot vote and then show up and vote again.

    4               THE COURT:    I don't see any evidence of that.        I

    5   haven't -- yeah, it does shock me.

    6               MR. CAMPBELL:     Again --

    7               THE COURT:    It shocks me in the sense that --

    8               MR. CAMPBELL:     What's there evidence of --

    9               THE COURT:    I haven't seen.

   10               MR. CAMPBELL:     (Indiscernible.)

   11               THE COURT:    I don't see any evidence of that.        I'm --

   12   again, you can stick with what I'm presenting here.

   13               Mr. Fink, you may speak.

   14               MR. DAVID FINK:     Only very briefly.

   15               When this issue was raised by Ms. Jacob, it was

   16   responded to.     I don't have the affidavit in front of me.           It

   17   was responded to by Chris Thomas, who explained the process in

   18   which voting works.

   19               People could not vote twice.       If an attempt was made

   20   to enter the second vote, the qualified voter file would have

   21   reported the problem that somebody had already voted, and

   22   there's a process.      It happens.    People forget.     People make

   23   mistakes.    But there's a process, and she was no expert.          She

   24   was very new to the process.       She came in.     She didn't know

   25   what she was looking at, and I don't even know that she's still

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5456 Filed 07/16/21 Page 154 154
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   making these allegations, but what I do know is the allegations

    2   were refuted.     The judge addressed them, and when the

    3   Plaintiffs came back, they did no due diligence to find out if

    4   they were true or even possible.

    5               I just want to say real quickly that several of the

    6   things they claimed here, it isn't just somebody's observation.

    7   It's physical impossibility.       They're claiming things that

    8   couldn't have happened either by law or fact, and they're not

    9   vetting anything in what they filed.         Thank you.

   10               MR. KLEINHENDLER:     Your Honor, I'd like to respond to

   11   that, and this is what I wanted to say before.

   12               THE COURT:    Briefly.

   13               MR. KLEINHENDLER:     We're consistently hearing

   14   testimony from Mr. Fink as to what factually happened because

   15   it's against the law.      Mr. Fink has not been sworn in as a

   16   witness here.

   17               THE COURT:    I'm aware of that.

   18               MR. KLEINHENDLER:     He's not qualified as an expert,

   19   your Honor.     That's all you're getting.

   20               Now, I just want to refer to these questions you're

   21   asking, and I come back to the same refrain.

   22               THE COURT:    Hang on for a second before you go any

   23   further.    Do you have direct information on the questions that

   24   I'm asking?     Because that's the only reason that I would allow

   25   you to speak at this point, sir.        I mean did you talk to any of

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5457 Filed 07/16/21 Page 155 155
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   these affiants?     Why are you -- why are you -- what information

    2   do you have?

    3               MR. KLEINHENDLER:     My point is we talked to experts.

    4               THE COURT:    Okay.   I understand that.

    5               MR. KLEINHENDLER:     Okay.   And what they were telling

    6   us confirmed what these affiants were telling us.

    7               THE COURT:    Okay.   You know --

    8               MR. KLEINHENDLER:     So there's nothing surprising

    9   about what these affiants were saying.

   10               THE COURT:    Thank you, Mr. Kleinhendler.       I've heard

   11   that answer before.      I'm taking it under consideration.        Thank

   12   you.

   13               All right.    I'm going now into affidavits -- we have

   14   multiple affidavits that have been submitted by parties

   15   pertaining to -- relating to the Plaintiffs' pleading which

   16   claims that Defendants counted ineligible ballots, and, in many

   17   cases, did so multiple times, and there's a group, if you will,

   18   of evidentiary support set forth at ECF Number 6, Page ID 903,

   19   Paragraph 94, and it indicates that these are the multiple

   20   affidavits from challengers stating that batches of ballots

   21   were repeatedly run through the vote tabulation machine.

   22               These are affidavits referenced, and they are from

   23   Helminen -- this next name I'm not even going to try.            Well, I

   24   can try.    Waskilewski, Mandelbaum, the Rose affidavit, the

   25   Sitek affidavit, the Posch affidavit, and the Champagne

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5458 Filed 07/16/21 Page 156 156
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   affidavit, as well as the Bomer affidavit.

    2               Where is our court reporter?       Andrea -- Ms. Wabeke is

    3   okay.    There you are.    Thank you.

    4               Okay.   Question, counsel, as relates to this claim.

    5               Hang on, Ms. Haller.

    6               Did counsel inquire as to why a stack of ballots may

    7   be run through tabulation machines more than once?           Not

    8   anything to do with experts.       You know, simple question,

    9   counsel of record.      Did you make that inquiry, yes or no?

   10               Who did?    Raise your hand if you made the inquiry

   11   after reviewing this reference in the complaint as to why a

   12   stack of ballots might be run through tabulation machines.

   13   These were obviously statements that were made or observations

   14   that were made, conclusions that were drawn in multiple

   15   affidavits.

   16               Did anyone ask the simple question as to -- make an

   17   inquiry as to why would that happen?         Anyone?

   18               MS. HALLER:    Yes, your Honor.

   19               THE COURT:    Thank you, Ms. Haller.       Go ahead.

   20               MS. HALLER:    Can you, just for clarification, for the

   21   record --

   22               THE COURT:    Yes.

   23               MS. HALLER:    -- please give me the citations of what

   24   we're talking about.

   25               THE COURT:    Yes.   So I'm talking about the

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5459 Filed 07/16/21 Page 157 157
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   Plaintiffs' pleading referenced at ECF Number 6 at Page ID 942,

    2   Paragraph 190g.

    3               MS. HALLER:    Okay.    ECF 6, Page 942.

    4               THE COURT:    Right.    Page ID 942, Paragraph 190g,

    5   which references Section 2b and 2c.

    6               MS. HALLER:    Okay.    Your Honor, would it be a lot of

    7   trouble to put that up on the screen?

    8               THE COURT:    Let's see if I can do that.

    9               MS. HALLER:    Judge, we haven't downloaded the

   10   complaint --

   11               THE CLERK:    You want to see a copy of the complaint

   12   or you want to see these affidavits?

   13               MS. HALLER:    The Court is asking questions about

   14   certain exhibit numbers, which I can't track.

   15               THE COURT:    Ms. Mandel --

   16               THE CLERK:    You're citing to the pleadings that --

   17   your citation is to the pleading itself?

   18               MS. HALLER:    It is.

   19               THE CLERK:    The affidavits would take us several

   20   minutes to pull out since there's no indexing by Plaintiffs.

   21               MS. HALLER:    Is it easier to post it on the screen?

   22               THE CLERK:    It will take us a few minutes.

   23               THE COURT:    It will take some time.

   24               MS. HALLER:    Are you going by names?      Can you give me

   25   the names again because they're not numbered --

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5460 Filed 07/16/21 Page 158 158
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1               THE COURT:    Let me do a quick check on -- it's

    2   referenced as a group of evidentiary support at ECF Number 6 at

    3   Page ID 903, Paragraph 94.       Is that section the section wherein

    4   these multiple affidavits are referenced, correct?

    5               All right.    So those names, Ms. Haller, and that's

    6   the operative section I'm referring to is the ECF Number 6

    7   document at Page ID 903, Paragraph 94.

    8               MS. HALLER:    Okay.    Earlier your Honor had said --

    9               THE COURT:    I did.    I did, and I'm correcting myself.

   10   I actually am correcting myself in saying that in Paragraph 94,

   11   ECF Number 6 at Page ID 903.       This is all part of the

   12   complaint.

   13               MS. HALLER:    No, I understand, your Honor.       It's just

   14   not consistent with the documents as I -- at least as I have

   15   them on the ECF filing.       So I'm just trying to get the numbers

   16   because I don't have them saved by page number, to be clear.             I

   17   have them by ECF number like 06-18, 06-26.          So I'm just trying

   18   to find where your Honor might be.

   19               THE COURT:    Well, if you wrote -- yeah, well, the ECF

   20   at Number 6 at Page ID 903.        What is this here?     Bring it down

   21   just a little more so I can see the top.         Okay.

   22               THE CLERK:    This is the paragraph you were citing

   23   from, Judge, from the amended complaint.

   24               THE COURT:    Right.    Yes, it's Paragraph 94, and it

   25   references there -- as you can see, Ms. Haller, we're

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5461 Filed 07/16/21 Page 159 159
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   highlighting it now -- these are affidavits that are

    2   referenced.

    3               MS. HALLER:    Okay.

    4               THE CLERK:    It would take us several minutes to pull

    5   them up if you need to see them on the screen.

    6               MS. HALLER:    No.    Thank you for the citation.       I was

    7   very confused.     Now I see you're citing to the complaint

    8   itself.

    9               THE COURT:    Oh, yes, each time.      Each time I was.

   10               MS. HALLER:    I see.    Okay.   Thank you.

   11               THE COURT:    Yep.    And so my question is whether

   12   counsel queried as to why a stack of ballots might be run

   13   through tabulation machines more than once, as is claimed in

   14   those series of affidavits set forth in Paragraph 94 of the

   15   complaint.

   16               MS. HALLER:    Without disclosing too much attorney

   17   work product, as I think we may be, but we certainly had

   18   conversations on how the tabulation machines worked.           We

   19   certainly did investigations in relation to the tabulation

   20   machines.    We went through the Dominion handbook, their

   21   manufacturing book.      We went through all of the information

   22   posted on the Michigan government website.

   23               THE COURT:    Okay.    So you saw other explanations as

   24   to why this could -- is that true -- that it would not

   25   necessarily be a fraudulent reason why this could have

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5462 Filed 07/16/21 Page 160 160
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   occurred?

    2               MS. HALLER:    I'm not sure I'm clear on your Honor's

    3   question.

    4               THE COURT:    My question is:     The documents that you

    5   reviewed that you just kind of referenced just a moment ago,

    6   did those documents provide an all -- a reason as to why

    7   ballots could be run through the tabulation machines more than

    8   once, an explanation --

    9               MS. HALLER:    Your Honor, the question depends on

   10   context.    So if somebody's just testing a machine and they're

   11   going through the process of testing it, then you would want to

   12   do it multiple times possibly, but if you're talking about

   13   within the actual counting or tabulation process, those ballots

   14   are never supposed to leave the subject precinct.           Those

   15   ballots are not supposed to be put through more than once.

   16   Absolutely not.     That would violate Michigan law.

   17               So it depends on the context of the question because,

   18   of course, outside of the actual election, if you're testing or

   19   if you're checking to see if the machine works, that's a

   20   different question.

   21               THE COURT:    All right.    Mr. Fink, did you want to say

   22   something?

   23               MR. DAVID FINK:     Yes, your Honor.     Thank you.

   24               First of all, the issue of whether they're not

   25   supposed to leave the precinct had nothing to do with what was

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5463 Filed 07/16/21 Page 161 161
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   being asked.     The question was is there, in the ordinary course

    2   in counting, a time which ballots would be fed more than once

    3   through a tabulating machine, and the answer is an unequivocal

    4   yes, absolutely, happens all the time, and there was an

    5   affidavit from Chris Thomas that explained the process.            That

    6   was filed in -- early on in this matter.

    7               Now, what we learned -- what we learned --

    8               MS. HALLER:    Can you cite for that, Chris Thomas'

    9   affidavit, just because --

   10               MR. DAVID FINK:     There were two.     He filed one

   11   affidavit.

   12               THE COURT:    Can you give that cite?      It was attached

   13   to the State Defendants' response.        I think it's Exhibit 2 of

   14   the State Defendants' response.

   15               Go ahead, Mr. Fink.

   16               MR. DAVID FINK:     Thank you.    There were two

   17   affidavits by Mr. Thomas, and I'm not sure which one that is,

   18   but in Paragraph 20 of an affidavit that was filed in the -- I

   19   apologize, I don't know which case this was filed in, but

   20   Mr. Thomas explained that with these high-speed readers, after

   21   they go through, sometimes there's a jam and they have to rerun

   22   the ballots.     Sometimes there's one bad ballot in the stack.

   23   Sometimes a problem ballot, pulls it out, they have to rescan

   24   the ballots.     It happens all the time.

   25               But what Ms. Carone didn't understand, and what the

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5464 Filed 07/16/21 Page 162 162
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   rest of these witnesses didn't understand, was when this occurs

    2   the election worker cancels the previous count so it doesn't

    3   get counted twice.      But if there is a mistake, as I explained

    4   earlier, even if there's a mistake, it would mean that more

    5   votes were counted in a precinct than voters appeared, and, in

    6   the entire city of Detroit, at this TCF Center, there were only

    7   111 additional votes over the number of voters.

    8               In any one precinct --

    9               MS. HALLER:    Your Honor, we object because he is

   10   testifying --

   11               MR. DAVID FINK:     I'm sorry, I can do this without it

   12   being testimony.

   13               The point is that anyone knowledgeable in election

   14   procedures would know that a discrepancy of more than a dozen

   15   votes would jump out, would stick out like a sore thumb.            The

   16   so-called experts absolutely should have known that, and there

   17   were no such discrepancies.

   18               THE COURT:    Anything else, Ms. Haller?

   19               MS. HALLER:    Yes.   We object to what counsel just

   20   represented.

   21               THE COURT:    Yeah, I understand that.      All right.    Let

   22   me move on then.

   23               The Plaintiffs have alleged in their pleading that

   24   Defendants authorized "counting ballots without signatures or

   25   without attempting to match signatures and ballots without post

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5465 Filed 07/16/21 Page 163 163
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   marks."    There are three pieces of evidentiary support that has

    2   been provided in support of that allegation.

    3               Now, there are three affidavits stating that the

    4   affiants witnessed no signature or postmark on the ballot

    5   envelopes of some counted ballots.        These affidavits were from

    6   Brunell, Spalding -- all right, hang on, Mr. Johnson -- and

    7   Sherer.

    8               Now, my question is very straightforward, and that

    9   is, simply, did any of the affiants indicate that the votes in

   10   question, you know, the ballots I guess in question, if they

   11   were -- if the vote ultimately was for President Biden such

   12   that these affidavits would constitute evidence sufficient to

   13   support Plaintiffs' vote dilution equal protection claim?

   14               So that means that, as relates to Brunell, Spalding

   15   and Sherer, was there an inquiry made by counsel as to whether

   16   or not, at bottom, the votes in question were for President

   17   Biden such that this representation, if you will, these

   18   allegations would constitute evidence to support the vote

   19   dilution claim?

   20               Who can respond to that?

   21               And before Ms. Haller may perhaps have an answer to

   22   that, let me ask Mr. Johnson, did you want to respond -- did

   23   you -- what did you want to say, sir?

   24               MR. JOHNSON:    I was attempting to respond to

   25   Mr. Fink's prior statement.

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5466 Filed 07/16/21 Page 164 164
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1               THE COURT:    Okay.   Let me hold you off on that, and

    2   I'll give you a moment later.

    3               Ms. Haller, did you want to respond to this?

    4               MS. HALLER:    I'm sorry, your Honor, I had to unmute.

    5               I would point to Dr. Briggs' expert report because in

    6   there he explains how the absentee ballots would -- that are

    7   identified as missing would actually lower the count -- the

    8   counted votes, and because those are -- his report does address

    9   disenfranchised voters.       So I raise that as a point that

   10   relates to this, but as for additional information, maybe

   11   Brandon can answer.

   12               THE COURT:    Did you ever -- all right.       That's fine.

   13   I'm sorry, Mr. Kleinhendler.

   14               MR. KLEINHENDLER:     Your Honor, I have to make a

   15   point here.     It doesn't -- we don't have to show in this

   16   Paragraph 95, where I think you've only mentioned two or three

   17   of I think there might be a dozen affidavits highlighted there,

   18   we don't have to show that a vote flipped from Biden to Trump

   19   or Trump to Biden.      It is enough under the law that the

   20   integrity of the voting was compromised.         That is enough in

   21   itself to call --

   22               THE COURT:    Well, the reason I say -- the reason that

   23   I have asked that question is, is because it pertains directly

   24   to your equal protection claim.

   25               MR. KLEINHENDLER:     Exactly right, and that's the

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5467 Filed 07/16/21 Page 165 165
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   point I'm trying to make to you.        For the equal protection

    2   claim, we don't have to show a flip.         We can show fraud in the

    3   counting.    It doesn't matter who got the vote.        If we show

    4   that --

    5               THE COURT:    Ultimately, sir, the relief that you're

    6   requesting -- that you requested of the Court was -- it was not

    7   just to decertify the vote.       It was to -- it was to attribute

    8   votes that Plaintiffs believe were mistakenly taken away from

    9   Trump and given to Biden, so that is why I am asking that

   10   question.    I think it's a legitimate question, and let me just

   11   say this.    It's fine.    Your objection to the question and to

   12   the causation here is noted, but -- I don't have to have -- you

   13   don't have to argue that point with me.

   14               I'll let you finish up your thoughts, sir.

   15               MR. KLEINHENDLER:     I'm not -- I'm not trying to argue

   16   with you.

   17               THE COURT:    No, no, no.

   18               MR. KLEINHENDLER:     Not the point I'm trying to make.

   19               THE COURT:    Okay.

   20               MR. KLEINHENDLER:     The point is we had multiple

   21   layers of requested relief, and the question you had,

   22   specifically, was where in these affidavits does it show that

   23   the malfeasance we've identified flipped the vote, and my point

   24   is that's not necessary.       If there's malfeasance, then the vote

   25   becomes not countable, and, therefore, you can't certify one

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5468 Filed 07/16/21 Page 166 166
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   group of electors based on votes that have these type of

    2   problems with them.      You don't have to reach the conclusion

    3   that you have posited, which is show that it flipped from one

    4   side to the other.      That's my point.

    5               THE COURT:    Okay.   All right.    Thank you.

    6               Let me go on and ask as a follow up to the allegation

    7   about absentee ballots and, you know, that they had been

    8   counted without a signature, without attempting to match

    9   signatures and without postmarks.        In Michigan -- question:       In

   10   Michigan, must absentee ballots be received through U.S. Mail

   11   and, therefore, be postmarked to be counted?

   12               MS. HALLER:    I think your Secretary of State was

   13   actually admonished by a court this year because of the

   14   guidance that she issued on the process related to absentee

   15   ballots, and in that decision by the Court of Claims it was

   16   made clear that the Secretary of State did not follow the

   17   process as actually required under law, which brings all the

   18   absentee ballots, I would submit, into question, as to how they

   19   were counted.     You know, so, your Honor, in direct response to

   20   your question about the process, we cannot rely on the

   21   Secretary of State's guidance.

   22               THE COURT:    Mr. Fink.

   23               MR. DAVID FINK:     Your Honor, even now --

   24               THE COURT:    Mr. Fink, I'm sorry, let me go to

   25   Ms. Meingast, and then I'll come to you.

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5469 Filed 07/16/21 Page 167 167
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1               MR. DAVID FINK:     Absolutely.

    2               THE COURT:    Counselor.

    3               MS. MEINGAST:     Thank you, your Honor.      I guess I'm

    4   not hearing it right, but there was a question.           Absentee

    5   ballots this year in November were counted the same as they

    6   have been in every other year.        In other words, they had to be

    7   received by 8:00 p.m. at the right precinct on election day.

    8   There was nothing different in the way we counted absentee

    9   ballots this year.

   10               There was an earlier case in which Plaintiffs moved

   11   for an extension of the 8:00 p.m. deadline in order to receive

   12   ballots after 8:00 p.m. and for several days thereafter.             There

   13   was an injunction to that effect.        It was undone by the Court

   14   of Appeals, and their reasoning was count it the same way we

   15   have done for every year on absent voter ballots.           So there

   16   wasn't any change in the way absent voter ballots were handled

   17   or processed this year.

   18               MS. HALLER:    And we would just object to any

   19   testimony by counsel, especially without citation or evidence.

   20               MS. MEINGAST:     That would be the published opinion

   21   from the Court of Appeals that reversed the injunction.

   22               MS. HALLER:    Okay.   And thank you.     As far as the

   23   Court of Appeals decision, we also have a dissent in that case.

   24               THE COURT:    All right.    Mr. Fink, quickly, please.

   25               MR. DAVID FINK:     Yeah, may I speak?

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5470 Filed 07/16/21 Page 168 168
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1               First, the Court's direct question was:         Is a

    2   postmark necessary?      Does a ballot have to be mailed?

    3               And of course the answer is no.        Ballots are often

    4   handed in by hand.      Some of them are handed-in boxes in front

    5   of clerk's offices by hand.       Sometimes it's done right across

    6   the table, right across the desk in the clerk's office, as we

    7   talked earlier, but the most telling part about the answer to

    8   the Court's question was that not one of the nine lawyers

    9   representing the Plaintiffs interrupted or corrected Ms. Haller

   10   when she repeated the misunderstanding that the Secretary of

   11   State somehow handles absentee ballots.         In the state of

   12   Michigan, the Secretary of State does not touch an absentee

   13   ballot.

   14               The absentee ballots are sent out, received, and

   15   counted by local units of government, not the county, not the

   16   state, but local units of government.         To the extent there

   17   could have been any misunderstanding, it was corrected early on

   18   in the Court of Claims by Judge Cynthia Stevens in the first

   19   Trump lawsuit, but after all these months, after all this time,

   20   that counsel doesn't understand -- that neither local counsel

   21   nor national counsel understands that in Michigan elections are

   22   run by local units of government tells the Court that there was

   23   zero due diligence performed in the most important --

   24   potentially important case ever filed in this state.

   25               THE COURT:    Thank you, Mr. Fink.

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5471 Filed 07/16/21 Page 169 169
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1               Mr. Johnson.

    2               MR. JOHNSON:    Thank you, your Honor.

    3               I just want to take this opportunity to make two

    4   points.    I'll start with the most recent point.         Obviously, the

    5   Genetski V Benson decision, which Ms. Haller referenced, it --

    6   you know, it found that the Secretary of State had issued a

    7   binding rule.     So whether or not the Secretary of State

    8   actually physically handled ballots is irrelevant.           She issues

    9   binding guidance.      That was the holding in the case, and that

   10   is why it was ultimately found that she failed to apply the

   11   proper rule-making process.

   12               Second point goes back to Mr. Fink's testimony

   13   regarding the Detroit count.       We had affidavits from

   14   Commissioner Hartmann, and I forget the name of the other

   15   woman, but the two Republican members of the Wayne County Board

   16   of Canvassers who attempted to decertify the results of Wayne

   17   County.    This goes to the fact of, you know, the discrepancies,

   18   the irregularities in Wayne County in general, and the absentee

   19   ballot counts in Detroit in particular, and that's where, I

   20   believe the number was something like 76 percent of the

   21   precincts were out of ballots.        He also discussed earlier

   22   problems in the primary.

   23               So we have public officials charged with

   24   certification of the election, two of which attempted to

   25   decertify.    They claimed they faced threats of physical

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5472 Filed 07/16/21 Page 170 170
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   violence and harassment.       That explained the initial

    2   certification despite their misgivings, but the public

    3   officials in charge of absentee ballot counting in Detroit went

    4   on record publicly, in testimony, not just with us, describing

    5   the tremendous irregularities in the counts in absentee ballots

    6   in Detroit.     So that is the point I wanted to make.         Thank you.

    7               THE COURT:    All right.    Mr. Fink, last word on this,

    8   and then I'm going to move on.

    9               MR. DAVID FINK:     Very briefly.    The percentage of

   10   precincts out of balance does not mean anywhere near what it's

   11   suggested.    If it's 76 percent, we're talking about precincts

   12   that are out of balance by one, two, or three votes, not by a

   13   lot of votes.     The total out of balance would be the issue, and

   14   President Trump lost the state by 154,000 votes.           It was never

   15   at issue.

   16               Now, regarding those commissioners.        As everybody

   17   knows, they tried retroactivity to rescind the decision that

   18   they made.    That's -- the courts have -- there's just no point

   19   to really get into that issue.

   20               The real issue here is that the question is, and to

   21   get way back to where the Court was in the first place, the

   22   question is these allegations were made about the way votes

   23   were counted and is there a basis to say that the absence of a

   24   postmark or the failure to compare a signature proves fraud,

   25   and there isn't.

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5473 Filed 07/16/21 Page 171 171
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1               THE COURT:    Thank you.    I'm ready to move on to the

    2   Larsen affidavit set forth at ECF 6-4, PDF Pages 25-34.

    3               Plaintiffs state in their pleadings that Defendants

    4   authorized, "systematic violations of ballot secrecy."            One

    5   piece of evidentiary support that they provide is the Larsen

    6   affidavit.

    7               The amended complaint specifically states,

    8   "Mr. Larsen observed that some ballots arriving without any --

    9   observed some ballots arrive without any secrecy sleeve.            These

   10   ballots were counted after visual inspection, whereas many

   11   ballots without a secrecy sleeve were placed in the problem

   12   ballot box.     He found this, quote, perplexing and raised

   13   concerns that some ballots were being marked as, quote, problem

   14   ballots based on who the person had voted for."

   15               I would like to know if counsel would agree that

   16   Larsen being perplexed and his stated concern do not serve as

   17   evidence that ballots were placed in the problem box because of

   18   who the vote was for.      I mean can anyone agree to that,

   19   Mr. Campbell?

   20               MR. CAMPBELL:     I can't agree to what you have said,

   21   that somehow the word "perplexed," as describing his

   22   circumstances, undercuts any of the evidence that's there, and

   23   it should be perplexing that somebody is picking the troubled

   24   ballots or the questioned ballots based on who's being voted

   25   for.

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5474 Filed 07/16/21 Page 172 172
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1               THE COURT:    And you think being perplexed by an

    2   observation is sufficient enough to get into court?            It's

    3   sufficient to support an affidavit?         Do you feel that that

    4   constitutes evidentiary support, sir?

    5               MR. CAMPBELL:     Absolutely in this case without --

    6               THE COURT:    Wow, okay.

    7               MR. CAMPBELL:     Matters that are there -- I'm shocked

    8   to hear a suggestion to the contrary.

    9               THE COURT:    Yeah.   Okay.   And you're -- and this is

   10   based on your theory that all of these affidavits need to be

   11   viewed in context; right?

   12               MR. CAMPBELL:     All of them need to be viewed in

   13   context, of course, your Honor.        How else would you do it?

   14               THE COURT:    I'm looking at the -- I'm looking at

   15   them, in fact, individually.       I understand --

   16               MR. CAMPBELL:     Right, not in context.      That's very

   17   clear, Judge.

   18               THE COURT:    Good, good, because I feel that every

   19   affidavit that is going to be submitted in support of any of

   20   these claims, there has to be a minimal belief on the part of

   21   counsel that these allegations are rooted in fact, and --

   22               MR. CAMPBELL:     And I think that's very clear.

   23               THE COURT:    Excuse me, excuse me.

   24               If you have language in an affidavit that is vague,

   25   and it's clear that this language is -- this is based on his

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5475 Filed 07/16/21 Page 173 173
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   own belief.     He sees something that looks a little different

    2   for him so he's perplexed by it.        That's quite a low standard

    3   for submission of an affidavit, but I will move on.

    4               MR. CAMPBELL:     He's perplexed --

    5               THE COURT:    My plan --

    6               MR. CAMPBELL:     No, no, your Honor, he's perplexed

    7   because there appears to be a choice on which ballots get

    8   questions and which don't.       That -- again, if this is the

    9   subjective nature in which this Court is going to view the

   10   sanctions questions, which usually are objective, what can I

   11   do?   But objectively, seriously, the word "perplexed" is what

   12   you think is worth the time and effort of the -- all the

   13   lawyers, your staff on this proceeding to talk about sanctions?

   14               THE COURT:    And I asked you:     Did you really think

   15   that it was worth it to file in support of your claims that

   16   have taken up the time, energy, and space over these last

   17   several months?     So I would caution you to do not question my

   18   procedure.    I'm here to question what you've done, sir.          I'm

   19   here to evaluate.      Hear me out --

   20               MR. CAMPBELL:     And I am not a potted plant.

   21               THE COURT:    I'm here to evaluate --

   22               MR. CAMPBELL:     I am not a potted plant.      I will

   23   represent my client --

   24               THE COURT:    That is quite fine, but you -- don't

   25   worry about what I'm doing at this point.          You are here to

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5476 Filed 07/16/21 Page 174 174
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   answer my questions.

    2               Mr. Fink.

    3               MR. DAVID FINK:     Judge, it's probably not my place to

    4   say this, but I'm concerned by the disrespect for the Court

    5   that Mr. Campbell is showing, particularly in light of the

    6   history of this litigation and how patient the Court has been.

    7   I want to make a quick comment that the reason that "perplexed"

    8   is such a significant reference in this particular affidavit.

    9   This is the affidavit of an individual who claims to have

   10   served as an assistant attorney general, claims to have some

   11   expertise in this area, claims to understand election law.            For

   12   him to then just say he's perplexed by something rather than

   13   actually explaining where he sees some violation of law or

   14   practice.    We thought that was significant when we saw it a

   15   long time ago.

   16               My concern goes back to the same issue all along, and

   17   I'll get out and I'll stop here, which is just some diligence

   18   should have been applied.       What diligence is due might be a

   19   question for the Court, but not when there's no diligence at

   20   all, and, in this case, Mr. Larsen's affidavit had already been

   21   reviewed by Judge Kenney, and, in many respects, rejected and

   22   counsel should have been, I believe, to our case, I believe

   23   that counsel should have undertaken a serious inquiry to

   24   determine the facts before making all of these allegations.

   25               MS. HALLER:    Mr. Fink, we are available for an

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5477 Filed 07/16/21 Page 175 175
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   evidentiary hearing, as we stand by every affidavit and

    2   document in this complaint.       We did not file false statements.

    3   We made the documents clearly identified as they were.            We did

    4   not alter documents, and any allegations that we have done

    5   something that is improper really lacks foundation, and I would

    6   just generally say that going through each affidavit or each

    7   paragraph in the complaint, we'll do so as your Honor requests.

    8   I would, just for clarity, for efficiency sake, ask that we --

    9   if we can put it up side by side with the hearing so we can see

   10   where the paragraph is that we're talking about.

   11               THE COURT:    We'll try to do that.      I have to admit

   12   that I'm a little surprised that counsel is coming to a

   13   sanctions hearing and does not have the documents that they

   14   themselves filed in fronts of them to be able to answer these

   15   questions, but, be that as it may, we will try to do what we

   16   can in terms of screen sharing.

   17               Yes, Mr. Campbell.

   18               MR. CAMPBELL:     Judge, you're aware that you began

   19   this sanction hearing by saying it was your announcement of a

   20   show cause here today.      These types of questions that you've

   21   asked were not raised by the Defendants in their proceedings,

   22   and, again, there's been a lot of opportunities for them to

   23   submit things.     So I don't believe that statement about

   24   surprise or suggesting in any way that we've come here

   25   unprepared to look at the things that the Court wants us to be

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5478 Filed 07/16/21 Page 176 176
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   directed towards, and, again, you have had all sorts of

    2   opportunities to speak with the people who were responsible for

    3   putting together this complaint and all of the attorneys who

    4   stand behind its filing.

    5               THE COURT:    All right.    Thank you.

    6               I'm going to now go to the affidavit of

    7   Mr. Gustafson.     That's set forth at ECF Number 6-4 at PDF Pages

    8   48-49.

    9               Now, Plaintiffs allege that unsecured ballots arrived

   10   at the TCF Center loading garage, not in sealed ballot boxes,

   11   without any chain of custody and without envelopes, after the

   12   8:00 p.m. election day deadline.        They provide three pieces of

   13   evidentiary support, and I want to look first at the Gustafson

   14   affidavit.

   15               That affidavit states, "Large quantities of ballots

   16   were delivered to the TCF Center" -- here we go.           Here we go.

   17   "Large quantities of ballots were delivered to the TCF Center

   18   in what appeared to be mail bins with open tops.           These ballot

   19   bins and containers did not have lids, were not sealed and did

   20   not have the capability of having a metal seal.           The ballot

   21   bins were not marked or identified any way to indicate their

   22   source of origin."

   23               My question to counsel at this point is:         What is

   24   counsel's understanding of Michigan's requirements as to the

   25   container ballots and how they are to be transported after

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5479 Filed 07/16/21 Page 177 177
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   they've been removed from the ballot drop boxes?

    2               In other words, what do you understand about the

    3   requirements here for ballot bins?

    4               MS. HALLER:    Your Honor.

    5               THE COURT:    Yes.

    6               MS. HALLER:    I would just say we do not purport to be

    7   experts in Michigan's process, but I would point out that these

    8   exhibits are -- these Larsen and Gustafson are exhibits to a

    9   filing in the Constantino case, which is attached to the

   10   complaint.    It's one of the exhibits that I believe your Honor

   11   is referencing.     Note that these are exhibits for the Court and

   12   information that has been found in another court of law just --

   13               THE COURT:    As has been stated, Ms. Haller, a few

   14   times, and again --

   15               MS. HALLER:    We're going to a different document,

   16   your Honor.

   17               THE COURT:    Well, I mean yeah, but we're still

   18   dealing with the same kind of scenario with affidavits having

   19   been filed.     Are you saying this particular affidavit was filed

   20   in the Constantino case?

   21               MS. HALLER:    Yes.   I'm saying this is Exhibit 6-4B.

   22   I believe it's B, as opposed to Larsen, which is A, and then

   23   there's a C, in that these are exhibits to a filing by

   24   Constantino, which the whole thing was attached.

   25               THE COURT:    Okay.   Again, I think, again, the Court

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5480 Filed 07/16/21 Page 178 178
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   and counsel have a different view, and that's clear throughout

    2   this hearing, as to what obligations, and, again, I really just

    3   want to clarify that the Court -- I know that none of us are

    4   experts in election.      We're not necessarily experts in Michigan

    5   election process, but the bottom line is is that if you're

    6   going to file an affidavit, in this Court's view, there should

    7   be some general understanding of the process such that when you

    8   see a statement by an affiant that you're willing to submit as

    9   evidentiary support, is that not why an affidavit is being

   10   filed?

   11               If you have not asked at least the minimal questions,

   12   you know, I find that problematic, and I'm just trying to

   13   determine the level of inquiry that has been made here, and I

   14   really do think that that's a misunderstanding that counsel has

   15   in terms of where the Court is going, and I -- and I won't

   16   entertain, at this point, any argument as to why you would

   17   think that that's an inappropriate inquiry, because I feel that

   18   it is an appropriate inquiry.

   19               Mr. Fink?

   20               MR. DAVID FINK:     Yes, your Honor.     This allegation by

   21   Mr. Gustafson -- as stated by Mr. Gustafson, occurred in the

   22   Constantino case, and so, in that case, on November 11th, Chris

   23   Thomas -- Christopher Thomas did file an affidavit explaining

   24   that there is no requirement that ballots be transported in

   25   sealed ballot boxes.      He's not aware of any jurisdiction in

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5481 Filed 07/16/21 Page 179 179
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   Michigan sealing these ballots prior to election day and

    2   employees bringing the ballots would bring the ballots to the

    3   TCF Center, consistent with chain of custody.          They weren't

    4   just left out someplace, but that's a factual statement.            I

    5   could be wrong.     I don't think I am, but I could be wrong, but

    6   what's important they certainly were on inquiry notice.

    7               Once this affidavit was filed by Mr. Thomas, once

    8   they'd seen this other litigation, two weeks before they filed

    9   their case, all they had to do is ask and if they'd asked any

   10   election official in Michigan, any clerk in Michigan would have

   11   told them we don't even have sealed ballots for transferring

   12   ballots around.     After the vote count, yes, you seal the

   13   ballots, but before the vote count, you can't seal the ballots,

   14   and they're not sealed and they're not transported that way.

   15   It's them saying "we are not experts" tells us all we need to

   16   know.    They didn't get experts.      They're not experts, and,

   17   nonetheless, they threw this information in front of the Court,

   18   hoping something would stick, in the most important litigation

   19   imaginable.

   20               THE COURT:    Thank you, Mr. Fink.      Mr. Campbell?

   21               MR. CAMPBELL:     I hear Mr. Fink not taking any issue

   22   with the facts that are described in the affidavit.            I'm not --

   23               MR. DAVID FINK:     Right, they don't mean anything.

   24   I'm sorry, I didn't mean to respond.

   25               MR. CAMPBELL:     They mean something.     Somebody has to

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5482 Filed 07/16/21 Page 180 180
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   say it, right, and all you did is produce another affidavit

    2   that said, yeah, that's what was done, but until the first

    3   person said it, the second person didn't comment on it, and I

    4   think you can take some notice that things that are unsealed,

    5   that things are unprotected, the things that are not -- that

    6   are handled in the manner that even Chris Thomas says -- you

    7   know, I never met Chris Thomas.        He's not here.     We don't even

    8   have the chance of going over his affidavit in this kind of

    9   detail.    Love to do that in an evidentiary hearing, but, again,

   10   all this is is a fact of what somebody saw, and, in fact, it

   11   appears that you're here to testify that it's true.            So how is

   12   it -- what more diligence was needed to produce a truthful

   13   affidavit from you?

   14               Apologize, I should not have asked him the question.

   15               THE COURT:    All right.    Let me --

   16               MR. DAVID FINK:     I can speak to it, only if the Court

   17   wants to.

   18               THE COURT:    Yeah, let me say, again, I feel like I

   19   have to respond again that, you know, I need to point out here

   20   that my concern is is that counsel here has submitted

   21   affidavits to suggest and make the public believe that there

   22   was something wrong with the election.         Isn't that what this is

   23   all about?    That's what these are affidavits are designed to

   24   do, to show that there was something wrong in Michigan.            There

   25   was something wrong in Wayne County.         These are the

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5483 Filed 07/16/21 Page 181 181
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   observations of what took place at the TCF Center.

    2               I am simply taking those affidavits, which counsel

    3   submitted, in support of the general proposition that there was

    4   fraud in the Michigan election.        I'm looking at that, looking

    5   at the language of the affidavit and saying is that what this

    6   even says?    What level of inquiry have you made to even know --

    7   I mean, you know, what -- for a person who doesn't have a lot

    8   of experience, maybe they -- some of them, of course, I know

    9   the poll challengers went through a training, and so -- but the

   10   bottom line is is that if you see something and you're not that

   11   familiar with the process, it doesn't always mean that what

   12   you're seeing is what you think you're seeing.          It doesn't

   13   matter that -- it doesn't always mean that what you see as

   14   being odd, that it is in fact odd if you don't know the

   15   process.

   16               All I'm asking, counsel, is if you took the time to

   17   look at those affidavits and say, well, wait a minute, there

   18   might be something here in the sense of is that part of

   19   Michigan's process?      I want -- that's my question:       Were those

   20   -- that type of inquiry made?        And it's a germane question,

   21   because the premise of this lawsuit is is that Michigan

   22   election was fraudulent.

   23               All right.    So, Mr. Kleinhendler, I'm sorry, sir,

   24   Mr. Kleinhendler.

   25               MR. KLEINHENDLER:     Yes, your Honor.

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5484 Filed 07/16/21 Page 182 182
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1               THE COURT:    You may comment briefly, sir, and then

    2   I'm going to move on.

    3               MR. KLEINHENDLER:     I can't say -- I reviewed some of

    4   these affidavits.      I had people working with me reviewed every

    5   single one.     I believe we did speak to some of them.        I think

    6   we did speak to some of the attorneys, at least that was my

    7   understanding, and, with regard to your specific question, it's

    8   just basic knowledge when you're transporting a bunch of

    9   documents in an unsealed container that can be tampered with

   10   from a remote location, that raises a suspicion.           Whether it's

   11   required under Michigan law or not, it's completely irrelevant.

   12   We're not saying here even that Michigan poll workers knew that

   13   they might be doing something wrong.         We have alleged here that

   14   there was things going on that maybe even some of the workers

   15   themselves unknowingly let slide, and so I want to make that

   16   point clear.     If you're bringing something from far away and

   17   it's open, that raises an issue.        Your Honor, if I handed you a

   18   can of Coke that was open and I told you don't worry I didn't

   19   drink from it --

   20               THE COURT:    These are elections that have been run in

   21   the state of Michigan for years.        The analogy is certainly not

   22   on point, sir; it is not.

   23               MR. KLEINHENDLER:     The second point -- well, the

   24   second point I'd like to raise is the notion that we filed this

   25   lawsuit as some kind of public relations.          That is not correct.

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5485 Filed 07/16/21 Page 183 183
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   We filed this lawsuit on behalf of clients, who were electors,

    2   who asked us to file this lawsuit.        What the public did with it

    3   or didn't do it with it is beyond our control, and I reject,

    4   categorically, the mantra you've heard in the papers and you're

    5   hearing again now that we did this as a publicity stunt.            I

    6   reject that wholeheartedly, your Honor.         We did not.    We filed

    7   it on behalf of Plaintiffs who asked us to file it, and I'd

    8   like to make that point clear.

    9               THE COURT:    Okay.   And, you know, again, the analysis

   10   will always be -- part of the analysis, in certain of the

   11   sanctions that are available to the Court, is was the purpose

   12   for which the lawsuit was filed, was it an improper purpose,

   13   and this is also -- you know, I think that things can also be

   14   drawn from the amount of effort that you put into a lawsuit in

   15   terms of what are you really trying to do, you know, and I've

   16   not drawn any conclusions at this point, but I am trying to,

   17   again, drill down --

   18               MR. KLEINHENDLER:     Your Honor, I just want to leave

   19   you --

   20               THE COURT:    Excuse me, Mr. Kleinhendler.

   21               MR. KLEINHENDLER:     -- with --

   22               THE COURT:    I have not finished.

   23               I am trying to drill down as to the level of inquiry

   24   that was made by counsel in these multiple affidavits, all

   25   right, and there is no way that I could not do that and then

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5486 Filed 07/16/21 Page 184 184
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   put myself in a position where I could accurately assess

    2   whether behavior here has been sanctionable, and when I say

    3   here, I'm talking about through the course of the litigation.

    4               All right.    I am going to move on, counsel, to the

    5   Meyers' affidavit and Meyers -- part of the amended complaint,

    6   it is stated that Meyers -- I'm sorry, let me give you, it's

    7   ECF 6-3.    This is the Meyers affidavit at PDF Pages 130-131.

    8   Per the amended complaint, Plaintiff states, "Meyers

    9   observed" -- Meyers "observed passengers in cars dropping off

   10   more ballots than there were people in the car."

   11               In Michigan, may people other than the voter drop off

   12   a ballot?    Is that allowable in Michigan, to have someone,

   13   other than the person who has voted, drop off a ballot for

   14   someone?    That's my question.

   15               MR. CAMPBELL:     The answer is that you can deliver

   16   somebody else's ballot.

   17               THE COURT:    Right.

   18               MR. CAMPBELL:     If it's legally voted, it should be

   19   legally counted.

   20               THE COURT:    All right.    I want to point everyone's

   21   attention to the next affidavit, which is the Ciantar --

   22   certainly, I'm certain I botched this person's name.           I

   23   apologize.    I will spell it.     It is C-i-a-n-t-a-r, set forth at

   24   ECF Number 6-7 at Page ID 1312-14.        There it is right there.

   25               And the amended complaint states that Mr. Ciantar,

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5487 Filed 07/16/21 Page 185 185
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   independent -- "independently witnessed," while walking his

    2   dog, a young couple deliver three to four large plastic clear

    3   bags that appeared to be, "express bags," as reflected in

    4   photographs taken contemporaneously, to a U.S. postal vehicle

    5   waiting.    The use of clear express bags is consistent with

    6   the -- there's a whistleblower complaint that's been referenced

    7   in the context of this lawsuit.        I have not ever seen any

    8   underlying documents, but it's a whistleblower suit by a U.S.

    9   Postal Service worker, Jonathan Clark.

   10               Putting aside the fact that Plaintiffs have not

   11   provided any evidence, as I just stated, regarding the postal

   12   service whistleblower claim, here are a few excerpts from the

   13   Ciantar affidavit which are now on the screen.

   14               "I witnessed a young couple pull into the parking lot

   15   of post office and proceed to exit their van, had no markings,

   16   and open up the back hatch and proceed to take three to four

   17   very large clear plastic bags out and walk them over to a

   18   running postal service vehicle that appeared as if it was

   19   'waiting' for them."

   20               Let me go further.     "There was no interaction between

   21   the couple and any postal service employee, which I felt was

   22   very odd.    They did not walk inside the post office like a

   23   normal customer to drop off mail.        It was as if the postal

   24   worker was told to meet and stand by until these large bags

   25   arrived."

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5488 Filed 07/16/21 Page 186 186
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1               "As you can see in the pictures," the affidavit goes

    2   on to say, "the bags were clear plastic with markings in black

    3   on the bag, and on the inside of these clear bags was another

    4   plastic bag that was not clear, could not see what was inside.

    5   There were markings on the clear bag and what looked like a

    6   black security zip tie on each bag, as if it were tamper

    7   evident, as if it were a tamper type of device to secure the

    8   bag.   This looked odd.     What I witnessed and considered that

    9   what could be in those bags could be ballots going to the TCF

   10   Center or coming from the TCF Center."

   11               Now, this is quite a -- I don't -- I don't think I've

   12   really ever seen an affidavit that has made so many leaps.

   13   This is really fantastical.       So my question to counsel here is:

   14   How can you, as officers of the Court, present this type of an

   15   affidavit?    This is pure -- is there anything in here that's

   16   not speculative, other than the fact that the individual saw

   17   individuals with plastic bags?        They don't know what were in

   18   them, happened to be located at the post office, and then

   19   there's a leap made there.       Someone answer that question for

   20   the Court.

   21               Ms. Haller.    Thank you.

   22               MS. HALLER:    Yes, your Honor.     The witness is stating

   23   or setting forth exactly what he observed and his information

   24   that he bases it on and he includes pictures.

   25               THE COURT:    What --

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5489 Filed 07/16/21 Page 187 187
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1               MS. HALLER:    He does not say more.      He does not say

    2   less than what he knows to be true.         It is a true affidavit.

    3   It is a person with some information, and he is setting forth

    4   that information.      When we put the case together, we put forth

    5   a pattern of evidence that shows fraud.         So it's a pattern of

    6   evidence that comes together, and this is one piece of a

    7   pattern.    He is testifying, in his sworn statement, as to what

    8   he knows to be true.      He saw these plastic bags.       He's

    9   explaining what he saw, and he takes pictures of them.

   10               THE COURT:    Okay.

   11               MS. HALLER:    I would submit, your Honor, that it's

   12   not fantastical.     It's simply what he knew to be true.

   13               THE COURT:    You think that he is actually thinking --

   14   do you think, by the language in the affidavit, Ms. Haller,

   15   that he is actually stating that he believes his conclusions to

   16   be true when he says things like "could be, it appeared as if

   17   they might have been waiting for him."         Where is the truth in

   18   that?    I mean this is pure speculation.

   19               All right.    Let me move on.

   20               MS. HALLER:    It's in the --

   21               THE COURT:    Is there any -- Ms. Haller.

   22               MS. HALLER:    Your Honor --

   23               THE COURT:    Let me ask you this question:        Was there

   24   any information -- what information did the affiant have to

   25   make any of these conclusions in his affidavit?           I mean

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5490 Filed 07/16/21 Page 188 188
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   we're -- stay with me.

    2               MS. HALLER:    He was speaking in the present tense and

    3   he took photos.     So he saw what he saw and he documented it as

    4   he did, and we don't typically rewrite what an affiant says.

    5               THE COURT:    But don't we also as -- doesn't counsel

    6   also have an obligation to evaluate that and say, "What is this

    7   actually going to prove?"       He's -- he has made conclusions

    8   based upon what he's observed, but there is clearly, within

    9   this affidavit, nothing to support those conclusions.            This is

   10   what he has -- what else is there?        This is anybody driving

   11   down a street and seeing somebody with plastic bags.           You

   12   automatically jump to the point, and, most importantly,

   13   Ms. Haller, counsel, what is your duty here?          You said you

   14   don't rewrite the observations --

   15               MS. HALLER:    (Indiscernible.)

   16               THE COURT:    Absolutely not.

   17               MS. HALLER:    But your Honor --

   18               THE COURT:    Ms. Haller, let me ask this final

   19   question and then I'll let you speak.

   20               My question to you is:      At what point do you have

   21   that duty to say, you know what, there's really not enough

   22   here?    You don't feel that -- I mean at what point do you say

   23   that?

   24               MS. HALLER:    May I respond, your Honor?

   25               THE COURT:    Yes, please do.

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5491 Filed 07/16/21 Page 189 189
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1               MS. HALLER:    I would simply submit that we identified

    2   a witness as a potential source in a complaint to support

    3   information that we would then hope to call that person as a

    4   witness who would testify, would be anticipated to be testify

    5   in accordance with what he or she had stated in a declaration

    6   or affidavit.     This particular witness did not jump to any

    7   conclusions and made that clear in his affidavit, and he did

    8   believe -- I believe he believed that he saw ballots, but I

    9   think he was hesitant to actually express that, and his

   10   hesitancy comes through in his declaration, but there's nothing

   11   untruthful about what he says.

   12               THE COURT:    All right.    I saw another hand up.      All

   13   right.

   14               THE CLERK:    It was Ms. Powell, your Honor.

   15               THE COURT:    Ms. Powell, yes, and then I'll get to

   16   you.

   17               Ms. Powell, yes, ma'am.

   18               MS. POWELL:    Yes, we filed a massive and detailed

   19   complaint in federal court that doesn't even require us to

   20   append affidavits to.

   21               THE COURT:    Right.

   22               MS. POWELL:    The very fact that we filed 960 pages of

   23   affidavits with the complaint shows extraordinary due diligence

   24   on our part.     Virtually, every question the Court has raised

   25   about these affidavits calls into question the veracity of the

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5492 Filed 07/16/21 Page 190 190
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   affiants, and the only way to test that is in the crucible of a

    2   trial or an evidentiary hearing, which the Court has denied at

    3   every stage.

    4               THE COURT:    All right.     Well, let me say volume,

    5   certainly for this Court, doesn't equate with legitimacy or

    6   veracity.    So please understand that is certainly my position.

    7               Mr. Kleinhendler.

    8               MR. KLEINHENDLER:     Yes, your Honor.

    9               THE COURT:    Very briefly, sir.

   10               MR. KLEINHENDLER:     Yes.

   11               THE COURT:    Very briefly.

   12               MR. KLEINHENDLER:     Yes, with regard to this specific

   13   affidavit.

   14               THE COURT:    Yes, sir.

   15               MR. KLEINHENDLER:     We have amassed evidence in

   16   Pennsylvania, and we've actually -- we can present it to the

   17   Court, I think we have, where there was proof positive evidence

   18   of United States Postal Service collusion and malfeasance in

   19   connection with the delivery of ballots.

   20               THE COURT:    Oh, so that's why you thought that was --

   21               MR. KLEINHENDLER:     I'm giving you my impression on

   22   this specific affidavit, where it seems to you to appear

   23   bizarre to, you know, why -- you know what's the big deal, and

   24   I'm telling you, your Honor, in good faith, that prior to

   25   filing this, we have evidence that these very clear reports

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5493 Filed 07/16/21 Page 191 191
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   that, in connection with Pennsylvania, there was malfeasance in

    2   connection with the United States Postal Service.           So when I

    3   looked at this or when I heard about it, it did not appear

    4   unusual to me.

    5               Now, we could have -- you know, we could have a

    6   discussion of what that evidence is.         I don't want to get into

    7   it now, but I want to make the point for the record, we had

    8   clear, very credible evidence that the United States Postal

    9   Service, believe it or not, had mishandled, had done illegal

   10   acts in connection with the ballots that they delivered in the

   11   2020 presidential election.

   12               THE COURT:    Got it.    Mr. Fink.

   13               Let me just ask one last question of you.          The

   14   reports are based on this kind of spec -- well, I just -- let

   15   me ask you this:     Did you -- is there a reason that you did not

   16   submit that other evidence on the postal service, which is

   17   quite, quite an inflammatory claim?         Is there a reason you did

   18   not submit any evidence on that?

   19               MR. KLEINHENDLER:     Your Honor.

   20               THE COURT:    Yes, sir.

   21               MR. KLEINHENDLER:     I believe at the time that we

   22   filed this complaint, we just had reports.          We had one

   23   whistleblower, who I believe we had interviewed.           It wasn't yet

   24   hard enough, your Honor, what I would call hard evidence.

   25   However, however, should there be an evidentiary hearing at

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5494 Filed 07/16/21 Page 192 192
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   this point, we have the who, what, and where of what happened

    2   in Pennsylvania.

    3               THE COURT:    All right.

    4               MR. KLEINHENDLER:     What and where.

    5               THE COURT:    Mr. Fink, quickly.

    6               MR. DAVID FINK:     Your Honor, if I may.      We are in the

    7   state of Michigan; we are not in Pennsylvania, and in the state

    8   of Michigan, they made this allegation based on some paranoid

    9   delusions of some witness, who never even gets to a punchline.

   10   The fact is, if they've got evidence, and he says they've got

   11   evidence, it should have been in the complaint.           If they don't

   12   have evidence or if they don't have direct allegations, then

   13   they shouldn't throw out these miscellaneous defamatory and,

   14   frankly, phony allegations.

   15               Now, this might all be true.       If you read it closely,

   16   what it says is absolutely nothing, but it does fuel the fires

   17   of the online conspirators and conspiracy theorists who want to

   18   reprocess and use this to support their efforts, and that's

   19   what happened here.      We'll get back to that later, but this was

   20   not an accident.     This was not a case -- I'm sorry, let me just

   21   finish this one thought.       I apologize, your Honor.

   22               If they don't make out a legal theory with the facts

   23   they're presenting, it's right for the Court to ask why they're

   24   presenting the facts, and we'll get to that at the end.

   25               THE COURT:    Let me -- I'm very close to counsel

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5495 Filed 07/16/21 Page 193 193
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   wrapping up, and what that will mean for you is is that you'll

    2   have an opportunity to, very briefly, address the Court on

    3   anything that you might want to clarify, just a closing

    4   statement.    Please do not rehash, but based upon what has been

    5   discussed here today, but before I do that, I wanted to address

    6   Ms. Lambert Junttila.      Are you still with us?

    7               MS. LAMBERT:    Yes, your Honor, I'm here.

    8               THE COURT:    Thank you so much.     And so in your latest

    9   filing, you state that "Plaintiffs' counsel had a First

   10   Amendment right to bring this election challenge and,

   11   therefore, they could not be subjected to sanction."           You

   12   further state, Counselor, that "The U.S. Supreme Court cases

   13   that support this argument are just too numerous to mention,

   14   and any attempt to string cite them here would be insulting to

   15   all involved."

   16               I will not be insulted.      I will not be insulted.      If

   17   you can tell me whether the First Amendment prevents sanction

   18   -- well, let me just start here in terms of is there a point

   19   where a lawyers' conduct becomes sanctionable and is no longer

   20   protected by the First Amendment?        Because you seem --

   21               MS. LAMBERT:    Your Honor --

   22               THE COURT:    -- to be quite --

   23               MS. LAMBERT:    Thank you, Judge, and I appreciate the

   24   opportunity.     The purpose of this lawsuit, I heard the Court

   25   address it earlier, whether or not it was an improper purpose

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5496 Filed 07/16/21 Page 194 194
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   or to -- the premise of it was to show that the Michigan

    2   election was fraudulent.       I think that these suits are critical

    3   to our country to show that every vote counts and ensure that

    4   every vote counts as it's intended to count.          It's not a

    5   partisan issue to me.      Everyone should be able to bring

    6   lawsuits to ensure election integrity, and the court system is

    7   the appropriate place to bring those suits.

    8               With regards to this particular case, the Court

    9   didn't hear much about my role.        I filed the notice of appeal

   10   before the Court.      Sidney Powell was lead counsel on this case.

   11   I've spoken with her no more than two times for brief

   12   conversations.     I've had a number of conversations with Howard

   13   Kleinhendler, and all pleadings and briefs were prepared by

   14   Howard and Sidney.      Even e-mail responses to opposing counsel,

   15   I would check with them to see how they wanted me to respond

   16   and then I would respond.

   17               I viewed my role as the local attorney.         It was my

   18   understanding that they would apply to be admitted to the bar

   19   in the Eastern District of Michigan.         I know this case was only

   20   alive for essentially seven days before this Court before it

   21   was appealed.

   22               So does that answer the Court's question?

   23               THE COURT:    No, and thank you for letting me say that

   24   and give you -- let me restate.        Again, pertaining to your

   25   position that Plaintiffs' counsel had a First Amendment right

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5497 Filed 07/16/21 Page 195 195
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   to bring this election challenge, my question to you, because I

    2   find that the brief itself is extremely broad as to what you

    3   consider to be an attorney's First Amendment right, in their

    4   capacity as an attorney, in a courtroom, and my question to you

    5   is:   Is there a point where a lawyer's conduct becomes

    6   sanctionable and is no longer protected by the First Amendment,

    7   or are you speaking of a right that is completely unbridled?

    8   Help me.

    9               MS. LAMBERT:    Your Honor, I think that an attorney's

   10   obligation is to be an advocate for their client, and as long

   11   the attorney is putting forth accurate pleadings, accurate

   12   information before the Court, which I have done, that, no, it

   13   is protected by the First Amendment and it would be

   14   unconstitutional, and the Court is the appropriate place to

   15   redress grievances.

   16               THE COURT:    Let me just -- I want you to take some

   17   time and look at -- this is a case from the Sixth Circuit.

   18   It's the Mezibob case, which you, I'm certain are familiar

   19   with, versus Allen at 411 Fed 3rd 712.

   20               And the Supreme Court has noted that "It is

   21   unquestionable that in the courtroom itself, whatever right to

   22   free speech an attorney has is extremely circumscribed.

   23   Furthermore, it appears that no circuit court has ever granted

   24   an attorney relief under the First Amendment for this narrow

   25   category of speech, because an attorney, by the very nature of

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5498 Filed 07/16/21 Page 196 196
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   his job, voluntarily agrees to relinquish his right to free

    2   expression in the judicial proceeding.         Our Sixth Circuit sees

    3   no basis for concluding that free speech rights are violated by

    4   a restriction on that expression.        In filing motions and

    5   advocating for clients in court, an attorney is not engaged in

    6   free expression.     She is simply doing her job."

    7               And I think that is -- I was concerned, and you have

    8   not done anything to put aside my concerns, Ms. Lambert, that

    9   there is in fact, that is a circumscribed right that an

   10   attorney has when they are acting in a capacity as a lawyer in

   11   a courtroom.

   12               All right.    So that is, counsel, where I'm going to

   13   leave my questions here at this point, and what I would like to

   14   do is to give counsel an opportunity, and I'll tell you the

   15   order in which this may proceed, an opportunity to just give

   16   some closing remarks and let the Court know if there's anything

   17   that you would want to clarify, and I also would like to ask

   18   each of you, if you feel that there is any basis upon which a

   19   supplemental briefing would be helpful to this Court, based

   20   upon what has been discussed today.         Please think long and hard

   21   about that, because we've killed a lot of trees here, and so we

   22   just -- we really want to know, you know, if you think it is

   23   something that would be beneficial to the Court.           All right.

   24               So let me begin with hearing from Plaintiffs'

   25   counsel, and I'm going to start with Mr. Campbell.

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5499 Filed 07/16/21 Page 197 197
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1               MR. CAMPBELL:     So I understand, your Honor, this is

    2   the Defendants' motion but you're asking me to go first.

    3               THE COURT:    Yeah, I am.

    4               MR. CAMPBELL:     I'm prepared to do so.

    5               THE COURT:    I figured that you would.

    6               MR. CAMPBELL:     Thank you.    The right to vote, quote,

    7   the right to vote is among the most sacred rights of our

    8   democracy, and, in turn, uniquely defines us as Americans.

    9               Judge, I'm sure you like that, because you wrote

   10   that.    That was the opening line of your 36-page opinion and

   11   order denying the motion for injunctive relief, and I

   12   appreciate the Court's point, but, respectfully, that statement

   13   stops short of capturing what actually uniquely defines us as

   14   Americans.

   15               History shows us that the totalitarian regimes and

   16   authoritarian rulers gladly let their subjects vote.           Nazi

   17   Germany had plebiscites.       The Soviet Union held regular

   18   elections, and even Hugo Chavez was happy to let folks vote for

   19   him and touted himself as being popularly elected.

   20               What separates our republic from the totalitarian and

   21   authoritarian regimes is our system of checks and balances

   22   created by the founders and preserved by generations.            That

   23   guarantees each citizen a right to petition and redress

   24   grievances and to challenge to the judicial branch the

   25   executive's conduct of an election.

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5500 Filed 07/16/21 Page 198 198
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1         To ensure that each of our votes count, every vote must be

    2   legally and properly counted.        It is this system of voting,

    3   counting, and challenging that the public can draw confidence

    4   from, and they usually do.

    5         This Court has recognized and articulated the importance

    6   of both capturing legal votes on a properly counting them.

    7   That's the Stein V Thomas case cited in our briefing, and I

    8   gave the cite earlier as well, where this Court said, "The

    9   fundamental right invoked by the Plaintiffs the right to vote

   10   and to have that vote conducted and counted accurately is the

   11   bedrock of our nation.      Without elections that are conducted

   12   fairly and perceived to be fairly conducted, public confidence

   13   in our political institutions will swiftly erode."

   14         This lawsuit was an opportunity to challenge whether it

   15   was fairly conducted and to have a decision from this Court on

   16   whether it was and then to move forward.

   17         Twenty years ago in Bush v Gore, the United States Supreme

   18   court, for the first time in our nation's history, exercised

   19   its indispensable role in ensuring fair and accurate counts in

   20   the election of a president.       The Court did not invent that

   21   power for itself.      The power and authority to control the

   22   outcome is firmly rooted in the Constitution.          It did, however

   23   for, the first time, use its power, and it did so all because

   24   one party petitioned for relief.        The relief in 2000 in Bush v

   25   Gore was an order from the Court to the state of Florida to

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5501 Filed 07/16/21 Page 199 199
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   stop counting votes.

    2         In its most straightforward terms, this lawsuit asks, and

    3   especially the injunctive relief asks that this Court order the

    4   State of Michigan, the Secretary of State, to start counting

    5   the votes and for the Governor to hold off announcing a winner

    6   until the court-ordered count was completed.          Your order

    7   labeled the request to be "stunning in scope" or "breathtaking

    8   in its reach."     That came earlier.     I think Mr. Fink provided

    9   us that also.

   10         Respectfully, securing the promise of the cherished right

   11   to vote by having your vote counted with only other legally

   12   cast votes should not be considered so extraordinary.

   13   Certainly, to my clients' clients, it was viewed as

   14   self-evident and fair.      The suit and injunction were not

   15   designed to disenfranchise a single lawful vote, rather, they

   16   were filed to seek the relief promised in the Constitution,

   17   given in Bush v Gore and premised on the good faith desire of

   18   my clients and their clients.

   19         This Court disagreed with the timing of the filing of this

   20   case.    It was, however, filed as soon as it was capable of

   21   being filed.

   22         There may be some additional briefing you'd like on that.

   23         It was filed after the deadline in the state statutes, but

   24   it was largely filed as a federal claim and the due process

   25   grounds.

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5502 Filed 07/16/21 Page 200 200
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1         This Court applied laches to the request for an

    2   injunction, but, as this Court knows, that is an affirmative

    3   defense and does not usually diminish the quality of the claim

    4   made.    This Court found no standing, but, in doing so, adopted

    5   the dissent and not the majority from an Eighth Circuit Court

    6   of Appeals case in denying the injunctive relief.           It cannot be

    7   that this Court would hold that lawyers and litigants will be

    8   sanctioned for essentially not knowing how another circuit's

    9   law would be interpreted before it.

   10         The claims here failed to win the injunction.          They failed

   11   before you, and neither the Sixth Circuit, nor the U.S. Supreme

   12   Court, disturbed your ruling.        That is the law of this case,

   13   and my clients, the lawyers, all understand and respect that.

   14   This Court wrote eloquently, "The Plaintiffs' alleged injuries

   15   do not entitle them to seek their requested remedy, because the

   16   harm of having one's vote invalidated or diluted is not

   17   remedied by denying millions of others their right to vote."

   18         That's Page 25 of your opinion.

   19         This sentiment, and I think it's fair to describe it as

   20   that, because the Court doesn't rely on stare decisis.            It

   21   doesn't cite a case for this point, can be read differently in

   22   the case law of the United States Supreme Court.           Good lawyers,

   23   my lawyers, could easily read a different view in Bush v Gore,

   24   when the Court there said, "The right to vote is protected in

   25   more than the initial allocation of the franchise.           Equal

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5503 Filed 07/16/21 Page 201 201
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   protection applies as well to the manner of its exercise.

    2   Having once granted the right to vote on equal terms, the state

    3   may not later arbitrarily or disparagingly in treatment value

    4   one person's vote over that of another."

    5         And that's 531 U.S. 98 at 104 and 105.

    6         The Plaintiffs are electors and voters.         Your ruling can

    7   be fairly read to say that diluting one vote might be okay or

    8   even some votes.     This concept of one vote might cost others

    9   theirs.    My clients and their clients read the precedent

   10   differently.     That should not be sanctionable.

   11         City of Detroit argues in their brief that the Plaintiffs

   12   bringing the action raised doubts in minds of millions of

   13   Americans about the legitimacy of the 2020 presidential

   14   election.    So let's get this right, part of the executive is

   15   saying that court filing somehow create doubts.           The fact is

   16   that folks doubted this election.        It happened.     Folks doubted

   17   the 2016 election.      We saw in Stein versus Thomas.       Folks

   18   doubted the 2000 election, Bush v Gore, and I grew up, as many

   19   ever us, did hearing the rumors, that were more than doubts,

   20   about the 1960 election.

   21         Leaving aside that the doubts come from the way that the

   22   executive conducted its vote and gathered those votes for

   23   counting, Defendants simply have it wrong.          This case was

   24   driven by doubts arising from the eyewitness accounts and the

   25   statistical evidence, and it was merely part of the necessary

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5504 Filed 07/16/21 Page 202 202
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   and proper process intended to settle such doubts.

    2         They followed the precedent.       They followed Common Cause

    3   Georgia versus Kemp, and they brought you statistical evidence

    4   and they brought you witness declarations, but, still, doubling

    5   down, the State says, in ECF 105, "The terrible byproduct of

    6   Plaintiffs and their counsel's efforts is reflected in January

    7   insurrection of our nation's capital."          Civil complaints do

    8   not foment revolution.      Bringing claims based on affidavits

    9   from those who were there and others who were able to study the

   10   available information does not provoke insurrection.

   11         Dismissing eyewitnesses that the Defendants label, in

   12   their pleadings here, as uneducated and denying access to the

   13   courts to those same citizens who seek to have their petitions

   14   heard and grievances redressed is what is dangerous, and it is

   15   contrary to the promise and guarantees of our republic.

   16               THE COURT:    All right, Mr. Campbell.      Thank you.    Let

   17   me ask a question, sir:       Is there anything that you think that

   18   you would like to submit?       Do you think that there will be any

   19   benefit to a supplemental brief on behalf of Plaintiffs'

   20   counsel?

   21               MR. CAMPBELL:     Your Honor, yes is my answer to that.

   22               THE COURT:    What's the issue so I can see if I would

   23   agree with you, sir?

   24               MR. CAMPBELL:     Well, you have highlighted various

   25   portions of affidavits and asked them for context and for an

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5505 Filed 07/16/21 Page 203 203
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   understanding.     You've essentially grabbed several, and, again

    2   I hope you don't find this as an unfair example, but it's my

    3   view, you've held us puzzle pieces, and you've asked us where

    4   does this fit?     Where does this fit?      I think we ought to have

    5   the opportunity to show you the cover of the box that shows

    6   where those pieces fit.       I'm sure that would be helpful.

    7               THE COURT:    Okay.   Let me say this.     Let us continue.

    8   Mr. Buchanan is there anything, sir, you'd like to say on

    9   behalf your client, Ms. Newman?        I understand, sir, your

   10   position that she did not have a lot of involvement in this

   11   matter.

   12               MR. BUCHANAN:     That's all I would have, your Honor.

   13   She didn't sign any pleadings.        She never made an appearance.

   14   There was no intent for her.       She was a contract lawyer, 1099

   15   employee basically, and her role was very limited, and although

   16   Mr. Fink pointed out he sent the motions for sanctions to

   17   Ms. Powell at that address, she never received those, and she

   18   was never given the opportunity, obviously, to make any

   19   decision of how to proceed or not proceed.          I got into this

   20   case just recently because she just received notice of this

   21   hearing.

   22               THE COURT:    Let me ask you --

   23               MR. BUCHANAN:     So --

   24               THE COURT:    I'm sorry, go ahead.

   25               MR. BUCHANAN:     That's it.    Her role was very limited.

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5506 Filed 07/16/21 Page 204 204
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1               THE COURT:    All right.    Thank you, Mr. Buchanan.

    2               Mr. Fink, let me ask you a quick question:         Are you

    3   disputing notice requirements as relates to Mr. Buchanan's

    4   client?

    5               MR. DAVID FINK:     Absolutely, we sent the letter --

    6               THE COURT:    No, no, no, you don't have to.       Thank you

    7   so much.

    8               What I would like to do is give you, Mr. Fink, an

    9   opportunity to provide a supplemental brief on this whole issue

   10   of who knew -- you know, who received notice of your moving for

   11   sanctions, and I would give anyone who feels that they have not

   12   received the notice an opportunity to file a supplemental brief

   13   on that, all right, and we can talk about time frame.            I don't

   14   want to be unfair.

   15               MR. CAMPBELL:     Your Honor, might I make a suggestion?

   16               MR. BUCHANAN:     I have one quick comment.      I'm not

   17   disputing to Mr. Fink's assertion that he sent his motion to

   18   Sidney Powell's office.       The thing is my client was working

   19   from home as a 1099 contract employee.         So you know, as a legal

   20   matter, whether that constitutes notice, I don't know.            I'm

   21   just saying that -- and I'm not questioning Mr. Fink's

   22   representation at all.      I'm just saying that she never received

   23   them after that.

   24               So she played -- had no role in like whether to go

   25   forward or not in this case, or, you know, the Safe Harbor

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5507 Filed 07/16/21 Page 205 205
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   thing, and, most importantly, your Honor, I'm emphasizing -- I

    2   don't know Mr. Fink's disputes this -- she worked five hours on

    3   the matter.     She played a very limited role.       So I don't think

    4   Rule 11 covers that level of involvement.          Thank you.

    5               THE COURT:    Mr. Fink.

    6               MR. DAVID FINK:     Your Honor, we can file a brief --

    7   supplemental brief.      It will just indicate what we did do.        I

    8   believe that we used the address on the pleadings.           We'll see.

    9               THE COURT:    Okay.    So let me do this right.      So, you,

   10   Mr. Fink, I am asking that you file a supplemental brief

   11   identifying those individuals who you believe have received

   12   notice of sanctions and then -- and the time frame in which

   13   those notices were -- that notice was provided, and then

   14   whoever is subject of that brief thing can also respond.

   15               MR. DAVID FINK:     Your Honor, it would be helpful, and

   16   I think probably save some paper and time for everybody, if we

   17   could just find out -- no argument is necessary, but which

   18   Plaintiffs' attorneys claim or believe they did not receive

   19   notice so we'll only address the ones that say they didn't get

   20   notice.    Mr. Wood said something.

   21               THE COURT:    Right.   Mr. Wood.    So he's going to be

   22   able to -- and Mr. Campbell is representing Mr. Wood, correct?

   23               MR. WOOD:    Yes, your Honor.

   24               MR. CAMPBELL:     If anybody is capable of doing that,

   25   but, yes, Judge.

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5508 Filed 07/16/21 Page 206 206
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1               THE COURT:    Okay.   All right.

    2               MR. WOOD:    Judge, what I would say is, based on the

    3   fact that I discern from today's hearing that my position may

    4   be somewhat unique to the others, I'd like to have an

    5   opportunity, and I will do this in conference with

    6   Mr. Campbell, and I may have to get an independent counsel to

    7   file formal documents and pleadings for me to seek a dismissal,

    8   based on lack of jurisdiction and lack of a factual basis upon

    9   which to bring a Rule 11 or a Section 1927 action against me.

   10   So I'd like to be able to address that.

   11               I'd also like to be able to address this issue of

   12   notice.    I've already indicated I did not receive it.          So I'd

   13   like to have a couple of weeks, because if I have to get

   14   separate counsel, that will take sometime to get them up to

   15   speed.    I would say this, that if you have all the Plaintiffs'

   16   lawyers here, and if you ask them whether I asked to provide

   17   substantive input into the pleadings, I think they'll tell you

   18   no; whether I actually provided, they'll tell you no; whether

   19   they asked me to, they'll tell you no; whether I had any

   20   involvement in preparing the affidavits --

   21               THE COURT:    I'm not going --

   22               MR. WOOD:    -- they'll say no.

   23               THE COURT:    Yeah, that's fine, Mr. Wood.       I'm not

   24   going to do that.      What I am going to do, sir --

   25               MR. WOOD:    If we don't have it here today, then I'm

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5509 Filed 07/16/21 Page 207 207
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   entitled to an evidentiary hearing and due process, because the

    2   evidence will show that there is no factual basis upon which

    3   this Court can sanction me --

    4               THE COURT:    I'm giving you an opportunity --

    5               MR. WOOD:    -- from an evidentiary standpoint.        I

    6   haven't had an opportunity for an evidentiary hearing --

    7               THE COURT:    And the Court --

    8               MR. WOOD:    And I didn't have anything to do with the

    9   drafting of the pleading.       I'm sorry.

   10               THE COURT:    Before I give you an opportunity for an

   11   evidentiary hearing, I don't know that I will be doing that, I

   12   would allow you an opportunity to file a brief stating your

   13   position, all right, and you know, because you're --

   14               MR. WOOD:    I'm just saying --

   15               THE COURT:    Because you are in a bit of unique

   16   position in that you might need to have separate counsel, I'm

   17   going to give you a little bit longer to submit, and I will

   18   give you -- I can't -- you know, I'll give you -- I'll give you

   19   two weeks to submit something to this Court setting forth your

   20   position, and we'll take it from there, all right?

   21               MR. WOOD:    Thank you, your Honor.

   22               THE COURT:    You're welcome, sir.

   23               Let me go on to -- so, Mr. Fink, you're clear?

   24   You're going to go ahead -- yes, I would like for you to go

   25   ahead and -- you wanted me to just see who you needed to

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5510 Filed 07/16/21 Page 208 208
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   include in your supplemental briefing.         So who, of the

    2   attorneys that are at this hearing, who, by hand show, who is

    3   contesting the receipt of notice?

    4               And so we have Mr. Kleinhendler.

    5               MR. KLEINHENDLER:     Your Honor, I want to be clear,

    6   your Honor.

    7               THE COURT:    Yes, please.

    8               MR. KLEINHENDLER:     I am contesting receipt of notice,

    9   pursuant to Federal Rules of Civil Procedure 5, which is the

   10   service that is required for a Rule 11 notice.          We did not

   11   receive, I don't believe, Rule 5 service, and none of us, at

   12   least I didn't, waive it.       So I want to preserve that, your

   13   Honor, for the record.

   14               THE COURT:    All right.    So you've heard that.      Anyone

   15   else?    Mr. Wood?   Yes, Mr. Wood, we have you, sir.

   16               Ms. Powell, you are also contesting notice?

   17               Unmute, please.

   18               MS. POWELL:    Yes, your Honor, on the same basis as

   19   Mr. Kleinhendler.

   20               THE COURT:    Thank you.

   21               MR. DAVID FINK:     So --

   22               THE COURT:    And I'll let you ask a question.        Let me

   23   just get the head count.

   24               Mr. Johnson, you, too sir?

   25               MR. JOHNSON:    Yes, your Honor, and on the same

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5511 Filed 07/16/21 Page 209 209
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   grounds as Mr. Kleinhendler just asserted.

    2               THE COURT:    Go ahead, Mr. Fink.

    3               MR. DAVID FINK:     All I wanted to be clear about is

    4   are these attorneys saying they did not receive, by first class

    5   mail and/or e-mail, what we sent, or are they saying what they

    6   received was inadequate notice because they were entitled to

    7   some other type of service?       That's important because that

    8   changes how we brief this.       Apparently, Mr. Wood and Ms. Newman

    9   claim they had no idea because they didn't get actual notice,

   10   but I think Mr. Kleinhendler is saying that he didn't -- he

   11   wasn't satisfied with the form of the notice.

   12               THE COURT:    Mr. Kleinhendler?

   13               MR. KLEINHENDLER:     Yes, I received an e-mail, your

   14   Honor.    I received the mailing, yes, of what they mailed, your

   15   Honor.    In our opposition, we argue, and I don't want that to

   16   be waived by your questioning here, we argued that the Rule 11

   17   motion had other procedural defectiveness.          For example, they

   18   bundled other arguments in the same motion.          They served a

   19   notice without the brief that was ultimately filed --

   20               THE COURT:    We have Safe Harbor briefing already.

   21               MR. KLEINHENDLER:     Yes, yes.    All I'm -- the point

   22   I'm trying to make here, your Honor, is I don't want to waive

   23   any of that Safe Harbor briefing by your questioning.            I just

   24   want to raise the point that there was no, in my view, there

   25   was no Rule 5 service, which is required for a Rule 11 motion.

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5512 Filed 07/16/21 Page 210 210
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   That's it.    But I did get the e-mail.       I did get the first

    2   class mailing of what they mailed.

    3               THE COURT:    All right.    There's no waiver here.

    4   You're not waiving anything.

    5               All right.    Ms. Powell?

    6               MS. POWELL:    Yes, your Honor.     I simply can't verify

    7   actual notice today, but I will undertake the research and

    8   advise on that later.

    9               THE COURT:    All right.    Would that involve a phone

   10   call to Mr. Fink or you would rather speak through your

   11   submission?

   12               MS. POWELL:    I'll speak through our submission.

   13               THE COURT:    Okay.    All right.   And, Mr. Johnson,

   14   you're taking the same position that Mr. Kleinhendler is

   15   taking; is that correct, sir?

   16               MR. JOHNSON:    Yes.

   17               THE COURT:    That you received it but it's -- it's not

   18   just the receipt of it that you're challenging, correct?

   19               MR. JOHNSON:    I received an e-mail.      I can verify

   20   that.    I don't know if I received the first class mail.          So I

   21   guess I need to verify that as well but the -- you know, the

   22   service issue that he raised, yes, I'm making the same claim

   23   there.

   24               THE COURT:    Okay.    All right.   Clear, Mr. Fink?

   25               MR. DAVID FINK:     Yes, very.    Thank you, your Honor.

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5513 Filed 07/16/21 Page 211 211
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1               THE COURT:    Thank you.    All right.    Before we go

    2   further to hear these kind of winding -- I'm sorry, closing

    3   remarks, Ms. Lambert, I'm going to allow you to submit two

    4   cases for me, if don't mind.

    5               MS. LAMBERT:    Sure.

    6               THE COURT:    That speak on the unbridled protection

    7   that the First Amendment offers to an attorney.           So I'm looking

    8   for that.

    9               MS. LAMBERT:    Thank you, Judge.      I'd also like the

   10   opportunity to prepare a supplemental brief regarding a number

   11   of issues that were addressed by the Court today.           Today was

   12   not set for an evidentiary hearing of the witnesses, and I'd

   13   request one regarding these witnesses, as well as new witnesses

   14   with new evidence that support the pleadings, your Honor.

   15               THE COURT:    You can file that.

   16               MS. LAMBERT:    Thank you, Judge.

   17               MR. WOOD:    Judge, this is Lin Wood again.        I hate to

   18   butt in again.     I appreciate the two weeks.       Could I indulge

   19   the Court to allow me to have two weeks from the receipt of

   20   transcript of the hearing today?        Because if I do have to

   21   engage new counsel, I think, in fairness, they're going to have

   22   to review the transcript from today, as well as, obviously, the

   23   pleadings that have been filed --

   24               THE COURT:    I'm going to decline --

   25               MR. WOOD:    -- (indiscernible) from the date of the

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5514 Filed 07/16/21 Page 212 212
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   transcript --

    2               THE COURT:    Sure.    Yeah, I'm going to decline that

    3   request.    We need to kind -- we're going to take this step by

    4   step.    I need to first see what it is that you're claiming, and

    5   I do not want to delay that aspect of it, because it's going to

    6   have implications for how quickly we can really just address

    7   the sanction motion.      I would just ask, sir, that you work with

    8   what you have.     I know -- you know, and reach out and try to

    9   obtain counsel, if in fact you feel that that's what is

   10   appropriate.     Because I'm not going --

   11               MR. WOOD:    I --

   12               THE COURT:    Go ahead.

   13               MR. WOOD:    No, no.   I'm just saying I would feel like

   14   if somebody came to me and said would you represent me in

   15   connection with this matter, they would first want to know what

   16   happened today, and so I'm just asking for the time to have the

   17   transcript to be available to someone that might be interested

   18   in looking at it, because, obviously, I don't want to jump in

   19   asking a lawyer to do something without knowing, you know,

   20   exactly what the status of the matter is, and, today, most of

   21   this would not address the issues that I believe were pertinent

   22   to my situation, but some parts of it would, and so that's the

   23   reason I ask for the request.

   24               I don't know how long it takes to get the transcript.

   25   I certainly don't want an inordinate delay.          That's why I was

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5515 Filed 07/16/21 Page 213 213
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   hoping we might just go through the lawyers today and verify I

    2   was not involved, but I'll do whatever your Honor wants to me

    3   to do.    I'm just asking for a reasonable time.

    4               THE COURT:    Yeah, I'm going to give you the 14 days.

    5               Ms. Powell.

    6               MS. POWELL:    I believe all the lawyers need time to

    7   review the transcript and consult with our counsel before we

    8   know what supplemental briefing might be needed and

    9   appropriate.

   10               THE COURT:    I don't know if I really agrees with

   11   that.    You're working through -- you all have retained counsel

   12   is that your position, Mr. Campbell?         I think 14 days -- 14

   13   days for everybody, all right, and that would include -- we

   14   will try to do whatever we can to expedite the provision of the

   15   transcript, but I don't want that to be a delay.           So everyone

   16   would have 14 days to submit supplemental briefing.

   17               Now, I will tell you what I've done here is is that

   18   I'm still trying to limit what you will provide a supplemental

   19   briefing on.     I don't need to be, you know, supplied with

   20   arguments that have already been made.

   21               Ms. Powell, did you want to say something?

   22               MS. POWELL:    Yes, your Honor.     We need to be able to

   23   consult with counsel after this hearing and the record of this

   24   hearing before we can properly provide supplemental briefing.

   25               THE COURT:    Fourteen days is out the gate.       That's

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5516 Filed 07/16/21 Page 214 214
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   where I am right now, 14 days.        If counsel feels that they need

    2   more time because of a delay -- not even a delay, but because

    3   of the amount of time it would take to prepare the transcript,

    4   I will consider it, but I urge you to do as much as you can

    5   without that transcript.       So there we have it.

    6               Who's next?    Doesn't look like anybody.

    7               All right.    So we're going to go back to the order in

    8   which we were proceeding.       So Mr. Buchanan has already spoken

    9   his concerns about his client.        Is there anything else that you

   10   want to say?

   11               MR. BUCHANAN:     No, your Honor.    Thank you very much.

   12               THE COURT:    All right.    And Ms. Lambert Junttila, is

   13   there anything else you would like to say?          I already asked for

   14   you to submit two cases, and, Madam, just, please, keep your

   15   remarks short.     You all have had ample opportunity -- and I

   16   should say you have availed yourselves of the opportunities,

   17   you know, through briefing, and I really don't need a wrap up

   18   kind of closing remarks that rehashes your views.

   19               Where is Miss Lambert Junttila?        Where are you?

   20               MS. LAMBERT:    I'm here, your Honor.

   21               THE COURT:    There you are.

   22               MS. LAMBERT:    I didn't hear the Court's question.

   23               THE COURT:    My question is:     Do you feel there's

   24   anything else that you need to provide to this Court in order

   25   to get me closer to making a decision, anything that you feel

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5517 Filed 07/16/21 Page 215 215
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   that there's a supplemental briefing --

    2               MS. LAMBERT:    I'm sorry, I thought the Court already

    3   ruled on that, and I apologize.        I thought the Court ruled that

    4   I could file a supplemental brief regarding issues that were

    5   brought up today and the cases that the Court asked me about.

    6               THE COURT:    Okay.    I'm going to limit -- I'm

    7   really -- I really feel it's in everyone's best interest, you

    8   know, to not go over the top, if you will, and that's really

    9   not a legal term, but I don't need -- can we agree on a limit?

   10               MS. LAMBERT:    Your Honor, would you like a page

   11   limit?

   12               THE COURT:    Yes.

   13               MS. LAMBERT:    Okay.    What page limit would the Court

   14   like me to do?

   15               THE COURT:    Ten, no more than ten.

   16               MS. LAMBERT:    Thank you, Judge.

   17               THE COURT:    Okay.    Good.   For everyone.    All right.

   18               MR. WOOD:    What if we have an affidavit, that would

   19   not be over the 10-page limit, would it?

   20               THE COURT:    You can attach an affidavit.       That would

   21   not count.    That would not go toward the page limit.

   22               Yes, who is speaking?      Mr. Campbell?

   23               MR. CAMPBELL:     Don Campbell, yes.     On your proposed

   24   10-page limit, your Honor.        You addressed more than 10 items

   25   and 10 affidavits that, respectfully, I'd ask to at least have

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5518 Filed 07/16/21 Page 216 216
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   a 25-page limit.

    2               THE COURT:    You know what, I'm going to give you the

    3   10-page limit.     You start writing and then you come back and

    4   ask me if you think you need more, really.          That's my decision,

    5   all right.

    6               MR. CAMPBELL:     Thank you, your Honor.

    7               THE COURT:    All right.    Now, let me -- is

    8   Ms. Gurewitz still on the line?

    9               MS. GUREWITZ:     Yes, your Honor, I am.

   10               THE COURT:    Ms. Gurewitz, would you like to be heard?

   11               MS. GUREWITZ:     Yes, I would like to say on behalf of

   12   the MDP and the DNC, Democratic National Committee, that the

   13   briefs filed by Mr. Fink and the arguments made by him, as well

   14   as the briefs filed by the attorney general on behalf of

   15   Governor Whitmer, more than demonstrate that sanctions are

   16   warranted here, and we would request that you order sanctions

   17   against all of the attorneys who have failed to exercise their

   18   responsibility.

   19               THE COURT:    Thank you, Miss Gurewitz.

   20               Mr. Paterson, are you still on the line, sir?          It

   21   seems to be that you are.       Would you like to say anything in

   22   closing?

   23               MR. PATERSON:     I am, your Honor.

   24               THE COURT:    Would you like to say anything in

   25   closing?

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5519 Filed 07/16/21 Page 217 217
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1               MR. PATERSON:     I would, just briefly.      Mr. Campbell

    2   indicated that they did not intend to foment revolution or

    3   insurrection by this filing but merely foment partisan

    4   advantage I presume, and I think that has been achieved by the

    5   use of the 982 pages of affidavits from a federal court filing.

    6               It's important, it's important that it was filed in a

    7   federal court and under the judicial process.          That's how it

    8   will be cherry picked.      The 982 pages will be interpreted

    9   throughout as a partisan advantage and cherry picking of each

   10   particular or any particular fact will be utilized for that

   11   partisan advantage.      To me, that is the abuse that this filing

   12   has caused.     It is the abuse of the judicial system, and it

   13   seems to me that the grant of a motion for sanctions is

   14   critical to reestablishing and minimizing the damage this

   15   filing has done and the use of the judicial system in

   16   attempting to support a partisan advantage.          So I would ask

   17   that the Court grant this motion.

   18               THE COURT:    Thank you, Mr. Paterson.

   19               Mr. Fink.

   20               MR. DAVID FINK:     Thank you, your Honor.      Before I

   21   begin, I'd like to say, just broadly, a quick overview of what

   22   I would like to do.      I would like to respond.      I will respond

   23   to what Mr. Wood indicated, as the Court recall, we said we'll

   24   save that to the end.      I will respond to what Mr. Wood

   25   indicated regarding his nonparticipation.          I also do want to

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5520 Filed 07/16/21 Page 218 218
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   address Mr. Rohl's affidavit, because that's something that we

    2   have never briefed or discussed, and, then, finally I'll

    3   conclude, but before I do that --

    4               THE COURT:    Before you -- before you begin, I have a

    5   question for you regarding Mr. Wood's -- his position.            Is it

    6   necessary, do you think, sir, to take care of that now, given

    7   you're going to be the supplemental briefing on this?            Is this

    8   dealing with participation in the case?

    9               MR. DAVID FINK:     Yes, I can limit it to a very few

   10   words.

   11               THE COURT:    All right.

   12               MR. DAVID FINK:     I'll limit it to a very few words.

   13   I appreciate that, your Honor.

   14               I'm not certain what our supplemental briefing will

   15   involve.    Are we going to be -- will we be responding -- of

   16   course I'm going to brief on the notice issue.          We'll do that

   17   up front.    We'll do that quickly.      Then the question is I'm

   18   assuming we respond to their supplemental briefing?

   19               THE COURT:    If you need to, yep, you can.

   20               MR. DAVID FINK:     Okay.   What I'm suggesting, though,

   21   is maybe that's the time that I address in writing the issues

   22   regarding Mr. Wood.      I'm trying to avoid creating confusion for

   23   the Court.

   24               THE COURT:    Good.   I'm going to issue an order after

   25   this hearing is done, and it will be laid out in terms of time

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5521 Filed 07/16/21 Page 219 219
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   frames and exactly how I want you all to proceed, but go ahead.

    2               MR. DAVID FINK:     Thank you, your Honor.      Your Honor,

    3   at the outset, before I speak on the substance that we talked

    4   about, there's one personal matter that I want to address.

    5               THE COURT:    Go ahead.

    6               MR. DAVID FINK:     And that is with the Court's

    7   indulgence -- well, this is important, your Honor, if I may.

    8   With the Court's indulgence, I want to take a moment to honor

    9   the memory of my late partner, our late partner, Darryl

   10   Bressack.    As some parties here are aware and some are not,

   11   Darryl Bressack had pulled the laboring oar on most of the

   12   briefs filed in this case, and, tragically, Darryl died

   13   suddenly from a heart attack on the night of January 24th,

   14   right in the middle of these proceedings.          In fact, we had a

   15   reply brief we filed on January 26.

   16               Darryl was an attorney who took his oath very

   17   seriously.    He was a brilliant, dedicated, passionate, and

   18   ethical lawyer, and he cared so deeply about the work that he

   19   did.   I miss him for many reasons, but today he's in all of our

   20   hearts in this office and at the city, because we know how

   21   deeply he felt about this matter, and I only wish that he could

   22   be here today, and I appreciate the Court's indulgence so I

   23   could say that.     It's been on my mind for days.

   24               THE COURT:    Certainly.

   25               MR. DAVID FINK:     Thank you, your Honor.      Now, I will

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5522 Filed 07/16/21 Page 220 220
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   limit my response regarding Mr. Wood.         The reason I need to

    2   talk about it a little bit is it ties into the Rohl affidavit,

    3   and that's this, Mr. Rohl filed an affidavit, and when I say he

    4   filed the affidavit, he prepared an affidavit.          He signed the

    5   affidavit.    It was filed in this case on behalf of all the

    6   Plaintiffs, and it was filed by Ms. Junttila.

    7               Now, in that affidavit, he tells us, point blank,

    8   that the litigation was in, in his words, spearheaded by Sidney

    9   Powell and Lin Wood, and while those are his words -- I'm

   10   sorry.

   11               THE COURT:    I'm sorry, I was telling Mr. Campbell

   12   that I would not allow him to speak until you're done.

   13               MR. DAVID FINK:     Thank you.    Now, while those are

   14   Mr. Rohl's words, his words were submitted to the Court by

   15   Ms. Lambert Junttila, and none of the lawyers, whose names

   16   appear on these pleadings, contested anything in his affidavit.

   17   Now, Mr. Rohl, as of now, is represented by the same lawyer who

   18   represents Lin Wood, who represents Sidney Powell, who

   19   represents all of the Plaintiffs' counsel.          I think we have to

   20   assume that when something is filed, a representation is made

   21   by one of the attorneys in this case, we have a right to

   22   believe that we can rely on that.

   23               What's happened here is -- and just to be clear, I

   24   understand Mr. Campbell is an expert in ethics.           So he

   25   certainly would not represent Mr. Rohl and Ms. Powell and

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5523 Filed 07/16/21 Page 221 221
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   Mr. Wood if their positions and interests were adverse, and

    2   this didn't just -- representation didn't start during this

    3   hearing today.     They filed their appearance a little while ago,

    4   and the responses on the motions were filed in February.             We've

    5   been following this case for months.         They've been following it

    6   for months, and nobody's corrected this.

    7               Now, what's happened in this case is very

    8   frustrating, and that is the Plaintiffs have played a very

    9   strange game of passing the buck.        Mr. Rohl and Mr. Junttila

   10   and Mr. Hagerstrom say they're not responsible because someone

   11   else prepared the documents for filing.

   12               THE COURT:    Now, Mr. Fink, let me stop you.        I

   13   appreciate your advocacy here, but I mean you're going to have

   14   an opportunity -- I'm giving you that opportunity, sir, to

   15   bring it up in the brief, and the reason that I'm stopping you

   16   is because it's going to be difficult for your statements to be

   17   said and me not give the other attorneys an opportunity to

   18   respond, and I really want to be fair, and so I would just ask

   19   you to wrap that aspect of your remarks up, sir.

   20               MR. DAVID FINK:     Okay.   We can -- regarding the Rohl

   21   affidavit, without advocating, I would just point out that in

   22   that affidavit, he does indicate that he was to hold the fort

   23   while -- until a pro hoc vice application was accepted, and of

   24   course was never filed because it doesn't apply.

   25               I will move beyond that and we'll leave that for

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5524 Filed 07/16/21 Page 222 222
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   briefing later, and, instead, I'd like to conclude more

    2   broadly.

    3               THE COURT:    Thank you.

    4               MR. DAVID FINK:     And that is this:     Today, your

    5   Honor, we are all grateful that the Court is holding this

    6   hearing, because today is a very important day.           It's been six

    7   months -- a little over six months since our nation faced what

    8   threatened to be the greatest constitutional crisis since the

    9   Civil War.    On January 6th, that insurrection, which occurred

   10   in the Capitol, which horrified most of us, maybe not everyone

   11   on this screen, but most of us when we watched it, and that

   12   insurrection can be directly, directly linked to the lies that

   13   were spread by the attorneys in this litigation.           Shielded --

   14               MR. WOOD:    Your Honor, I object --

   15               MR. DAVID FINK:     Shielded by --

   16               MR. WOOD:    Your Honor, I object to that type of

   17   speculation.

   18               THE COURT:    Okay.

   19               MR. DAVID FINK:     I since suggested --

   20               THE COURT:    Hang on --

   21               MR. WOOD:    -- person who doesn't want to be accused

   22   unfairly.

   23               THE COURT:    Hang on.

   24               MR. DAVID FINK:     I haven't even stated your name yet,

   25   but I will.

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5525 Filed 07/16/21 Page 223 223
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1               I'm sorry, your Honor.

    2                     (Indiscernible cross-talk.)

    3               THE COURT:    Mr. Wood.

    4                     (Indiscernible cross-talk.)

    5               THE COURT:    Mr. Wood, I ask --

    6                     (Indiscernible cross-talk.)

    7               THE COURT:    I ask for silence, Mr. Wood.

    8               Mr. Fink, finish up, please.

    9               MR. WOOD:    I object (indiscernible) --

   10               THE COURT:    Duly noted.

   11               MR. DAVID FINK:     These attorneys, shielded by --

   12               THE CLERK:    Judge, I'm sorry to interrupt.       The court

   13   reporter is trying to get your attention.

   14               THE COURT:    Okay.   I'm sorry, Ms. Wabeke, where are

   15   you?    There you are.

   16               COURT REPORTER:     So counsel, we've been going since

   17   8:30.

   18               THE COURT:    Oh, my goodness.

   19               COURT REPORTER:     With a 20-minute break, and you're

   20   all interrupting each other, and that's the kind of record you

   21   want for a case like this, with interruptions, dashes, and

   22   unintelligible?     So, please, can we finish up, or I will have

   23   to get someone else to finish up this last little bit.

   24               THE COURT:    Oh, Ms. Wabeke, let me -- let me

   25   apologize and say that I certainly don't want to -- I know that

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5526 Filed 07/16/21 Page 224 224
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   you're under a great deal of stress, and, please, always know

    2   that you just need to tell me that you need to take a break.

    3   You know that.

    4               COURT REPORTER:     Yes, Judge.

    5               THE COURT:    Mr. Wood, and everybody else on this

    6   call, I am cautioning you, do not speak when another attorney

    7   is -- another co-counsel, another brother counsel, sister

    8   counsel is speaking -- you know, in the Eastern District of

    9   Michigan, we have civility principles -- no, no comment,

   10   Mr. Campbell.

   11               Mr. Fink, you may proceed, and I'm looking for you,

   12   sir, to wrap it up.

   13               MR. DAVID FINK:     I'm sorry.

   14               THE COURT:    Do you have water there you can drink

   15   because you sound -- all right.

   16               MR. DAVID FINK:     That's okay, but thank you very

   17   much.

   18               The reason we brought this proceeding, the reason

   19   that we brought this motion, is that these attorneys wielded

   20   the weapons afforded to them by the privilege of being admitted

   21   to the bar, and they wielded these weapons in this case to

   22   abuse the processes of this Court in a devastating way.

   23               Earlier today, Mr. Campbell was saying -- talking

   24   about what this complaint did and didn't do, what it was and

   25   wasn't intended to do.      To be clear, the complaint was clear.

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5527 Filed 07/16/21 Page 225 225
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   It explicitly said that it sought -- they sought in the

    2   complaint and order requiring Governor Whitmer to transmit

    3   certified election results that states that President Donald

    4   Trump is the winner of the election.         That's what they were

    5   seeking.

    6               Now, that said, when we filed our Rule 11 sanctions

    7   motion -- yes, we definitely talked about all the

    8   misrepresentations, the failures to do due diligence, the

    9   inadequacies of the expert reports, but what we focused on was

   10   we filed this motion on January 5th, one day before the civil

   11   insurrection in Washington.

   12               In our motion, we explicitly reported to the Court,

   13   not just what we said were lies being spread in the pleadings

   14   in this case, but the vile and dangerous messages that were

   15   being broadcast by the attorneys in this case on social media.

   16   We raised the critical question.        We said, "Why was this

   17   complaint not dismissed or amended by the Plaintiffs once this

   18   became moot?"     And we said, "In light of the Court's decisive

   19   ruling on December 7th, what purpose could this lawsuit serve?"

   20               We answered that question, and with the Court's

   21   indulgence, I'm going to mostly paraphrase, quickly read from

   22   one part of our complaint -- our motion, because this was filed

   23   on January 5th, and on January 5th we wrote, "Initially this

   24   was one of several lawsuits used to support calls for state

   25   legislatures to reject the will of the voters.          When the

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5528 Filed 07/16/21 Page 226 226
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   Michigan legislature did not attempt to select a slate of

    2   electors inconsistent with the will of the voters, this lawsuit

    3   took on a different meaning."        On January 5th, we wrote this.

    4               It was then used to support arguments for the United

    5   States Congress to reject the Michigan electors on January 6th,

    6   2021.    We then went on to say, "And most ominously, these

    7   claims are referenced and repeated by L. Lin Wood and others in

    8   support of a call for martial law."         That was before the

    9   violence occurred.

   10               Now, we went on to say, "The continued pendency of

   11   this lawsuit accomplishes exactly the harm addressed by this

   12   Court in its December 7th, 2021 opinion and order by

   13   undermining people's faith in the democratic process and the

   14   trust in our government.       This lawsuit has been used to

   15   delegitimize the Presidency of Joe Biden."          One day later that

   16   ominous prophecy became true.

   17               To a great extent, because of the lies told in this

   18   lawsuit, even today, millions of Americans believe the big lie

   19   the big lie that Joe Biden didn't win this election, that

   20   somehow the election was stolen, and there's no evidence to

   21   support that, but they don't know that, because people think

   22   the judicial process has some fairness in it.          People think if

   23   lawyers say it in court, it must be true.          Even Mr. Campbell

   24   said, if somebody said it in court, we should be able to repeat

   25   it, again, because, after all, it was said in court.           So we can

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5529 Filed 07/16/21 Page 227 227
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   repeat it or at least present it to a court.          So we can repeat

    2   it.

    3               Now, nobody can undo what happened that day, but

    4   because the lies spread in this courtroom, not only did people

    5   die on January 6th, but many people throughout the world, many

    6   governments and people throughout the world and the United

    7   States came to doubt the strength of our democratic

    8   institutions in this country about.         Now, we can't undo what

    9   happened on January 6th, but this Court can do something to let

   10   the world know that attorneys in this country are not free to

   11   use our courts to tell lies.

   12               So today we ask this Court to issue the strongest

   13   possible sanctions, and, to be specific, we seek the following

   14   meaningful relief:

   15               One, the taxpayers should be reimbursed for the

   16   extraordinary expense that was paid to defend this litigation

   17   both by the State and by the City.

   18               These lawyers should be punished for their behavior.

   19   I use that word advisedly.       Their behavior was sanctionable,

   20   and they should be punished.

   21               Three, whatever sanction this Court imposes should be

   22   strong enough and significant enough to deter future

   23   misconduct, assuming the Court comes to the conclusion that we

   24   believe it will, that there was misconduct;

   25               And, four, these attorneys should never again be

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5530 Filed 07/16/21 Page 228 228
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   allowed to appear in a court in our jurisdiction or, frankly,

    2   anywhere else, and because of that, because of the way these

    3   lawyers have dishonored our profession, because of the way that

    4   these lawyers have taken advantage of this Court and this

    5   courtroom, we believe that the most important sanction is for

    6   this Court to refer all of these attorneys, first, to their own

    7   state bar associations, where investigations should be

    8   conducted and proper disciplinary proceedings should occur, but

    9   just as important, if not more important, we ask this Court

   10   refer to the Chief Judge of the Eastern District of Michigan a

   11   recommendation that these attorneys be barred from practicing

   12   in this district ever again, and that applies to all of the

   13   attorneys here.

   14               Your Honor, I may have gone a little too long on the

   15   end, but I really appreciate it.        It's been a very long day and

   16   we really appreciate it.

   17               THE COURT:    It has been.    Thank you, Mr. Fink, and

   18   I'm going to now hear from Ms. Meingast.

   19               MR. WOOD:    Your Honor, may I?

   20               THE COURT:    No, no.

   21               MR. WOOD:    This is Mr. Wood.     He mentioned my name

   22   several times.     May I respond?

   23               THE COURT:    Excuse me, Mr. Wood.      Let me stop you.

   24   Mr. Fink -- I'm not going to allow you an opportunity to

   25   respond to Mr. Fink's remarks.        We're moving on to --

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5531 Filed 07/16/21 Page 229 229
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1               MR. WOOD:    Are you silencing me?

    2               THE COURT:    Excuse me?

    3               MR. WOOD:    I'm sorry.    He referred specifically to

    4   me.

    5               THE COURT:    I do understand that.

    6               MR. WOOD:    I feel like I'm entitled to due process to

    7   respond.

    8               THE COURT:    No, you're not.     I asked.    I gave

    9   everyone an opportunity --

   10               MR. WOOD:    So I'm being denied a response?       I think

   11   the record shows --

   12               THE COURT:    Mr. Wood.

   13               MR. WOOD:    I think the record shows --

   14               THE COURT:    Mr. Wood.

   15               MR. WOOD:    (Indiscernible.)

   16               THE COURT:    Mr. Wood.

   17               MR. WOOD:    (Indiscernible.)

   18               THE COURT:    Mr. Wood, this is not a debate.

   19               MR. WOOD:    I'm not debating you, I said --

   20               THE COURT:    Listen, let me warn you right now.        I am

   21   not granting your request --

   22               MR. WOOD:    I'm not debating you --

   23               THE COURT:    Listen, let me warn you right now.        I am

   24   not granting your request to respond to what Mr. Fink said.             I

   25   am moving on, and I will now hear from Ms. Meingast.

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5532 Filed 07/16/21 Page 230 230
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1               Madam, proceed.

    2               MS. MEINGAST:     Thank you, your Honor, Heather

    3   Meingast, on behalf of Governor Whitmer and Secretary Benson.

    4               Just briefly, your Honor, because it's clear we've

    5   all had a long day.      I appreciate the Court's time and

    6   attention to these motions.       I echo many of the comments that

    7   Counsel Fink said.      You know, as the Court knows we moved for

    8   sanctions against Ms. Powell, Mr. Rohl, Mr. Hagerstrom,

    9   Ms. Junttila Lambert, here Junttila Lambert so we've done a

   10   segment.

   11               And, as the Court knows, our motion is brought under

   12   Section 1927 and the Court's inherent authority.           You know, I

   13   think we've -- nothing today that we've heard today from

   14   Plaintiffs has changed the arguments that we've made in our

   15   brief that we've demonstrated that sanctions are warranted

   16   under Section 1927 here.

   17               It's plain that Plaintiffs multiplied the case far

   18   beyond that when it was moot and should have been dismissed, as

   19   we've laid out in our briefing.        They had really no response

   20   for that, this made-up idea that somehow their case was somehow

   21   reinvigorated on December 14th, and we've also asked,

   22   alternatively, for sanctions under this Court's inherent

   23   authority, and part of that is showing improper purpose for

   24   this litigation.     I think that's been clearly demonstrated

   25   to -- our arguments, by Mr. Fink, and through our briefing,

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5533 Filed 07/16/21 Page 231 231
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   and, so with that, we would respectfully request that the Court

    2   grant our motion for sanctions as we've written it.

    3               THE COURT:    All right.    Ms. Meingast, thank you.

    4               Counsel, I want to thank you all for being here

    5   today.    This was very long, but it was all very necessary.

    6   This Court will be issuing an opinion and order, but, in the

    7   interim, I will be issuing an order that captures the tasks, if

    8   you will, the opportunities, if you will, that the Court is

    9   giving counsel to address the issues that we've discussed here

   10   today.    I will take -- Ms. Powell, what is your question?

   11   Unmute.

   12               MS. POWELL:    Yes, your Honor.     I would like to speak

   13   to all of these issues and reiterate the points of our

   14   briefing.    We're not waiving anything.       We object to virtually

   15   everything Mr. Fink has said.        I have practiced law for 43

   16   years and never witnessed a proceeding like this, including

   17   representing attorneys in sanctions proceedings themselves.             I

   18   take full responsibility myself for the pleadings in this case.

   19   Ms. Newman, Mr. Wood, Mr. Johnson, and local counsel had no

   20   role whatsoever in the drafting and content of these

   21   complaints.     It was my responsibility and Mr. Kleinhendler's,

   22   not theirs.

   23               The affidavits in support of the complaint are valid.

   24   Were we to have an evidentiary hearing, we would produce the

   25   witnesses to testify to those affidavits.          This is not the kind

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5534 Filed 07/16/21 Page 232 232
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   of proceeding in which the affidavits can be challenged.            They

    2   weren't even required to be attached to the complaint.            The

    3   very fact that we attached 960 pages of affidavits reflect how

    4   seriously we took this matter, how concerned we were about the

    5   constitutional issues that we raised on behalf of electors, who

    6   are, themselves, mentioned in the Constitution.

    7               We had a legal obligation to the country and to the

    8   electors to raise these issues.        It is the duty of lawyers and

    9   the highest tradition of the practice of law to raise difficult

   10   and even unpopular issues.       The fact that there may have been

   11   even adverse precedent against us does not change that fact.

   12   Were that true, there would not have been a decision called

   13   Brown versus the Board of Education.

   14               We have practiced law with the highest standards.           We

   15   would file the same complaints again.         We welcome an

   16   opportunity to actually prove our case.         No court has ever

   17   given us that opportunity.       Instead, we are met with

   18   proceedings like this brought by Mr. Fink and others, who are

   19   themselves the ones who have abused the process for political

   20   gamesmanship and their political purposes, and this is one of

   21   the proceedings that leaves the American public with no

   22   confidence either in our election system or in our judicial

   23   system.

   24               THE COURT:    All right.    Thank you for those remarks.

   25               As the Court has indicated, I will be following up

                  King v Whitmer, Case No. 20-cv-13134
Case 2:20-cv-13134-LVP-RSW ECF No. 157, PageID.5535 Filed 07/16/21 Page 233 233
                                                                            of 233

        Motion hrg.                                        7/12/2021

    1   with an opinion and order a little bit later and, in the

    2   interim, as I said, I will issue an order referencing

    3   supplemental briefings and time frames.

    4               I want to thank, once again, counsel for appearing

    5   today.    It has been a long day.      Again, it has been a necessary

    6   day.

    7               Mr. Flanigan.

    8               THE CLERK:    Thank you all.     Court is adjourned.

    9                     (Proceedings concluded 2:32 p.m.)

   10                                     - - -

   11                          C E R T I F I C A T I O N

   12               I, Andrea E. Wabeke, official court reporter for the

   13   United States District court, Eastern District of Michigan,

   14   Southern Division, appointed pursuant to the provisions of

   15   Title 28, United States Code, Section 753, do hereby certify

   16   that the foregoing is a correct transcript of the proceedings

   17   in the above-entitled cause on the date hereinbefore set forth.

   18   I do further certify that the foregoing transcript has been

   19   prepared by me or under my direction.

   20

   21   /s/Andrea E. Wabeke                            July 14, 2021

   22   Official court Reporter                        Date
        RMR, CRR, CSR
   23                                     - - -

   24

   25

                  King v Whitmer, Case No. 20-cv-13134
